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                 Attachment B
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                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED               )
STATES VIRGIN ISLANDS                  )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )            Case Number: 1:22-cv-10904-JSR
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Defendant/Third-Party Plaintiff. )
____________________________________)
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Third-Party Plaintiff,           )
                                       )
      v.                               )
                                       )
JAMES EDWARD STALEY                    )
                                       )
      Third-Party Defendant.           )
____________________________________)

               STATEMENT OF MATERIAL FACTS AS TO WHICH
             GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS
                 CONTENDS THERE IS NO GENUINE DISPUTE

Epstein Engaged in a Sex-Trafficking Venture

1.     In the May 26, 2023 class certification hearing, counsel for JPMorgan stated, “I think the

way the Court could use those grand jury findings would be to ascertain something not contested,

which is Mr. Epstein was engaged in horrendous criminal activity, including sex trafficking.

That’s not something being contested at all by JPMorgan.” Tr. Class Certification Hr’g at 19:3-7,

Doe 1 v. JPMorgan Chase Bank, N.A., No. 22-cv-10019 (S.D.N.Y. May 26, 2023); see also id. at

33:10-14 (“Your colleague has just acknowledged, as indeed JPMorgan has repeatedly, that they

do not dispute, you do not dispute that Mr. Epstein was engaged in a longtime trafficking venture
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that involved enumerable young women and that required money to make it work.” (emphasis

added)).

2.        In statements to the press following JPMorgan’s settlement with Doe, JPMorgan stated:

“We all now understand that Epstein’s behavior was monstrous, and we believe this settlement is

in the best interest of all parties, especially the survivors, who suffered unimaginable abuse at the

hands of this man.” “Any association with him was a mistake and we regret it. We would never

have continued to do business with him if we believed he was using our bank in any way to help

commit heinous crimes.” Ex. 1.1

3.




                                              Ex. 2 at -196.

4.




                                                                 Ex. 3 at -195.

5.        In an internal document explaining JPMorgan’s decision to exit Epstein’s accountant

Richard Kahn in October 2019, JPMorgan acknowledged that Kahn “controlled the movement of

EPSTEINs [sic] funds that potentially assisted in facilitating the sex trafficking ring.” Ex. 4 at -

460.




1
    All references to “Ex. __” are to Exhibits to the Declaration of Mimi Liu.
                                                   2
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6.      In 2019, a grand jury found that Epstein “sexually exploited and abused dozens of minor

girls at his homes in Manhattan, New York, and Palm Beach, Florida, among other locations.”

Sealed Indictment at 1, United States v. Epstein, 19-cr-490 (S.D.N.Y. July 2, 2019), ECF No. 1.

7.      On August 10, 2019, Stacey Friedman emailed Jamie Dimon with the subject “Epstein

update this am,” forwarding a link to a New York Times article about Epstein’s arrest and death.

Ex. 5 at -364. The article stated that federal prosecutors had charged Epstein with sex trafficking

in July 2019, Epstein was arrested on July 6, 2019, and Epstein died on August 10, 2019. Ex. 6.

8.      Ghislaine Maxwell was indicted and arrested in 2020 by the United States Attorney’s

Office for the Southern District of New York for conspiracy to entice minors to travel to engage

in illegal acts, enticement of a minor to travel to engage in illegal sex acts, conspiracy to transport

minors with intent to engage in criminal sexual activity, and transportation of a minor with intent

to engage in criminal sexual activity. Sealed Indictment, United States v. Maxwell, 20-cr-330

(S.D.N.Y. June 29, 2020), ECF No. 1. Maxwell was convicted on June 28, 2022.

9.      JPMorgan admits that Epstein pled guilty to “felony solicitation of prostitution and

procurement of minors to engage in prostitution,” “was sentenced to 18 months in jail,” and “was

required to register as a sex offender.” Def. JPMorgan Chase Bank, N.A.’s Answer to 2d Am.

Compl. and Statement of Affirmative Defenses, ¶ 38, ECF No. 124.

10.     A Level 3 sex offender is the highest risk level and poses a “high risk of repeat offense and

threat to public safety.” Ex. 7.

11.     In November 2011, Epstein’s Level 3 sex offender status was unanimously affirmed by the

New York Supreme Court, Appellate Division. The court found that “[c]lear and convincing

evidence . . . supported the assessment of points for risk factors sufficient for a level three sex

offender adjudication.”



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        The evidence before the [Sex Offender Registration Act] hearing court established
        that defendant committed multiple offenses against a series of underage girls. The
        girls were brought to defendant’s home to provide ‘massages’ that led to very
        serious sex crimes. These facts were established by . . . Florida law enforcement
        authorities after their investigation . . . . The probable cause affidavit was extremely
        detailed. It set forth the sworn, tape-recorded statements of the victims. The
        victims’ detailed accounts of defendants’ crimes corroborated each other, and were
        also corroborated by other evidence, including declarations against penal interest
        made by defendant’s accomplice.

People v. Epstein, 89 A.D.3d 570, 571, 933 N.Y.S.2d 239 (App. Div. 1st Dept. 2011).

12.




        Ex. 8 at -006.

13.     At Ghislaine Maxwell’s criminal trial, a victim testified under oath, using the pseudonym

“Kate.” Kate testified that, starting when she was 17 years old, Maxwell and Epstein flew her “to

Palm Beach, to New York, and to the island,” and Kate gave Epstein sexualized massages in each

of those locations. Trial Tr. at 1195:7-25, 1198:2-19, 1203:4-9, United States v. Maxwell, No. 20-

cr-330 (S.D.N.Y. Dec. 6, 2021), ECF No. 751.

14.     Bridgette Carr, an expert in human trafficking for the U.S. Virgin Islands,




                                Ex. 9 at 65-66.

15.     U.S. District Judge Marra stated in an opinion in February 2019:



                                                   4
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        From about 1999 and 2007, Jeffrey Epstein sexually abused more than 30 minor
        girls, including Petitioners . . . , at his mansion in Palm Beach, Florida and
        elsewhere in the United States and overseas. Because Epstein and his co-
        conspirators knowingly traveled in interstate and international commerce to
        sexually abuse Jane Doe 1, Jane Doe 2 and others, they committed violations of not
        only Florida law, but also federal law. In addition to his own sexual abuse of the
        victims, Epstein directed other persons to abuse the girls sexually. Epstein used
        paid employees to find and bring minor girls to him. Epstein worked in concert with
        others to obtain minors not only for his own sexual gratification, but also for the
        sexual gratification of others.

Jane Doe 1 & Jane Doe 2 v. United States, 359 F. Supp. 3d 1201, 1204 (S.D. Fla. 2019) (internal

citations omitted).

16.     After Epstein’s death, Judge Berman held a hearing at which several of Epstein’s victims

gave statements. Victim                    testified: “On my third or fourth time meeting [Epstein

and Maxwell], they brought me to Jeffrey’s island for the first time, and on the first night there,

              came tapping on my door late at night to inform me Jeffrey was ready for another

massage.” That night, Epstein sexually assaulted her. Hr’g Tr. at 44:4-22, United States v. Epstein,

No. 19-cr-490 (S.D.N.Y. Aug. 27, 2019), ECF No. 53.

17.     At the same August 27, 2019 hearing, Jane Doe No. 9 testified: “[I]n 2004, when I was 15

years old, I flew on Jeffrey Epstein’s plane to Zorro Ranch, where I was sexual [sic] molested by

him for many hours.” Id. at 75:10-12.

18.

         Ex. 10 at -003.

             Id. at -018.




                               Id. at -018-19.

                                         Id. at -019-20.

                                                 5
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19.

                                                                                                Ex. 11

at -036.

                                                                       Ex. 12 at -029.

                                                           Id.

20.

                                                                                                     Ex.

13 at -440-41.

                                                                                      Id. at -462.

21.

                                                                                      Ex. 15 at -458.

22.     Jane Doe 981 filed a creditor’s claim in the Epstein estate probate proceeding, alleging that

Epstein sexually abused her in New York and the U.S. Virgin Islands “[b]eginning in 2004 and

continuing for years thereafter.” Ex. 16 ¶ 2.

23.                    filed a creditor’s claim in the Epstein estate probate proceeding, alleging that

Epstein sexually abused her in New York, New Mexico, and the U.S. Virgin Islands from 2002 to

2004. Ex. 17 ¶¶ 42-59.

24.     Dozens of Epstein’s victims filed private civil suits against him and his coconspirators,

including but not limited to:

        a.       Jane Doe No. 2, who alleged that in 2004 or 2005 when she was 16 years old,

                 Epstein sexually assaulted her during a massage in Epstein’s Palm Beach residence.

                 Ex. 18 ¶ 8.




                                                   6
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        b.        , who alleged that in 2002, when         was 16 years old, Epstein sexually

              assaulted her more than 20 times during massages in his Palm Beach residence. Ex.

              19 at ¶¶ 24-37. Epstein paid     $300 each time. Id. at ¶ 36.

        c.    Jane Doe No. 102, who alleged that Epstein abused her for four years starting in

              1998 when she was 15 years old. She traveled with Epstein to locations including

              New York City, Santa Fe, Los Angeles, San Francisco, St. Louis, Europe, the

              Caribbean, and Africa, and in each location Epstein “abused her to serve his every

              sexual whim.” Ex. 20 ¶¶ 17-20.

        d.    Jane Doe 43, who alleged that she was recruited into Epstein’s sex trafficking

              scheme beginning in October 2006 and continuing through April 2007. Ex. 21

              ¶¶ 34, 38. Epstein and his recruiters told Doe 43 that Epstein would secure her

              admission to fashion school in New York City. Doe 43 was coerced into engaging

              in sexual acts with Epstein both in New York and in the U.S. Virgin Islands. Id.

              ¶ 45. While in the U.S. Virgin Islands, Epstein maintained control of Doe 43’s

              passport and once conducted a search party to find Doe 43 after she attempted to

              escape the island. Id. ¶ 49.

25.



                                                         Ex. 9 at 74.

26.



                     Ex. 22 at -454.

                                                           Id. at -464.



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           Id. at -466.

                                                                           Id. at -474.

27.



                                        Ex. 22 at -500.



Id. at -536.

                                                                                          Id. at

-566.

28.



                 Ex. 23 at -570.

                                                                               Id. at -571.



                                      Id. at -572.



           Ex. 24 at -256-57.

29.



                                          Ex. 24 at -205-06.

                                                                                    Ex. 25 at -




                                              8
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401-02.

                                      Id. at 391-92.

30.



          Ex. 25 at -381-82.

                                                                                 Id. at -362-63.



                                               Id. at -339-40.

                                                                                         Ex. 26 at -

491-92.

31.



                                                       Ex. 26 at -473-74.



Id. at -429-30.

                                                                      Id. at -423-24.

32.     JPMorgan processed wire payments from Epstein to women



        a.        From November 2013 to November 2015, Epstein originated 13 wire transactions

                  totaling $30,995.13 to                         Ex. 27 at -408. From June 2016 to

                  November 2017, Epstein originated four wire transactions, totaling $4,759.75, to

                               Id.




                                                  9
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  b.    In June 2014, Epstein originated a wire transaction for $25,000.00 to

                   Ex.27 at -406. From November 2016 to July 2017, Epstein originated three

        wire transactions, totaling $406,000.00, to           Id.

  c.    From March 2017 to March 2019, Epstein originated 31 wire transactions, totaling

        $156,243.85, to                    Ex. 27 at -403.

  d.    From October 2017 to March 2019, Epstein originated seven wire transactions,

        totaling $31,500.00, to                  Ex. 27 at -403.

  e.    On March 7, 2016, Epstein originated a wire transaction to Mehmet Arda

        Beskardes, an attorney, with the payment description:                       Ex. 27

        at -406.

  f.    Between March 2017 and October 2018, Epstein originated a wire transaction to

        Mehmet Arda Beskardes, an attorney, with the payment description:

                      Ex. 27 at -407.

  g.    Between March 2017 and October 2018, Epstein originated a wire transaction to

        Mehmet Arda Beskardes, an attorney, with the payment description:

                     Ex. 27 at -407.




                                          10
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JPMorgan Knew or Recklessly Disregarded that Epstein Ran a Sex-Trafficking Venture

33.     JPMorgan admits Mary Erdoes, Catherine Keating, and Mary Casey were aware in 2006

that Epstein was arrested for solicitation of prostitution. Ex. 28 at Resps. 90, 147, 112.

34.     An internal JPMorgan document defines Know Your Client (KYC) as a “due diligence

process that ensures we ‘know’ the clients we deal with and understand how and why they use our

products and services. Without KYC, we become vulnerable. Unknowing to us, our clients could

easily use PCS as a vehicle to perpetrate illegal activities.” Ex. 29 at -026.

35.     A JPMorgan policy explains the purpose of a Due Diligence Report (DDR) is “an integral

part of Enhanced Due Diligence (EDD) and a requirement of the Global KYC Standards for certain

higher risk customers.” Ex. 30 at -915.

36.     Red Dot information “is any derogatory information identified by Global Security Services

which warrants the attention of the banker.” Ex. 31 at -574.

37.     JPMorgan’s due diligence process required that it research and review news publications

about clients or clients’ businesses. Ex. 32 at 42:13-19.

38.     Negative news media was one of the main categories of information reviewed as part of

JPMorgan’s ongoing due diligence monitoring. Ex. 33 at 53:3-54:3; 60:8-20. Bankers had an

obligation to stay up to date with news and reports about clients. Ex. 34 at 31:14-32:10.

JPMorgan’s Global Security Services searched databases for negative media regarding clients to

escalate to bankers and risk management. Ex. 35 at 340:6-341:3. JPMorgan Private Bank

conducted negative media reviews as part of its approach to determine whether a client’s activity

was suspicious. Ex. 36 at 187:25-188:22.

39.     A JPMorgan Due Diligence Report for Epstein’s entity YHS, LLC includes a section for

news publications. Ex. 37 at -185-199.



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40.     Another JPMorgan Due Diligence Report for Epstein includes a section for news

publications. Ex. 38 at -558-567.

41.     JPMorgan admits certain JPMorgan employees received, reviewed, or read articles

covering Epstein’s 2006 arrest in Florida. Ex. 39 at Resps. 32, 33.

42.     JPMorgan admits certain JPMorgan employees received, reviewed, or read a 2006 Palm

Beach Post article stating that Epstein was indicted on one count of felon[y] solicitation of

prostitution. Ex. 39 at Resp. 41.

43.     The 2006 Palm Beach Post article states: “Palm Beach billionaire Jeffrey Epstein paid to

have underage girls and young women brought to his home, where he received massages and

sometimes sex” and “police thought there was probable cause to charge Epstein with unlawful sex

acts with a minor and lewd and lascivious molestation.” Ex. 40 at 1. The article lays out in detail

evidence from the Palm Beach Police Department Probable Cause Affidavit, including:

        a.     A college student gave Epstein a naked massage and then “brought him six girls,
               ages 14 to 16, for massage and sex-tinged sessions” at Epstein’s home. Id. at 2.

        b.     A 27-year-old Epstein employee,                  , would arrange the sessions and
               prepare the massage table. Id. at 2.

        c.     Police obtained statements from five alleged victims and 17 witnesses. Police
               contend Epstein “had sex with the girls” on three occasions. Id. at 2.

        d.                   met Epstein at age 17 and was recruited to massage him. Epstein told
               her he would “pay her to bring him more girls—the younger the better.” She stated
               she once brought a 23-year-old woman to him and “Epstein said she was too old . .
               . .” She brought six girls to Epstein and said the girls were paid $200 for each
               session.               told police, “I’m like a Heidi Fleiss.” Id. at 3.

        e.     One 14-year-old victim recounted the details of her encounter in February 2005
               including being paid $300 for a massage in her bra and panties. For bringing this
               child to Epstein,              received $200. Id. at 3.

        f.     Police scoured the trash from Epstein’s house and found notes with names and
               phone numbers, sex toys and female hygiene products. Notes stated that one female

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                 could not “come over at 7 p.m. because of soccer. Another said a girl had to work
                 Sunday—‘Monday after school?’ And still another note contained the work hours
                 of a girl, saying she leaves school at 11:30 a.m. and would come over the next day
                 at 10:30 a.m.” Id. at 4.

44.     The 2006 Palm Beach Post article also states, “Palm Beach police often conducted

surveillance . . . at Palm Beach International Airport to see if his private jet was there . . . .” Ex. 40

at 4.

45.     The 2006 Palm Beach Post article said that Epstein paid $200 or $300 cash to the girls and

$200 cash to            for recruiting the girls. Ex. 40 at 3.

46.     JPMorgan admits the 2006 Palm Beach Post article mentioned                            . Ex. 39 at

Resp. 42.

47.     The Palm Beach Police Department Probable Cause Affidavit discussed in the 2006 Palm

Beach Post article was filed May 1, 2006. Ex. 41 at 24.

48.     JPMorgan admits certain of its employees received, reviewed, or read one or more articles

that reference                       . JPMorgan otherwise refers to those articles for their contents.

Ex. 39 at Resp. 43.

49.     A July 28, 2006 ABC News article, “Warrants Were Prepared to Arrest Others in Millionaire

Sex Scandal,” states: “Palm Beach police were planning to arrest two women in connection with

their investigation into Jeffrey Epstein . . .              , Epstein’s assistant . . . and              .

. . who police say was paid by Epstein to bring over young and underage girls to his house to massage

Epstein . . . . Another woman involved in the scandal was Epstein’s girlfriend                         ..

. . Though the documents do not mention that any charges were being sought against                       ,

one girl, who began massaging Epstein when she was 16 years old, told police that she was paid by

Epstein to have sex with                 as he watched. The girl also told police that ‘Epstein bragged

he brought her                  into the United States to be his Yugoslavian sex slave,’ according to

                                                    13
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the documents.” The article also states that the police submitted arrest warrant requests for

        and                  . According to the report, “        was to be arrested . . . on four counts

of unlawful sexual activity with certain minors and . . . on one count of lewd and lascivious

molestation.              warrant was for lewd and lascivious acts on a victim under 16 years of age.”

Ex. 42 at -657.

50.     On August 14, 2006, Doreen Hewitt emailed Maria Hornak, Mary Casey and other

JPMorgan employees, subject: “Re: Article of J Epstein’s Arrest” with the link

http://www.nypost.com/news/regionalnews/mystery_moguls_teen_sex_secret_bared_in_probe_r

egionalnews_dan_mangan.htm. Ex. 43 at -859. The article states:

        a.        “. . . According to one girl, ‘Epstein asked for her real age, [and she] stated she was

                  16. Epstein advised her not to tell anyone her real age,’ the records say. The girl

                  alleged Epstein paid her to have sex with his girlfriend,                        ....

                  Epstein would then watch the women have sex and take photos of their trysts to

                  display at home, the records claim. . . . The teen told cops she always refused to

                  have intercourse with Epstein . . . . But one time . . . Epstein allegedly grabbed her

                  and forced himself on her. When the girl became upset and screamed, ‘No!’ Epstein

                  apologized, and he later paid her $1,000 for the visit, the records allege. Palm Beach

                  cops prepared an arrest-warrant request proposing that Epstein be charged with

                  unlawful sexual activity with certain minors and with lewd and lascivious

                  molestation. Instead, in a rare move, prosecutors brought the evidence to a grand

                  jury, which indicted Epstein only on the prostitution charge. The frustrated police

                  now have given their evidence to the FBI’s Miami division, which is considering




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               whether to investigate Epstein for possible federal crimes involving underage girls,

               said Special Agent Judy Orihuela.”

        b.     The article also states that Epstein’s “assistant,              , helped arrange the

               sessions” and that “[s]everal girls allege that         , 26, led them to Epstein’s

               master bedroom, where she would set up a massage table and give them oils to rub

               on Epstein. Cops wanted to charge             and         for their roles in procuring

               the girls. . . .” Ex. 43 at 3-4.

51.     In “AML Operations Human Trafficking Overview, A “Reference Document on human

trafficking prepared by JPMorgan Corporate AML Compliance,” dated August 5, 2008, JPMorgan

states: “Sexual Slavery” means “the coercion of the unwilling into various sexual practices.” Ex.

44 at -052.

52.     An August 14, 2006 news report that was part of due diligence conducted by JPMorgan in

September 2006, “Jeffrey Epstein craved big homes, elite friends – and, investigators say,

underage girls,” stated that “[t]wo of Epstein’s former employees told investigators that young-

looking girls showed up to perform massages two or three times a day when Epstein was in town.”

The article also discusses Epstein’s relationship with Ghislaine Maxwell. Ex. 45 at -395-97.

53.     On July 25, 2006, Staley met with Epstein in person at Epstein’s home. In that visit, Epstein

admitted to the alleged “conduct of engaging in sex for money with young women”—only denying

the “ages”—to Staley. Ex. 46 at 796:11-799:6.

54.     On July 26, 2006, Staley wrote Erdoes: “I went and saw him last night. I’ve never seen him

so shaken. He also adamantly denies the ages.” Ex. 47 at -334.

55.     Staley admits that in 2006 Jamie Dimon communicated with him regarding Epstein’s arrest

on charges of procuring a minor for prostitution and solicitation of a prostitute. Ex. 48 at Resp.



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111. Staley also testified that on or about July 26, 2006, he spoke to Dimon about Epstein’s

indictment because Dimon was his boss and the indictment of Epstein, a client of the bank, “was

a very public event.” Ex. 46 at 17:2-19:16.

56.     JPMorgan admits that certain of its employees received, reviewed, or read the 2003 Vanity

Fair article, “The Talented Mr. Epstein” and refers to the article for its content. Ex. 39 at Resp. 36.

57.     In May 2003, Casey (then Rieth) sent the Vanity Fair article along with the Due Diligence

Report (“DDR”) for Epstein’s Financial Trust Company, Inc. to JPMorgan employee Paul Lahiff

so he would “get everything at once.” Ex. 49 at -281.

58.     “The Talented Mr. Epstein” states: “Epstein is known about town as a man who loves

women—lots of them, mostly young. Model types have been heard saying they are full of gratitude

to Epstein for flying them around, and he is a familiar face to many of the Victoria’s Secret girls.

One young woman recalls being summoned by Ghislaine Maxwell to a concert at Epstein’s town

house, where the women seemed to outnumber the men by far. ‘These were not women you’d see

at Upper East Side dinners,’ the woman recalls. ‘Many seemed foreign and dressed a little

bizarrely.’ This same guest also attended a cocktail party thrown by Maxwell that Prince Andrew

attended, which was filled, she says, with young Russian models. ‘Some of the guests were

horrified,’ the woman says.” Ex. 49 at p. 7-8.

59.     “The Talented Mr. Epstein” states: “There are many women in his life, mostly young, but

there is no one of them to whom he has been able to commit. He describes his most public

companion of the last decade, Ghislaine Maxwell, 41, the daughter of the late, disgraced media

baron Robert Maxwell, as simply his “best friend.” Ex. 49 at 3-4.

60.




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                                                                            Ex. 50 at -790-790_003.



                                                             Id. at -790_003.

61.



                                       Ex. 51 at -792-792_003.



                                    Id. at -792_003.

62.



                  Ex. 52 at -791-791_003.

                                          Id. at 791_003.

63.     A JPMorgan training document “What is Human Trafficking” identified “structured

transactions” as a “Key Indicator/Red Flag[] of potential Human Trafficking activity.” Ex. 53 at -

918; Ex. 33 at 186:3-188:13, 191:23-192:7.

64.     The JPMorgan training document also states: “Previous AML history, while not

necessarily HT-related, may be associated with an investigation related to suspicious activity, such

as interstate, excessive, or structured cash activity.” Ex. 33 at 191:23-192:7.

65.     JPMorgan Private Bank opened an account for Maxwell in 2003, on Epstein’s referral,

noting on the Due Diligence Report (“DDR”), the bank’s document reflecting information used in

assessing a new account, that Maxwell was a “companion/long-time friend of Jeffrey Epstein.”

Ex. 54 at -390.




                                                 17
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66.     The Reputation Risk Committee Meeting Summary for Ghislaine Maxwell, dated

December 6, 2013, states: “2011 Media alleging Maxwell solicited young girls for then boyfriend

Jeffrey Epstein” and that this negative media was a “human rights issue.” Ex. 55 at -475.

67.     From October 1999 through July 2006, JPMorgan handled $25,146,955.30 in payments

from Epstein’s JPMorgan accounts to Ghislaine Maxwell. Ex. 56 at 45-46 and Figure 15.2

68.     On February 8, 2006,           emailed Staley, telling him that Epstein was setting up a

meeting between Staley and the Sultan of Dubai when Staley was in Dubai. Ex. 61 at -033.

69.           was a customer of JPMorgan. Ex. 62 at Resp. 7.

70.           had a credit card with the Retail Bank. Ex. 63 at 651.

71.     In 2005, JPMorgan made two separate $25,000 payments from Epstein’s JPMorgan

accounts to              . Ex. 56 at 34, 36, and Figure 9.3.3

72.     From August 2006 through August 2013, JPMorgan handled $678,741.57 in payments

from Epstein’s JPMorgan accounts to                     . Ex. 56 at 34, 36, and Figure 9.3.

73.                 was a customer of JPMorgan. Ex. 62 at Resp. 6.

74.     In 2004, sponsored by Epstein, JPMorgan opened accounts and credit cards for two

teenagers,              and              , “models in NYC and friends of Jeffrey Epstein.” Ex. 65

at -316; Ex. 66 at -804; Ex. 36 at 230:6-231:20.

75.     The DDR for           was originally approved in February 2004. Ex. 67 at -700.




2
  Figure 15 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 1001 (Ex. 58);
Financial Trust’s (owned by Epstein) JPMorgan account ending in 0001 (Ex. 59); and Financial
Trust’s (owned by Epstein) JPMorgan account ending in 5001 (Ex. 60).
3
  Figure 9.3 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Butterfly Trust’s JPMorgan account ending in 2810
(Ex. 64).
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76.     The DDR for                was approved by the Private Bank even though there was no

birthdate, passport number, driver’s license number, or “confirmed” social security number. The

Private Banker (Casey) never met                 as JPMorgan’s process contemplated. Ex. 68 at -

567.

77.     The DDR stated that “                      is a Slovakian citizen who has come to the US

for modelling work. Jeffrey Epstein knows the model personally.” and “Jeffrey Epstein often

provides support to emerging models. In this case,                   has arrived from the Slovak

Republic and Epstein has asked us the favor of opening a checking account for her and he will

guarantee her credit card application.” Ex. 68 at -567.

78.     The DDR represented                    net worth as $100,000 “earned” from “modeling

assignments.” Ex. 68 at -566.

79.     The DDR listed                  address as                     ,

                                . Ex. 68 at -565; Ex. 69 at -545.

80.     In 2004, 2005, and 2006, JPMorgan handled $36,565.56, $67,754.28, and $82,897.80,

respectively, in payments from Epstein’s JPMorgan accounts to               . Ex. 56 at 34-35 and

Figure 9.2.4

81.     On January 7, 2011, Ryan (AML Compliance) emails DeLuca (AML Compliance),

copying Middlemiss (AML Compliance): “I also spent a good deal of time looking at his assistant

or young lady he brought over from Praque( [sic] or some place like that) account. She was

involved in some of the detailed escapades. She opened accounts in PB sponsored by him. Oh my

were her debit transactions enlighting [sic] as compared to countless stories related to his



4
  Figure 9.2 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Butterfly Trust’s JPMorgan account ending in 2810
(Ex. 64).
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escapades. Lots of salon, lingerie shops, drug stores ny palm beach and in st thomas ( his places

of residence). Plus lots of video like girls gone wild and some other shops not fit for my good

catholic upbringing! The transactions are old 05 to 08. Besides frequent frequent spa like charges

it has died down. Surprised she was never subpoenaed.” Ex. 70 at -749_R.

82.     JPMorgan’s own Human Trafficking white paper, “Human Trafficking Finance: Nature,

Scope and Control Project,” discussed “upscale” sex-trafficking operations “incurr[ing] expenses

such as jewelry, lingerie, cosmetics, [and] sex toys.” Ex. 71 at -983.

83.     From August 2006 through January 2013, JPMorgan handled $607,804.30 in payments

from Epstein’s JPMorgan accounts to                       . Ex. 56 at 34-35 and Figure 9.2.5

84.

                                                          Ex. 2 at -196.




                                                                                               Id. at -

196.

85.     The article cited                  , “Meet                       , Star Girl of the Raunchiest

Part of Epstein Scandal,” first published on July 28, 2006, referred to                as “star girl of

Epstein scandal” and “an unknown Czech sex puppet” of Epstein’s. Ex. 72 at 1-2.



5
  Figure 9.2 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Butterfly Trust’s JPMorgan account ending in 2810
(Ex. 64).
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86.     On March 8, 2007, Maria Hornak forwards an email from Rich Kahn (Epstein’s

accountant) to Mary Casey, subject “FW: New Chase Credit Cards” with the attachment “JE -

Chase Credit Cards.xls.” Ex. 73 at -494. The attachment lists “Jeffrey Epstein Chase Credit Cards”

for        and              through NES LLC c/o Jeffrey Epstein. Expected charges on the credit

cards were for “travel[] through Paris, Europe and US Virgin Islands and US monthly.” Id. at -

496.

87.     The attachment also lists credit cards for Larry Visoski and David Rodgers,

                        , through Jege, LLC. Ex. 73 at -496; Ex. 24 at -198.

88.     On June 9, 2010, Bonnie Perry (in Private Bank Risk Management) emailed Epstein’s then-

banker (Paul Morris): “3 entities within the relationship do not currently have DDRs . . .116 East

65th St LLC[,] NES, LLC[, and] Zorro Trust.” Ex. 74 at -237.

89.     As of March 2013, JPMorgan did not have a KYC on file for NES LLC. Ex. 75 at -318.

90.     On October 17, 2006, JPMorgan held a “Rapid Response Team” meeting. Ex. 76 at -953.

91.     Rapid Response meetings were “escalations of . . . derogatory information to management

. . . [who would] review it and make a determination on how they want to proceed.” Ex. 77 at

53:21-54:4.

92.     The Rapid Response meeting memo notes: “Derogatory Information reported by Security

Services. . . . Several newspaper articles were found that detail the indictment of Jeffrey Epstein

in Florida on felony charges of soliciting underage prostitutes.” Ex. 76 at -953.

93.     The memo from the Rapid Response meeting stated that Epstein had accounts “with

balances totaling approximately $32 million.” The Rapid Response memo also noted: “Cash

withdrawals are routinely made in amounts for $40,000 to $80,000 several times a month, which

total over $750,000 year to date.” Ex. 76 at -953.



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94.




                                                                                           Ex.

78 at -995.

95.     In 2004 and 2005, JPMorgan recorded cash withdrawals from Epstein’s JPMorgan

accounts totaling $1,744,337. Ex. 56 at 24-26 and Figure 8.6

96.     On July 16, 2008, James Dalessio (Private Bank Risk Management) sent AML compliance




                                                                                           Ex.

80 at -718-19 (emphasis added); Ex. 36 at 19:13-19.

97.                                                                            Ex. 81 at -937.




                                                Id. at -937.

                                                          Id. at -936.




6
 Figure 8 is a summary of information from currency transaction reports filed by JPMorgan (Ex.
79).


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98.     On July 18, 2013, Ryan (AML compliance) emailed DeLuca (AML compliance), subject

Epstein more info found, and states: “Issue is he really never stopped the large cash withdrawals.”

Ex. 82 at -965. DeLuca responds, “Shouldn’t the business have been telling us this?” Id. at -965.

99.     On July 19, 2013, John Duffy (then CEO US Private Bank) emails Erdoes (then CEO

AWM), subject JE talking points, and asks what Erdoes thinks of three talking points for Epstein’s

exit conversation: “1. The repetitive nature of your cash transactions is a problem for us and our

relationship with you[;] 2. The regulatory standards in the banking industry continue to evolve

with a very low tolerance for cash activity when combined with your personal history[;] 3. So,

given the intersection of these circumstances we are in a uniquely challenged situation.

Remediation is required and we need to ask you - in an orderly manner - to find another bank for

your needs.” Ex. 83 at -966. Erdoes replies, “I think that is fine,” Id.

100.    The Rapid Response Team memo states: “Conclusion from follow-up Rapid Response of

1/07/11: Further meetings held with Jes Staley to discuss LOB decision for reapproval. Banker

Paul Morris spoke with Mr. Epstein with regard of large cash withdrawals. Mr. Epstein withdraws

anywhere from $20K to $40K in cash to pay for fuel expenses when he travels to foreign countries.

Banker Paul Morris was instructed by the Committee to update the entity KYC which holds the

operating account for Mr. Epstein’s personal airplane, Hyperion, to document the purpose of the

cash withdrawals. Further, Paul Morris informed Mr. Epstein that the SBLC [Stand By Letter of

Credit to MC2] would not be renewed. Mr. Epstein will continue to be a banking only client.” Ex.

84 at -932.

101.    In an email from Duffy (then CEO of U.S. Private Bank) to Perry (Private Bank Risk

Management) discussing approval of Epstein’s KYC, Duffy admits, “JE and I spoke about his

pattern of cash withdrawals. His answer was ‘fuel payments in foreign countries.’ . . . I did ask



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him to withdraw this cash from his aviation account [Hyperion] for these payments. Clearly he is

doing this.” Ex. 85 at -825. This first cash withdrawal from the Hyperion Air Inc. account was on

August 5, 2011. Id. at -826.

102.   JPMorgan’s DDR for Hyperion Air Inc. approved by Catherine Keating (then CEO of U.S.

Private Bank) on March 19, 2009, indicated Hyperion was not “a cash intensive business or a

business that uses cash as its principal activity.” Ex. 86 at -885, -890.

103.

                                           :




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Ex. 87 at -089-93, -096.

                  Id. at -094.

104.   There is no evidence that the Bank asked Epstein for any receipts or other documentation

to support his cash-for-fuel explanation. They took Epstein “at his word.” Ex. 88 at 176:12-177:10,

344:23-346:17.

105.   The Rapid Response memo states: “During the period of March 2010 to December 2010,

there were eight large cash withdrawals totaling $240,000 where Currency Transaction Reports

were filed.” Ex. 84 at -930.

106.   Epstein was in jail from June 30, 2008 to July 2009 (13 months) and on house arrest from

July 2009 to July 20, 2010. Ex. 89 at -049; Ex. 90 at -814-815.

107.   The Rapid Response memo includes excerpts from the press and quotes a Palm Beach Post

article dated August 1, 2010: “According to the news website The Daily Beast, the feds are also

checking whether a modeling agency run by a friend of the Wall Street investor Epstein fed his

appetite for underage foreign girls. Epstein was known to fly young women from Eastern Europe

to Palm Beach, where they’d massage him, among other services. Because of double jeopardy

rules, Epstein – now a registered sex offender – can never be prosecuted again for crimes covered

by the state charges. He pleaded guilty to felony solicitation of prostitution and procuring a person

under 18 for prostitution, also a felony. Child trafficking, however, would offer two advantages to

federal prosecutors: The charge would not be covered by double jeopardy; and there’s no statute

of limitations.” Ex. 84 at -930.

108.   In 2006, JPMorgan’s due diligence included multiple news reports that Epstein

“assembl[ed] a team of star lawyers” including Alan Dershowitz, Jack Goldberger, Roy Black,

and Gerald Lefcourt—to “look into the backgrounds of his young accusers” and “to undermine the



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credibility of the 14- to 17-year-old girls.” Ex. 37 at -188, -196. The same set of reports explain

that another of Epstein’s lawyers, Jack Goldberger, said Epstein “would never knowingly break

the law.” Id. at -192. Gerald Lefcourt, “one of Epstein’s high-powered lawyers,” says his client is

innocent[.]” Id. at -194. “Epstein’s camp was ready ‘to get their story out.’ They did that Monday

via Goldberger and . . . attorney Roy Black, who also has represented Epstein in the case. ‘We just

think there has been a distorted view of this case in the media presented by the Palm Beach Police.”

Id. at -197.

109.    On July 26, 2006, Philip Schlakman emailed Casey (then Epstein’s banker), subject:

“epstein press” and states “it gets worse” with a link to a Palm Beach Post Article that notes the

Palm Beach police spent months monitoring the Palm Beach International Airport to keep tabs on

Epstein’s private jet. Ex. 91 at -335, 1.

110.    An August 14, 2006 news report, that was part of due diligence conducted by JPMorgan in

September 2006, titled “Jeffrey Epstein craved big homes, elite friends – and, investigators say,

underage girls,” stated:

        When detectives started asking questions and teenage girls started talking, a wave
        of legal resistance followed . . . .

        The cops moved to cement their case. But as they tried to tighten the noose, they
        encountered other forces at work. In Orlando they interviewed a possible victim
        who told them nothing inappropriate had happened between her and Epstein. They
        asked her whether she had spoken to anyone else. She said yes, a private
        investigator had asked her the same questions. When they subpoenaed one of
        Epstein’s former employees, he told them the same thing. He and a private eye had
        met at a restaurant days earlier to go over what the man would tell investigators.
        Detectives received complaints that private eyes were posing as police officers.
        When they told Epstein’s local attorney … he said the investigators worked for Roy
        Black, the high-powered Miami lawyer . . . .

Ex. 45 at -395, -397-98.

111.    The same news report stated:



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       Two of Epstein’s former employees told investigators that young-looking girls
       showed up to perform massages two or three times a day when Epstein was in town.
       They said the girls were permitted many indulgences. A chef cooked for them.
       Workers gave them rides and handed out hundreds of dollars at a time. One
       employee told detectives he was told to send a dozen roses to one teenager girl after
       a high school drama performance. Others were given rental cars. One, according to
       police, received a $200 Christmas bonus.

Ex. 45 at -397.

112.   In September 2007, Lisa Waters (then Managing Director AWM) emails Erdoes an article

about Epstein from Page Six that stated: “Sources tell Page Six that Epstein’s high-powered

lawyers – including Alan Dershowitz, Gerald Lefcourt, Roy Black and Kenneth Starr – have been

negotiating a deal with federal prosecutors who are probing, among other things, whether the gray-

haired money manager paid West Palm Beach girls for sex or transported them across state lines.”

Ex. 92 at -501.

113.   In a June 17, 2013 internal risk assessment matrix, JPMorgan acknowledged allegations

that Epstein “supposedly bought his way to a lesser sentencing” and “paid a whole series of girls

to stay quiet.” Ex. 93 at -344 (Name Risk tab).

114.   On September 24, 2007, Epstein agreed to plead guilty to two prostitution charges in state

court, including the solicitation of a minor to engage in prostitution, in exchange for a federal non-

prosecution agreement (“NPA”) providing him with immunity from federal child sex-trafficking

charges. Ex. 94 at -010-011.

115.   JPMorgan’s due diligence on Epstein in October 2007 contained a news article discussing

Epstein’s plea deal. Ex. 95 at -527; Ex. 63 at -652.

116.   On July 1, 2008, Keating, Casey, Sheridan, and Waters received a July 1, 2008 NYT article

titled “Financier Starts Sentence in Prostitution Case.” The article reported: “But then the United

States attorney’s office in Miami became involved. Last summer, Mr. Epstein got an ultimatum:



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plead guilty to a charge that would require him to register as a sex offender, or the government

would charge him with sexual tourism, according to people who were briefed on the discussions.

David Weinstein, an attorney in the government’s Miami office, declined to discuss the specifics

of the case. But he did address the subject of Mr. Epstein’s means and prominent legal team, and

dismissed a proposal by Mr. Epstein’s lawyers—who opposed the application of the federal

statutes in the case—that he be confined to his house in Palm Beach for a probationary period.”

Ex. 96 at -954.

117.   On July 15, 2008, Perry circulated to Verdon, Dalessio, McCleerey, Waters, Sheridan, and

Casey (all Private Bank personnel) “for the 2:00 pm EST Rapid Response Meeting on Jeffrey

Epstein” an article titled “Rich Man Fought the Law – and He Mostly Won” and dated July 7,

2008. The article stated: “But that plea deal . . . does not account for all of the girls, one as young

as 14, who alleged that Epstein sexually abused them. The slow, dissatisfying resolution of the

case sends a message to the public that there’s a different system of justice for the wealthy who

hire high-powered lawyers . . . . The plea deal also drops a federal investigation of Epstein.” Ex.

97 at -028.

118.   The NPA stated that “the US Attorney’s Office and the Federal Bureau of Investigation

have conducted their own investigation in Epstein’s background and any offenses that may have

been committed by Epstein against the United States from in or around 2001 through in or around

September 2007, including . . . knowingly, in and affecting interstate and foreign commerce,

recruiting, enticing, and obtaining by any means a person, knowing that the person had not attained

the age of 18 years and would be caused to engage in a commercial sex act as defined in 18 U.S.C.

§1591(c)(1); in violation of Title 19, United States Code, Section 1591(a)(1) and 2 . . . .” Ex. 94 at

-010-011.



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119.   The NPA stated: “The United States shall provide Epstein’s attorneys with a list of

individuals whom it has identified as victims, as defined in 18 U.S.C. § 2255 . . . . If any of the

individuals referred to [above] elects to file suit pursuant to 18 U.S.C. § 2255 . . . Epstein waives

his right to contest liability and also waives his right to contest damages . . . and agrees to waive

any other claim for damages . . . .” Ex. 94 at -013.

120.   The non-prosecution agreement identified                  and                     as potential

co-conspirators of Epstein. Ex. 94 at -014.

121.   The non-prosecution agreement identified Lesley Groff as a potential co-conspirator of

Epstein. Ex. 94 at -014.

122.   On September 9, 2010, Perry emailed McCleerey, copying Dalessio, stating: “Epstein

signed a federal non-prosecution agreement under which he would not be charged with related

federal crimes if he successfully served out his time and abided by the conditions under the state

charges. He also waived his right to contest liability and damages in civil lawsuits by 33 minor

girls identified by the non-prosecution agreement.” Ex. 98 at -703.

123.   Steve Cutler testified, “I know at a certain point I understood that there was a federal non-

pros agreement” and that sometime before 2011, “I think we would have seen the non-pros

agreement.” Ex. 99 at 150:4-6; 264:10-265:2.

124.   On March 15, 2011, Jonathan Schwartz (then General Counsel Investment Bank) e-mailed

Cutler: “Spoke with Jay [Lefkowitz]. He represented Epstein in state plea/fed NPA process . . . .

Believes any pre-plea conduct is subsumed within plea/NPA.” Ex. 100 at -278.

125.   On October 19, 2007, Dalessio (Private Bank Risk Management) emailed Verdon (then

General Counsel Private Bank), copying McCleerey (Private Bank Risk Management) and Waters

(Managing Director AWM), Subject Epstein. Dalessio stated: “Anne [Verdon], Lisa asked me to



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send to you a list of PB entities in Epstein relationship with current balances . . . . Notable activity

in Epstein personal account: Cash withdrawals - CTRs filed --> 2007 ytd $400,000 (10 $40,000

withdrawals), 2006 $914,796 (18 $40,000 withdrawals, 1 $60,000, 1 $30,000, 1 $25,000) 2007

transaction activity>=$50,000.” Ex. 63 at -651.

126.       Dalessio further stated in his email: “One of the accounts in the Epstein relationship is for

his ‘girlfriend / model’ -                        - funds into her account are transfers from Epstein -

3/19/07 for $25,000, 6/8/07 from $50,000. See attached article. The two others mentioned in the

article,                                     are not PB clients. The[y] do appear to have Retail credit

cards (           - active,        - revoked).” Ex. 63 at -651 (emphasis added).

127.       Dalessio attached to his email a document “Epstein 2007 transactions.xls.zip” which

included millions of dollars in payments from Epstein accounts at JPMorgan to Epstein’s lawyers

and their law firms, including Alan Dershowitz, Gerald Lefcourt, Roy Black (Black Srebnick), and

Jay Lefkowitz (Kirkland & Ellis). Ex. 63 at -655. It also included twenty payments from Epstein

accounts for $100,000. Id. at 655.

128.       On October 6, 2007, the New York Post reported: “THE owners of MC2 models are

denying industry speculation that massage maven Jeffrey Epstein is a secret financial backer of

the agency being run by scandal-scarred Jean-Luc Brunel, who was once accused of taking

advantage of underage models. Epstein, who this week agreed to plead guilty to soliciting underage

prostitutes at his Florida mansion in a deal that will send him to prison for about 18 months,

reportedly gave ‘millions’ to start MC2, which opened in October 2005 with offices in New York,

Miami and Tel Aviv. One of the girls Epstein, 54, was accused of soliciting massages from was

described in court documents as being just 14. ‘E equals MC squared . . . get it, like the equation?

E equals Epstein. He just thinks everyone is too dumb to figure it out,’ said a model industry



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insider. ‘He’s a desperate old man that fantasizes and takes advantage of young girls.’ . . . . MC2

president Jeffrey Fuller confirmed Brunel was a partner in the company, but denied any working

relationship with either Epstein or Marie. ‘We have no relationship business-wise with Gerald

Marie. Jeffrey Epstein has no ownership or involvement in our company and never has. Jean-Luc

Brunel and I are the only two partners and owners of MC2 Model Management,’ Fuller said.

Epstein’s rep said he was not involved in the agency. ‘He has no business relationship with them,’

said Howard Rubenstein.” Ex. 101 at -593.

129.   JPMorgan admits that in 2005 JPMorgan approved a $1 million Stand By Letter of Credit

(“SBLC”) in Epstein’s name to support a loan from Mellon United National to MC2 Model

Management, LLC. Ex. 39 at Resp. 66.

130.   JPMorgan admits that a $1 million letter of credit in Epstein’s name to backstop a loan

from Mellon United National to MC2 Model Management, LLC was subject to annual review. Ex.

39 at Resp. 67.

131.   JPMorgan admits that it renewed the SBLC in Epstein’s name to support a loan from

Mellon United National to MC2 Model Management, LLC until March 2011. Ex. 39 at Resp. 68.

132.   On October 25, 2007, Christopher French emails Mary Casey, subject: “Re: Jeffrey Epstein

new LOC” and states in response to Casey’s request to open a new line of credit for Epstein: “we

do still have an existing $1MM LC that we issued a few years ago . . . supporting the Modeling

Agency’s loan to Mellon.” Ex. 102 at -962-63.

133.   On February 29, 2008, Casey emails Erdoes, Steve Sonnick (then Global Head of Credit),

and Keating, copying Waters, writing, “Jeffrey Epstein’s office just called and has asked for a new

$1mm letter of credit. As I understand it, we’re weeks away from his court date . . . . Are we




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comfortable taking on additional credit exposure just ahead of his pending plea arrangement?” Ex.

103 at -155.

134.      In a July 31, 2010 email, Erdoes tells Staley, describing a July 31, 2010 NY Post article:

“The feds many not be quite done with (JE). Having just completed 13 months in a fl jail for

solicing[sic] prost [sic] from a minor, he now might be under investig [sic] for other possible

crimes, inclduing [sic] whether there’s any evidence of child trafficking. E has settled several

lawsuits by teens who say they were lured to his palm beach mansion for massages or sx [sic]. The

us AG in fl wouldn’t comment. E’s lawyer, jack goldberger, says he know nothing of any probe,

and ‘they are not and should not be any pending criminal investigations.’” Ex. 104 at -251.

135.      The July 31, 2010 NY Post article “Jeffrey Epstein may face child trafficking probe”

states:

          The Feds may not be quite done with Jeffrey Epstein. Having just completed 13
          months in a Florida jail for soliciting prostitution from a minor, he now might be
          under investigation for other possible crimes, including whether there’s any
          evidence of child trafficking, reports The Daily Beast. Epstein has settled several
          lawsuits by teens who say they were lured to his Palm Beach mansion for massages
          or sex. The US attorney general in Florida wouldn’t comment. Epstein’s
          lawyer, Jack Goldberger, says he knew nothing of any probe and, “There are not
          and should not be any pending criminal investigations.”

Ex. 90 at -814.

136.      The July 29, 2010 Daily Beast article cited in the NY Post article states: “The Justice

Department is investigating Jeffrey Epstein for child trafficking . . . and has widened the scope of

its probe to include a famous modeling agency.” “Federal investigators continue to investigate

Epstein’s activities, to see whether there is evidence of child trafficking—a far more serious charge

than the two in his non-prosecution agreement, the arrangement between Epstein and the

Department of Justice allowing him to plead guilty to lower level state crimes. Trafficking can

carry a 20-year sentence.” “The FBI is also investigating Epstein’s friend Jean Luc Brunel, whose

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MC2 modeling agency appears to have been a source of girls from overseas who ended up on

Epstein’s private jets.” Ex. 105 at -902-903.

137.   JPMorgan admits that in 2010, certain of its employees received, reviewed, or read a

Newstex Web Blog, Jezebel, article (“2010 Newstex article”) identifying “MC2” as “the modeling

agency owned by Jean Luc Brunel.” Ex. 39 at Resp. 70.

138.   The 2010 Newstex article states:

       a.      “Jeffrey Epstein, the billionaire financier who the FBI believes molested around 40
               underaged girls” Ex. 106 at 596.

       b.      Buying a 14-year old Yugoslavian girl named                from her parents in order
               to keep her as his “sex slave” Id.

       c.      Paying women to bring him “economically desperate” teenagers to give him
               massages “that often led to sexual contact” Id.

       d.      Receiving two 12-year old French girls as a “birthday present” Id.

       e.      Flagging Epstein’s relationship with Jean Luc Brunel, owner of MC2 Modeling,
               and that Epstein, Maxwell, Brunel, Alfredo Rodriguez, and                    used the
               agency to “lure minor children . . . mostly girls under the age of 17 . . . to engage
               in sexual play for money” Id.

       f.      References that the FBI is investigating MC2 and Brunel for “possibly engaging in
               child sex trafficking” Id.

       g.      Mentions Epstein’s plea of soliciting sex with a minor and settling a dozen civil
               lawsuits from victims Id.

       h.      “These same civil complaints allege that young girls from South America, Europe,
               and the former Soviet republics . . . were recruited for Epstein’s sexual pleasure”
               Id.

       i.      “Brunel, along with numerous young models, was a frequent passenger on
               Epstein’s private jet, according to flight manifests” Id.

       j.      “The agency owner also allegedly received $1 million from Epstein in 2005, when
               he founded MC2 . . . [but] denied any such payment from the billionaire pervert in
               2007, when rumors started swirling” Id.



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         k.     “Whether the money was a secret investment in MC2, or a payment for Brunel’s
                service as a procurer, is unknown” Id.

139.     A DDR regarding Epstein approved by Morris (then banker), Sheridan (then overseeing

Morris); and Keating (then CEO U.S. Private Bank) stated: “As of 3/4/2011: Numerous articles

detail various law enforcement agencies investigating Jeffrey Epstein for allegedly participating

in child trafficking and molesting underage girls. Jeffrey Epstein is required to register as a sex

offender. Jeffrey Epstein has settled a dozen civil lawsuits out of court from his victims regarding

solicitation for an undisclosed amount. MC2 Model Management received $1 million from Epstein

in 2005. It is unknown if the money was given as a secret investment or payment for services as a

procurer. Jean Luc Brunel, owner of MC2 Model Management and Jeffrey Epstein engaged in

racketeering that involved luring in minor children for sexual play for money. In addition, Brunel

was a frequent passenger on Epstein’s private jet and often visited Epstein in jail. MC2 Model

Management was issued a citation by the Florida Business and Professional Regulation for acting

as a talent agent without a license. MC2 Model Management LLC has two outstanding federal tax

liens totaling $593,789 ($443,728 + $150,061).” Ex. 31 at -574. Global Security & Investigations,

Due Diligence Unit circulated “A Red Dot Memo for Jeffrey Epstein” containing the same

information that was circulated to Morris, Casey, Dalessio, and Perry, among others, in early

March 2011. Ex. 107 at -499-500.

140.

                                                                                              Ex. 9

¶ 206.

                                                                  Id. ¶ 206.

141.     JPMorgan’s own due diligence process also required that it research and review civil and

other lawsuits that may be filed by or against clients. Ex. 32 at 42:20-24.

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142.   In 2007, news reports stated Epstein was “bracing for a slew of lawsuits from as many as

40 young women who came to his Palm Beach mansion for massage sessions.” Ex. 63 at -652.

143.   In January 2008, Erdoes, Waters, Theresa Schnepf (then Chief Risk Officer AWM), Nina

Shenker (then General Counsel AWM), and Lencyk were all aware of new reports of a civil lawsuit

filed against Epstein – “sexual abuse of minor etc etc.” Ex. 108 at -685.

144.   On February 7, 2008, Waters emails Erdoes: “Second lawsuit filed against je. Same

attorney. Nypost pg. 18.” Waters responds: “yup.” Ex. 109 at -686.

145.   The February 7, 2008 New York Post article stated that “the teen –identified only as ‘Jane

Doe No. 2’ – says she was lured to Epstein’s Palm Beach mansion and then sexually assaulted in

his massage room . . . . He then paid her $200 . . . .” Ex. 110 at 1. The article further states: “. . .

Jane Doe No. 1 . . . says she was 14 when she went to Epstein’s home to give him a massage and

wound up getting sexually assaulted by him” and that Epstein is “currently only facing criminal

charges related to Jane Doe No. 1.” Id. at 1-2.

146.   On June 30, 2008, Epstein pled guilty to felony solicitation of prostitution and procurement

of a minor to engage in prostitution on June 30, 2008 and was “sentenced to 18 months in jail” and

“required to register as a sex offender.” Def. JPMorgan Chase Bank, N.A.’s Answer Second Am.

Compl. (“Answer”) ¶ 38.

147.   JPMorgan knew the victim was a 14-year-old girl. Ex. 109 at -686; Ex. 110 at 1-2.

148.

                                                         Ex. 2 at -196; Ex. 3 at -523.

149.   In 2011, Langford communicated to Cutler “concern” about retaining Epstein as a client.

Cutler testified: “Those concerns are heightened, if you will, by the human trafficking initiative

that we’re doing, given that he was convicted of these crimes.” Ex. 99 at 343:12-24.



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150.   JPMorgan referred to Epstein’s conviction as a “human rights” issue. Ex. 55 at -475.

151.   The August 5, 2008 AML Operations Human Trafficking Overview states that “nearly

two-thirds of the women trafficked for prostitution worldwide come from Eastern Europe” and

“former Eastern bloc countries such as Albania, Moldova, Romania, Bulgaria, Russia, Belarus and

Ukraine have been identified as major trafficking source countries for women and children.” Ex.

44 at -053.

152.   In 2010, additional “news stories . . . connects Jeffrey Epstein to human trafficking.” Ex.

112 at -262.

153.   On November 8, 2010, Dalessio emails Morris and Casey, with a cc to McCleerey, Subject:

Excerpt from recent articles. Dalessio writes: “See below new allegations of an investigation

related to child trafficking – are you still comfortable with this client who is now a registered sex

offender?” Ex. 90 at -814. Dalessio attaches excerpts from four articles:

       1.      The Palm Beach Post 8/1/10 “Epstein may be under new sex crime scrutiny from

               feds”: “Epstein . . . may be under investigation for other sex crimes, including child

               trafficking . . . According to the news website The Daily Beast, the feds are also

               checking whether a modeling agency run by a friend of the Wall Street Investor

               Epstein fed his appetite for underage foreign girls. Epstein was known to fly young

               women from Eastern Europe to Palm Beach, where they’d massage him, among

               other services.” Id.

       2.      NY Post 7/31/10 “Epstein Probe”: “The Feds may not be quite done with Jeffrey

               Epstein . . . . [H]e now might be under investigation for other possible crimes,

               including whether there’s any evidence of child trafficking, reports The Daily




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               Beast. Epstein has settled several lawsuits by teens who say they were lured to his

               Palm Beach mansion for massages or sex.” Id.

       3.      Palm Beach Daily News 7/18/10 “House arrest nears home stretch for Epstein”:

               “Epstein has settled more than two dozen lawsuits and claims against him by teen-

               agers who say they were lured to his Palm Beach mansion to give him sexually

               charged massages and/or sex in exchange for money . . . A secret deal with federal

               prosecutors revealed Epstein could have been charged with multiple federal counts

               of sexual exploitation of minors, resulting in much harsher penalties. But the feds

               deferred to two state charges that got him an 18-month sentence.” Id. at -814-815.

       4.      Palm Beach Daily News 9/19/10 article “Woman sues Epstein for $50 M, alleging

               abuse as teen”:       “alleges repeated sexual abuse by Epstein” and that “she was

               coerced into prostitution as a minor by Epstein, assisted by his employee

                       ”“      alleges Epstein has transferred and is transferring his assets overseas

               and elsewhere to conceal them from her and to prevent           from obtaining those

               assets in any judgment she may receive against him.” Id. at -815.

154.   The JPMC Corporate AML Compliance Human Trafficking Finance: Nature, Scope and

Control Project, November 2010, states that one of the results achieved from the program was that

JPMorgan “Led effort to draw industry attention to human trafficking as an AML-related issue”

and notes multiple industry presentations given by JPMorgan related to human trafficking issues

and/or its human trafficking project findings. Ex. 71 at -975, -977-78. On December 21 2010, Ryan

writes to DeLuca: “My fear is will all our touting of good will on the HT work, if anyone should

ever say yet we bank Epstein, a known child sleaze.” DeLuca responds: “That is what I was

thinking when I read this. I’ll call you.” Ex. 113 at -018.



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155.    “HT” in Ryan’s email refers to a project “within investigations related to human trafficking

and certain typology work that they were looking to dig through to identify human trafficking.”

Ex. 36 at 56:14-57:6.

156.    On December 22, 2010, DeLuca writes Langford again and states: “This will be raised to

the Rapid Response team (Catherine Keating) after the first of the year. McCleerey agrees this

customer should go.” Ex. 114 at -738.

157.    On December 23, 2010, DeLuca writes Langford and states: “… I sent you an e-mail

yesterday on that scum Epstein. That looks good to. I reminded McCleerey that he listened to 2

days of HT at the forum and this account could be problematic in several ways.” Langford

responds: “Good. Let me know if McCleerey waffles on Epstein. No patience for this.” Ex. 115 at

-777.

158.    On January 4, 2011, Dalessio e-mails Morris, with a cc to Casey, Perry, and McCleerey,

Subject: Rapid Response meeting this Thursday, stating: “See attached draft document for the

Rapid Response meeting this Thursday [sic] We were asked by the firms AML Compliance

Director, William Langford, to re-evaluate our sponsorship of Epstein and request re-approval

from Steve Cutler if we wanted to retain.” Morris responds: “I thought we decided this was not

necessary.” Dalessio responds: “william langford requested that we responsor this client in light

of the new allegations of human trafficking which the firm has been actively assisting law

enforcement in uncovering others engaged in this practice.” Ex. 116 at -967.

159.    On January 5, 2011, Ryan wrote to DeLuca: “BTW, 4 tomorrow is the rapid response

meeting on Epstein, the sleazy PB client.” DeLuca responded the next day: “This is the guy who

likes young girls, correct? Hope they do not cave!” Ex. 117 at -062; Ex. 36 at 68:11-69:18.




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160.   By “sleazy PB client,” Ryan was referring to the allegations against Epstein of sexual

misconduct with children. Ex. 36 at 68:11-19.

161.   On January 7, 2011, Ryan emails DeLuca, copying Middlemiss, writing, “Epstein was

released in July from house arrest and the Palm Beach Post carried two articles saying that DOJ

may be investigating for child trafficking via a modeling agency he is part owner in.” Ex. 118 at

-066_R; Ex. 36 at 88:24-90:2.

162.   Ryan testified: “So, Phil was of the mindset, as was I, that [Epstein] had to go.” Ex. 36 at

70:19-71:3.

163.    Langford testified: “We were pushing it. I had asked for this to be redone, to push again,

to say it’s time that we exit Epstein.” Ex. 119 at 278:17-21.

164.   Langford testified that by the end of 2010 or early 2011, it was his view that “we should

exit Jeffrey Epstein as a client.” Ex. 119 at 58:18-59:11.

165.   DeLuca testified: “Maryanne [Ryan] was all over this, and like myself and William

[Langford], Maryanne wanted to see this client gone, the relationship terminated.” Ex. 120 at

204:22-205:1.

166.   On January 10, 2011, DeLuca emails Nichols, copying Langford, regarding Jeffrey

Epstein: “He is alleged to be involved in human trafficking of young girls and law enforcement is

allegedly investigating his involvement in this activity. . . . AML Operations went to a PB risk

meeting late last week requesting we exit this relationship.” Ex. 70 at -748_R.

167.   On March 12, 2013, Ryan emails DeLuca, Subject: High Profile, telling him: “Here are the

ones [accounts] I think should be closed where the LOB has disagreed and signed off to keep. . . .

PB customer Jeffrey Edward Epstein is an American financier and science and education

philanthropist, who is a convicted sex offender.” Ex. 121 at -272.



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168.    JPMorgan admits that Erdoes was involved in decision making with respect to maintaining

Epstein as a customer of JPMorgan. Ex. 28 at Resp. 8.

169.    In 2008, JPMorgan acquired Bear Stearns. Ex. 122 at 1; Ex. 123 at 285:8-286:2.

170.    JPMorgan knew that Epstein conducted his brokerage business at Bear Stearns. Ex. 124 at

-175.

171.    Arthur Middlemiss was an AML Officer at Bear Stearns in 2007. Ex. 125 at -076.

172.    After Bear Stearns was acquired by JPMorgan, Arthur Middlemiss assumed a similar role

with JPMorgan AML compliance, working with Langford. Ex. 126 at 1; Ex. 120 at 155:21-158:6.

173.    While at Bear Stearns, Middlemiss was the AML Officer responsible for responding to a

2007 subpoena by the federal prosecutors investigating Epstein for federal sex crimes. Ex. 125 at

-076.

174.    On January 10, 2011, Ryan e-mails Langford, DeLuca, and Nichols, Subject: Re: Jeffrey

Epstein: “Seems JPMC never was served a subpoena, which I find odd since we were his #1 bank

and actually Bear got one in 07. Rich is getting me the AUSA correspondence and we will compare

their ask of Bear (something about $1000 and $100,000 transactions were of interest to them)[.]”

Ex. 127 at -192.

175.    On January 11, 2011, Viscontin e-mails Ryan (and Ryan forwards to Middlemiss), subject:

USA 8/07; 9/07 letters: “FOUND THE FILE!!!” Ex. 128 at -247. The “file” refers to the United

States Attorney’s Office’s “Subpoena to Bear Stearns Companies, Inc.” related to its investigation

of Epstein for offenses from in or around 2001 through September 2007, including child sex

trafficking under the Trafficking Victims Protection Act. Ex. 129 at -248, -251-52; Ex. 125 at

-075.




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176.   The AUSA provided a list of 8 entities related to Jeffrey Epstein and requested “other

entities where Jeffrey Epstein is the chief executive officer (or chief operating officer) or is the

sole owner/shareholder . . . .” Ex. 129 at -251. The AUSA also requested a “list of accounts at

other financial institutions that Bear Stearns has either transferred money to or received money

from on behalf of Mr. Epstein, so that I may narrow the financial request accordingly.” Id.

177.   In response to the subpoena, Bear Stearns wrote: “A review of the Probable Cause Affidavit

(dated 5/1/06) revealed that Epstein had apparently wire transferred via Western Union $1,000 to

one or more of the females referenced in various news reports and the Probable Cause Affidavit

as a ‘Christmas Bonus.’ Additionally, public information indicated that at some point, Epstein

made a $100,000 donation to a massage parlor.” Ex. 125 at -075. “Bear Stearns reviewed accounts

maintained at the Firm for the benefit of Epstein. Specifically, the Firm sought to identify any

transfers out of these accounts in the amounts of $1,000 or $100,000.” Id. at -076.

178.   In 2007, JPMorgan knew, as part of its investigation of Epstein at that time, that it had

made twenty transfers out of Epstein’s accounts in the amount of $100,000 from January 2, 2007

to October 12, 2007. Ex. 63 at -655-60.

179.   On August 27, 2006, Staley emails Erdoes: “Last night went to the Huggy Bear concert.

The age difference between husbands and wifes [sic] would have fit in well with Jeffrey. What a

joke.” Erdoes responds, “Oh, and what I meant to tell you about last night was they [sic] were a

few people laughing about Jeffrey. One of the guys ran a unit of      . Apparently              has

8 assistants, one is more beautiful than the other (even though he’s gay). Anyway, lots of

comparisons to JE.” Ex. 130 at -337.

180.   In October 2007,                    wrote to her: “As if you need this info.” Timothy

Casey sent a link to an article from gawker.com, “The Truth About Jeffrey Epstein and ‘Vanity



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Fair.’” Ex. 131 at -627. The article discussed “alleged financier-perv* billionaire Jeffrey Epstein,

of whom it is alleged that he retained a procurer of underage girls.” Ex. 132 at 1.

181.     In May 2008, Erdoes writes to                 : “This has turned into a cheezy broker fest . . .

totally not cool, the only cool people are here at glenn’s table-same as bat mitzvah!”

          responds: “Epstein there with miley cyrus?” Ex. 133 at -475.

182.     In May 2008, Miley Cyrus was 15 and starring in “Hannah Montana” on the Disney

Channel. Ex. 134 at 2.

183.     On February 7, 2011, Ryan also said to Langford: “. . . wanted to catch up on Epstein as

he was featured ripped from the headline story on Law and Order SVU this week.” Ex. 135 at

-044; Ex. 36 at 145:21-148:2.

184.     Ryan testified, “That entire series [Law and Order SVU] was based on real life stories, and

it’s never difficult to figure out, since I am a New Yorker, I knew exactly what this particular

episode was on, and so I sent it to William so that he could see. . . . I saw it – happened to see it,

made sure I told William that a customer might have been the implied story that was out in the

news.” Ex. 36 at 147:4-148:2.

185.     Ryan testified that she wrote to Langford: “I typed SVU and his name and there is a Gawker

story, Law & Order commerates [sic] JE taste for teen hookers.” Ex. 135 at -044; Ex. 36 at 148:21-

149:2.

186.     The Gawker story states: “Last night, for instance, Dick Wolf’s Law & Order: SVU aired

a ‘ripped from the headlines’ episode that seemed to be aimed directly at Epstein. The villain was

‘Jordan Hayes,’ a ‘billionaire pervert flying in underage girls for sex’ on his private jet. His parties

make the society page, he’s friends with ‘a former president,’ and Hayes almost gets away with




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the statutory rape of a young girl before our heroes uncover scores of underage girls he had

sexually abused.” Ex. 136 at 1.

187.   The Law & Order episode and the Gawker story made Ryan “more anxious to get Jeffrey

Epstein out of the bank.” Ex. 36 at 149:5-11. Ryan further testified “that all of these facts should

be escalated to the business to make an informed decision about getting Epstein out of the bank.”

Id. at 149:17-21. Ryan was of the opinion that Epstein should be out of the bank. Id. at 149:20-21.

188.   On November 29, 2011, Ryan e-mails DeLuca an article, “FBI Set to Reopen Epstein Case

Based on Testimony of Virginia Roberts.” The article states: “The FBI is reportedly preparing to

launch a new inquiry into Epstein after one of his under-age erotic masseuses,                      ,

made a string of disturbing allegations about her role. U.S. detectives are said to be furious that

Epstein, 58, escaped with only 13 months in jail for child sex offences [sic] after he struck a plea

bargain with prosecutors. The deal protected him from further prosecution for offences in Florida.

But the significance of                  claims that under-age girls were moved abroad for sex is

that she paves the way for the FBI to prosecute him for offences [sic] committed outside Florida

under the Trafficking Victims Protection Act.” Ex. 137 at 689 (emphasis added).

189.   On June 17, 2013, in a “Lync” chat from DeLuca with Jessica Gomel, who reported to

DeLuca, DeLuca repeated the contents of the article, including that “the significance of

            claims that under-age girls were moved abroad for sex is that she paves the way for

the FBI to prosecute him for offences [sic] committed outside Florida under the Trafficking

Victims Protection Act.” Ex. 138 at -936 (emphasis added).

190.   In September 2012, David Brigstocke (then CFO of JPMorgan AWM) writes to Erdoes

regarding               ’s house: “The size of the Union Club. In fact it used to be a club. Reminded




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me of JE’s house, except it was more tasteful, and fewer nymphettes. More like the Frick. Art

was fabulous. D.” Erdoes responds: “Wow.” Ex 139 at -203 (emphasis added).

191.   Staley was the senior person at JPMorgan with a business relationship with Epstein. Ex.

39 at Resp. 204.

192.   JPMorgan admits that its employees consulted with Staley regarding Epstein’s account

activities. Ex. 39 at Resp. 144.

193.   JPMorgan admits that Staley communicated with Epstein through his JPMorgan email

account jes.staley@jpmorgan.com. Ex. 39 at Resps. 161, 162.

194.   JPMorgan employees were instructed to only use their email accounts “for business

purposes.” Ex. 39 at Resp. 163.

195.   JPMorgan admits that Epstein sent Staley photographs of women on Staley’s JPMorgan’s

email address. Ex. 39 at Resp. 164.

196.   JPMorgan admits that more than 1,200 email messages were sent between Staley and

Epstein over Staley’s work account. Ex. 39 at Resp. 165.

197.   JPMorgan admits that Staley sent an email from his work account that referenced “Snow

White.” Ex. 39 at Resp. 166.

198.   On July 9, 2010, Staley e-mailed Epstein, “That was fun. Say hi to Snow White.” Epstein

responded, “what character would you like next.” Staley responded, “Beauty and the Beast . . . .”

Epstein responded, “well one side is available.” Ex. 140 at -669.

199.   On August 30, 2009, Epstein emailed Staley, “how long London? Do you need anything

there?” Staley responded, “Yep.” Ex. 141 at -171.

200.   On September 2, 2009, Epstein emailed                                      , “jes staley is

staying at the berkeley hotel in London tonight.” Ex. 142 at -773.



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201.   On December 20, 2009, Epstein emailed Staley a blank email with only an attachment,

which “appears to be a modeling photo”:




Ex. 143 at -791-92; Ex. 144 at -005.

202.   On December 5, 2009, Epstein emailed Staley, “you were with larry , [sic] and I had to put

up with . . . .” with the following attachment:




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Ex. 145 at -715-16; Ex. 144 at -005. Staley responded, “Don’t tell me a French wine.” Ex. 146 at

-718.

203.    On June 16, 2010, Staley wrote to Epstein “is she free tonight?” Epstein replied, “call me.”

Staley replied, “I’m with A.” Ex. 144 at -998.

204.    Staley testified he met                   at Epstein’s townhouse. Ex. 46 at 343:22-346:8.

205.    Staley testified he met Lesley Groff at Epstein’s townhouse. Ex. 46 at 343:22-346:8.

206.    Staley testified he met              at Epstein’s townhouse. Ex. 46 at 343:22-346:8.

207.    Staley testified



                                                                          Ex. 46 at 433:9-440:8.




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208.   JPMorgan admits that Staley submitted, and JPMorgan reimbursed, the costs associated

with expense reports reflecting purported meetings with Epstein. Ex. 39 at Resps. 168, 169.

209.   JPMorgan admits that certain of its employees knew that Staley had visited Epstein while

he was incarcerated and still a JPMorgan client. Ex. 39 at Resp. 175.

210.   JPMorgan admits that Staley visited Epstein at Epstein’s New York property while Epstein

was a client of JPMorgan. Ex. 39 at Resp. 176.

211.   JPMorgan admits that certain of its employees learned that Staley visited Little Saint James

while Epstein was a client of JPMorgan. Ex. 39 at Resp. 177.

212.   JPMorgan admits that it gave Staley a bonus every year between 2001 and 2012. Ex. 39 at

Resp. 197.

213.   JPMorgan admits that Staley’s bonus was related to his performance and performance of

the business under his supervision, which may have included the revenue and business that they

generated. Ex. 39 at Resp. 198.

JPMorgan Participated in Epstein’s Sex-Trafficking Venture

214.   On July 6, 2020, the New York State Department of Financial Services entered into a

Consent Order with Deutsche Bank imposing a $150 million penalty in connection to Deutsche

Bank’s relationship with Jeffrey Epstein. Ex. 147; Ex. 148; Ex. 99 at 457:10-466:2. Regarding the

Consent Order, Superintendent Lacewell said: “despite knowing Mr. Epstein’s terrible criminal

history, the Bank inexcusably failed to detect or prevent millions of dollars of suspicious

transactions.” Ex. 147; Ex. 148; Ex. 99 at 457:10-466:2. The bank “processed hundreds of

transactions totaling millions of dollars” including:

            payments to individuals who were publicly alleged to have been Mr. Epstein’s
             co-conspirators in sexually abusing young women;




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          settlement payments totaling over $7 million, as well as dozens of payments to
           law firms totaling over $6 million for what appear to have been the legal
           expenses of Mr. Epstein and his co-conspirators;

          payments to Russian models, payments for women’s school tuition, hotel and
           rent expenses, and (consistent with public allegations of prior wrongdoing)
           payments directly to numerous women with Eastern European surnames; and

          periodic suspicious cash withdrawals — in total, more than $800,000 over
           approximately four years.

Ex. 147; Ex. 148; Ex. 99 at 457:10-466:2.

215.   In 2005, JPMorgan made two separate $25,000 payments from Epstein’s JPMorgan

accounts to             . Ex. 56 at 34, 36 and Figure 9.3 (copied below).7




7
  Figure 9.3 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Butterfly Trust’s JPMorgan account ending in 2810
(Ex. 64).
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                         Figure 9.3: Direct Payments to

   Date       2005       2006     2007      2008          2009           2010          2011       2012       2013   Grand Total
 1/4/2005 $25,000.00
 1/5/2005 $25,000.00
1/24/2008                                  $3,055.00
3/19/2008                                $131,000.00
4/16/2009                                                 $500.00
4/17/2009                                              $14,000.00
5/13/2009                                               $4,000.00
 6/4/2009                                               $6,000.00
6/19/2009                                               $4,000.00
7/30/2009                                               $1,025.00
8/17/2009                                               $4,000.00
8/24/2009                                               $5,000.00
9/16/2009                                               $4,000.00
10/1/2009                                              $13,000.00
11/18/2009                                              $4,000.00
12/4/2009                                               $4,000.00
 1/4/2010                                                               $4,000.00
 2/4/2010                                                               $4,000.00
 3/4/2010                                                               $4,000.00
 4/5/2010                                                               $4,000.00
 4/7/2010                                                               $2,604.62
 5/4/2010                                                               $4,000.00
 6/4/2010                                                               $4,000.00
8/31/2010                                                               $2,104.17
3/10/2011                                                               $6,000.00
3/24/2011                                                             $300,000.00
8/16/2011                                                                           $12,252.60
11/16/2011                                                                           $6,105.75
3/16/2012                                                                                        $3,294.43
10/4/2012                                                                                        $9,800.00
 4/8/2013                                                                                        $100,000.00
8/21/2013                                                                                         $15,000.00
Total      $50,000.00     $0.00   $0.00 $134,055.00 $63,525.00 $334,708.79 $18,358.35 $13,094.43 $115,000.00 $728,741.57


216.     From August 2006 through August 2013, JPMorgan handled $678,741.57 in payments

from Epstein’s JPMorgan accounts to                                   . Ex. 56 at 34, 36 and Figure 9.3.

217.     In August 2013, JPMorgan handled a payment of $15,000 from Epstein’s JPMorgan

account to              . Ex. 56 at 34, 36 and Figure 9.3.




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218.      From August 2006 through January 2013, JPMorgan handled $607,804.30 in payments

from Epstein’s JPMorgan accounts to                                                 . Ex. 56 at 34-35 and Figure 9.2 (copied

below).8

                                 Figure 9.2: Direct Payments to
    Date    2003      2004       2005       2006       2007        2008        2009        2010          2011         2012         2013      Grand Total
 11/3/2003 $500.00
  3/9/2004          $1,166.00
  4/8/2004          $2,000.00
 4/22/2004          $1,517.82
 4/28/2004          $3,000.00
  6/1/2004         $10,000.00
  8/5/2004          $5,000.00
10/19/2004         $10,000.00
11/22/2004          $2,168.29
 12/1/2004          $1,713.45
  1/4/2005                    $25,000.00
 1/19/2005                     $3,155.56
 4/12/2005                      $778.76
 4/26/2005                    $10,000.00
 7/19/2005                     $3,339.96
 8/15/2005                      $480.00
 8/25/2005                    $10,000.00
10/11/2005                     $5,000.00
10/24/2005                    $10,000.00
  1/4/2006                               $10,000.00
  2/3/2006                               $11,000.00
  3/2/2006                                $6,786.00
 4/10/2006                               $15,000.00
 4/28/2006                                $7,362.50
 7/18/2006                                $5,000.00
  9/6/2006                               $25,000.00
 10/3/2006                                $1,025.00
12/18/2006                                $1,724.30
 3/19/2007                                           $25,000.00
  6/8/2007                                           $50,000.00
 9/25/2007                                          $100,000.00
 1/24/2008                                                        $3,055.00
  7/3/2008                                                        $2,000.00
  9/3/2008                                                      $100,000.00
  7/8/2009                                                                  $50,000.00
 12/7/2009                                                                  $10,000.00
 1/15/2010                                                                               $10,000.00
 2/17/2010                                                                               $25,000.00
 5/24/2010                                                                               $20,000.00
 7/29/2010                                                                               $20,000.00
 10/6/2010                                                                               $25,000.00
 1/18/2011                                                                                            $10,000.00
 2/28/2011                                                                                            $25,000.00
  4/1/2011                                                                                            $30,000.00
 4/14/2011                                                                                            $25,000.00
 6/20/2012                                                                                                         $20,000.00
10/10/2012                                                                                                         $10,000.00
10/11/2012                                                                                                         $10,000.00
 1/17/2013                                                                                                                      $10,000.00
Total      $500.00 $36,565.56 $67,754.28 $82,897.80 $175,000.00 $105,055.00 $60,000.00 $100,000.00 $90,000.00 $40,000.00 $10,000.00 $767,772.64




8
  Figure 9.2 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Butterfly Trust’s JPMorgan account ending in 2810
(Ex. 64).
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219.    In 2004, 2005, and 2006, JPMorgan handled $36,565.56, $67,754.28, and $82,897.80,

respectively, in payments from Epstein’s JPMorgan accounts to                                    . Ex. 56 at 34-

35 and Figure 9.2.

220.    In 2014 and 2015, JPMorgan handled $201,625.44 in payments from Epstein’s non-

JPMorgan accounts to                     Ex. 149 (list of transactions reviewed by JPMorgan following

Epstein’s arrest in 2019).

221.    From October 1999 through July 2006, JPMorgan handled $25,146,955.30 in payments

from Epstein’s JPMorgan accounts to Ghislaine Maxwell. Ex. 56 at 45-46 and Figure 15 (copied

below).9

                          Figure 15: Direct Payments to Ghislaine Maxwell

    Date        1999          2002         2003        2004        2005        2006       2009      Grand Total
10/19/1999 $18,300,000.00                                                                          $18,300,000.00
 9/18/2002                $5,000,000.00                                                             $5,000,000.00
 2/27/2003                              $325,000.00                                                   $325,000.00
  5/6/2003                              $250,000.00                                                   $250,000.00
 6/20/2003                               $93,037.97                                                    $93,037.97
 11/4/2004                                          $225,000.00                                       $225,000.00
11/18/2004                                           $34,867.33                                        $34,867.33
 4/27/2005                                                      $205,000.00                           $205,000.00
 5/20/2005                                                      $139,050.00                           $139,050.00
 7/22/2005                                                      $200,000.00                           $200,000.00
 7/25/2005                                                      $375,000.00                           $375,000.00
11/28/2006                                                                  $13,750.00                 $13,750.00
 4/23/2009                                                                             $100,000.00    $100,000.00
Total      $18,300,000.00 $5,000,000.00 $668,037.97 $259,867.33 $919,050.00 $13,750.00 $100,000.00 $25,260,705.30


222.    From August 2006 through April 2009, JPMorgan handled $113,750 in payments from

Epstein’s JPMorgan accounts to Maxwell. Ex. 56 at 45-46 and Figure 15.

223.    In addition, JPMorgan received a $7.4 million wire from Epstein’s Mellon Bank account

to Maxwell’s JPMorgan account to purchase a helicopter. On June 15, 2007, JPMorgan received


9
  Figure 15 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 1001 (Ex. 58);
Financial Trust’s (owned by Epstein) JPMorgan account ending in 0001 (Ex. 59); Financial Trust’s
(owned by Epstein) JPMorgan account ending in 5001 (Ex. 60).
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a $7.4 million wire to Maxwell’s JPMorgan account ending in 6312 from Epstein’s Mellon Bank

account. Ex. 150 at -025 (June 2007 account statement from Ghislaine Maxwell’s JPMorgan

account ending in #6312 showing a $7.4 million wire from Epstein’s Mellon Bank account). On

the same day, Maxwell transferred those same funds to Air Ghislaine, Inc.’s JPMorgan account

ending in 4324. Ex. 151 at -878 (June 2007 account statement from Air Ghislaine, Inc.’s JPMorgan

account ending in 4324). Then on June 18, 2007, $7,352,825.00 was transferred to Sikorsky

Aircraft as a down payment for the purchase of a green helicopter – Sikorsky S76C. Id. According

to the Aviation Database, as of June 27, 2007, the helicopter with tail number N908GM was

registered to Air Ghislaine, Inc. Ex. 56, Amador Exhibit G (aircraft registrations).

224.   From 2003-2013, JPMorgan handled $3,132,070.88 in payments to girls or women,

including many girls or women with Eastern European names, from Epstein’s JPMorgan accounts.

Ex. 56 at 30-33 and Figure 9 (copied below).10

               Figure 9: Direct Payments to Women from the Epstein Accounts

                         Payee Name                     Total Payment Amount
                                                                       $15,000.00
                                                                        $5,000.00
                                                                       $13,656.00
                                                                        $5,000.00
                                                                        $7,026.00
                                                                        $3,000.00
                                                                       $64,599.86
                                                                        $5,000.00
                                                                        $8,468.00
                                                                        $2,400.00


10
   Figure 9 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex.152);
Financial Trust’s JPMorgan account ending in 5001 (Ex. 60); The C.O.U.Q. Foundation’s
JPMorgan account ending in 1565 (Ex. 153); Butterfly Trust’s account ending in 2810 (Ex. 64).


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                Payee Name                Total Payment Amount
                                                            $400.00
                                                            $500.00
                                                          $4,000.00
                                                         $58,000.00
                                                          $8,000.00
                                                         $30,000.00
                                                          $5,000.00
                                                         $20,000.00
                                                         $19,000.00
                                                         $36,049.30
                                                         $22,500.00
                                                       $113,500.00
                                                          $5,007.13
                                                          $1,000.00
                                                            $396.44
                                                            $500.00
                                                          $3,675.00
                                                         $12,110.00
                                                            $550.00
                                                            $200.00
                                                          $4,901.00
                                                          $3,341.68
                                                       $116,399.86
                                                            $500.00
                                                          $1,550.00
                                                            $750.00
                                                         $12,500.00
                                                          $9,000.00
                                                       $211,441.25
                                                          $5,000.00
                                                         $12,528.67
                                                       $728,741.57
                                                          $7,750.00
                                                          $5,000.00
                                                         $80,550.00


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                Payee Name                  Total Payment Amount
                                                         $115,000.00
                                                           $50,000.00
                                                            $8,073.75
                                                         $108,500.00
                                                         $767,772.64

                                                            $1,000.00
                                                            $1,495.00
                                                              $500.00
                                                            $2,700.00
                                                           $30,000.00
                                                           $15,000.00
                                                            $5,000.00
                                                            $1,100.00
                                                           $79,773.51
                                                           $10,000.00
                                                            $1,540.00
                                                           $81,000.00
                                                           $30,000.00
                                                           $21,739.73
                                                            $4,000.00
                                                            $1,320.00
                                                            $3,000.00
                                                           $27,743.00
                                                           $23,000.00
                                                            $4,200.00
                                                            $2,000.00
                                                           $10,140.00
                                                            $3,500.00
                                                            $1,650.00
                                                            $8,000.00
                                                              $300.00
                                                            $5,000.00
                                                           $38,031.49
                                                              $500.00
                   Total                                $3,132,070.88

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225.   From 2003 through 2008, JPMorgan handled $1,294,264.63 in payments from Epstein’s

JPMorgan’s accounts to girls and women (relevant transactions identified and summarized

below).11

               Date                         Payee                          Amount
             2/3/2003                                                         $500.00
             2/4/2003                                                       $2,000.00
            2/10/2003                                                       $1,000.00
            2/13/2003                                                         $200.00
            2/13/2003                                                       $2,500.00
            2/25/2003                                                         $300.00
            2/27/2003                                                       $2,500.00
            2/28/2003                                                       $1,000.00
             3/3/2003                                                       $1,000.00
             3/4/2003                                                         $500.00
            3/10/2003                                                       $2,000.00
            3/13/2003                                                       $2,000.00
            3/18/2003                                                         $500.00
            3/19/2003                                                       $7,150.00
            3/20/2003                                                       $2,600.00
            3/26/2003                                                       $2,500.00
            3/31/2003                                                       $5,000.00
             4/1/2003                                                       $2,700.00
             4/4/2003                                                       $2,000.00
             4/4/2003                                                       $1,500.00
             4/4/2003                                                       $2,758.00
            4/10/2003                                                       $2,000.00
            4/23/2003                                                      $73,400.00
            4/25/2003                                                       $2,000.00
            4/29/2003                                                       $5,000.00
            4/30/2003                                                       $2,000.00

11
  These charts contain summaries of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex. 152);
Financial Trust’s JPMorgan account ending in 5001 (Ex. 60); The C.O.U.Q. Foundation’s
JPMorgan account ending in 1565 (Ex. 153); Butterfly Trust’s account ending in 2810) (Ex. 64).


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        Date                    Payee                      Amount
      5/2/2003                                                $300.00
      5/6/2003                                              $1,500.00
     5/16/2003                                              $2,500.00
     5/16/2003                                              $5,000.00
     5/30/2003                                              $1,500.00
      6/4/2003                                              ($974.00)
     6/10/2003                                                $500.00
     6/11/2003                                              $3,000.00
     6/12/2003                                              $5,000.00
     6/12/2003                                                $170.00
     6/25/2003                                                $803.75
      7/7/2003                                              $1,500.00
     7/11/2003                                              $1,500.00
     7/16/2003                                              $1,000.00
     7/21/2003                                              $2,500.00
     7/22/2003                                             $10,000.00
     7/24/2003                                              $1,500.00
     7/25/2003                                              $1,268.00
     8/20/2003                                                $500.00
      9/2/2003                                              $1,500.00
      9/5/2003                                              $4,000.00
     9/25/2003                                              $1,000.00
    10/14/2003                                                $500.00
    10/16/2003                                                $320.00
     11/3/2003                                                $500.00
     11/4/2003                                              $1,000.00
     11/4/2003                                              $2,000.00
    11/12/2003                                                $500.00
     1/12/2004                                              $5,000.00
     1/13/2004                                                $500.00
      2/4/2004                                              $1,000.00
      2/5/2004                                              $2,000.00
     2/12/2004                                              $5,000.00
     2/12/2004                                             $20,000.00
      3/8/2004                                                $852.89
      3/8/2004                                              $1,249.10
      3/9/2004                                              $1,166.00

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       Date                     Payee                       Amount
    3/11/2004                                                   $525.00
    3/17/2004                                                   $500.00
    3/18/2004                                                   $525.00
    3/25/2004                                                   $525.00
     4/1/2004                                                   $525.00
     4/6/2004                                                   $550.00
     4/8/2004                                                 $2,000.00
     4/8/2004                                                   $525.00
     4/8/2004                                                 $2,000.00
    4/12/2004                                                   $500.00
    4/15/2004                                                   $525.00
    4/16/2004                                                 $2,851.62
    4/22/2004                                                   $500.00
    4/22/2004                                                   $525.00
    4/22/2004                                                 $1,517.82
    4/28/2004                                                 $2,000.00
    4/28/2004                                                 $3,000.00
     5/7/2004                                                 $2,025.71
    5/26/2004                                                 $4,000.00
     6/1/2004                                                $10,000.00
     6/2/2004                                                $10,000.00
     6/3/2004                                                $10,000.00
     6/7/2004                                                 $2,000.00
     6/9/2004                                                   $875.00
    6/24/2004                                                 $5,000.00
    6/30/2004                                                   $500.00
     7/1/2004                                              ($10,000.00)
    7/19/2004                                                   $600.00
     8/5/2004                                                 $2,000.00
     8/5/2004                                                 $5,000.00
     8/6/2004                                                 $2,000.00
     9/7/2004                                                 $1,000.00
     9/7/2004                                                $15,000.00
     9/7/2004                                                 $8,000.00
     9/8/2004                                                $15,000.00
    9/15/2004                                                   $107.05
    9/20/2004                                                   $462.93

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        Date                    Payee                      Amount
    10/19/2004                                             $10,000.00
    10/21/2004                                              $1,500.00
     11/5/2004                                                $750.00
    11/16/2004                                              $1,000.00
    11/22/2004                                              $2,168.29
     12/1/2004                                              $1,713.45
     12/8/2004                                              $5,000.00
      1/3/2005                                              $1,400.00
      1/4/2005                                             $25,000.00
      1/4/2005                                             $25,000.00
      1/5/2005                                             $25,000.00
     1/19/2005                                              $3,155.56
     1/24/2005                                              $1,000.00
      2/1/2005                                              $2,500.00
      2/9/2005                                              $2,000.00
     3/16/2005                                              $2,500.00
     4/12/2005                                                $778.76
     4/26/2005                                              $5,000.00
     4/26/2005                                             $10,000.00
     5/19/2005                                              $1,000.00
     6/15/2005                                              $3,000.00
     7/19/2005                                              $3,339.96
     8/10/2005                                                $200.00
     8/15/2005                                                $480.00
     8/25/2005                                             $10,000.00
     8/29/2005                                             $10,000.00
     8/30/2005                                                $400.00
     9/29/2005                                                $400.00
     10/3/2005                                                $400.00
     10/3/2005                                             $12,000.00
    10/11/2005                                              $5,000.00
    10/11/2005                                              $2,000.00
    10/11/2005                                              $5,000.00
    10/24/2005                                                $400.00
    10/24/2005                                             $10,000.00
    10/24/2005                                             $10,000.00
    10/31/2005                                              $5,000.00

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        Date                    Payee                      Amount
    11/18/2005                                                $400.00
    11/28/2005                                              $5,000.00
    11/30/2005                                              $1,739.73
    12/12/2005                                              $3,000.00
      1/4/2006                                              $5,000.00
      1/4/2006                                              $5,000.00
      1/4/2006                                             $10,000.00
      1/4/2006                                             $10,000.00
     1/24/2006                                                $400.00
     1/25/2006                                              $4,000.00
      2/3/2006                                             $11,000.00
     2/15/2006                                              $5,000.00
     2/28/2006                                                $400.00
      3/1/2006                                              $1,000.00
      3/2/2006                                              $6,786.00
      3/6/2006                                              $4,000.00
      3/8/2006                                                $500.00
     4/10/2006                                             $15,000.00
     4/28/2006                                              $7,362.50
      5/5/2006                                              $2,500.00
     5/31/2006                                              $4,000.00
      6/8/2006                                             $10,000.00
     6/28/2006                                              $4,000.00
      7/6/2006                                              $3,000.00
     7/18/2006                                              $5,000.00
     7/26/2006                                              $5,000.00
     8/25/2006                                              $4,000.00
      9/6/2006                                             $25,000.00
     9/25/2006                                              $4,000.00
     10/3/2006                                              $1,025.00
    10/12/2006                                              $1,000.00
    10/20/2006                                              $4,000.00
    12/13/2006                                              $1,000.00
    12/18/2006                                              $1,724.30
    12/21/2006                                             $24,000.00
      1/3/2007                                              $4,000.00
     1/11/2007                                              $6,000.00

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        Date                    Payee                       Amount
     3/19/2007                                              $25,000.00
     4/12/2007                                               $1,000.00
     4/30/2007                                               $1,000.00
     5/31/2007                                               $2,000.00
      6/8/2007                                              $50,000.00
     6/14/2007                                               $1,007.13
     6/21/2007                                                 $140.00
     7/18/2007                                               $5,000.00
     8/21/2007                                               $5,000.00
     9/25/2007                                             $100,000.00
    10/10/2007                                              $50,000.00
     11/6/2007                                               $5,000.00
    11/14/2007                                               $3,468.00
    11/16/2007                                               $2,500.00
    11/19/2007                                              $10,000.00
    11/26/2007                                               $5,000.00
      1/3/2008                                              $11,000.00
     1/24/2008                                               $5,000.00
     1/24/2008                                               $3,055.00
     1/24/2008                                               $3,055.00
      2/6/2008                                               $2,861.24
     2/11/2008                                               $8,000.00
     3/19/2008                                             $131,000.00
     5/20/2008                                               $2,500.00
      7/3/2008                                               $2,000.00
     7/15/2008                                               $2,500.00
      9/3/2008                                             $100,000.00
     9/19/2008                                              $14,000.00
    10/15/2008                                               $4,110.00
    10/28/2008                                                 $585.98
     11/3/2008                                                 $491.25
     11/7/2008                                               $3,535.69
    11/12/2008                                               $1,050.62
    11/12/2008                                                  $99.02
    12/1/2008                                                $3,000.00


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            Date                           Payee                          Amount
          12/1/2008                                                        $1,453.28
          12/1/2008                                                        $2,000.00
          12/2/2008                                                        $1,000.00
         12/29/2008                                                          $500.00
           Grand
                                                                        $1,294,264.63
            Total

226.   From August 2006 through 2013, JPMorgan handled $2,482,467.76 in payments to girls

or women, including many girls or women with Eastern European names, from Epstein’s

JPMorgan accounts (relevant transactions identified and summarized below).12

          Date                            Payee                         Amount
         8/25/2006                                                              $4,000.00
          9/6/2006                                                             $25,000.00
         9/25/2006                                                              $4,000.00
         10/3/2006                                                              $1,025.00
        10/12/2006                                                              $1,000.00
        10/20/2006                                                              $4,000.00
        12/13/2006                                                              $1,000.00
        12/18/2006                                                              $1,724.30
        12/21/2006                                                             $24,000.00
          1/3/2007                                                              $4,000.00
         1/11/2007                                                              $6,000.00
         3/19/2007                                                             $25,000.00
         4/12/2007                                                              $1,000.00
         4/30/2007                                                              $1,000.00
         5/31/2007                                                              $2,000.00
          6/8/2007                                                             $50,000.00
         6/14/2007                                                              $1,007.13
         6/21/2007                                                                $140.00
         7/18/2007                                                              $5,000.00
         8/21/2007                                                              $5,000.00

12
  This chart contains summaries of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex. 152);
Financial Trust’s JPMorgan account ending in 5001 (Ex. 60); The C.O.U.Q. Foundation’s
JPMorgan account ending in 1565 (Ex. 153); Butterfly Trust’s account ending in 2810 (Ex. 64).
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     Date                      Payee                       Amount
    9/25/2007                                                 $100,000.00
   10/10/2007                                                  $50,000.00
    11/6/2007                                                   $5,000.00
   11/14/2007                                                   $3,468.00
   11/16/2007                                                   $2,500.00
   11/19/2007                                                  $10,000.00
   11/26/2007                                                   $5,000.00
     1/3/2008                                                  $11,000.00
    1/24/2008                                                   $5,000.00
    1/24/2008                                                   $3,055.00
    1/24/2008                                                   $3,055.00
     2/6/2008                                                   $2,861.24
    2/11/2008                                                   $8,000.00
    3/19/2008                                                 $131,000.00
    5/20/2008                                                   $2,500.00
     7/3/2008                                                   $2,000.00
    7/15/2008                                                   $2,500.00
     9/3/2008                                                 $100,000.00
    9/19/2008                                                  $14,000.00
   10/15/2008                                                   $4,110.00
   10/28/2008                                                     $585.98
    11/3/2008                                                     $491.25
    11/7/2008                                                   $3,535.69
   11/12/2008                                                   $1,050.62
   11/12/2008                                                      $99.02
    12/1/2008                                                   $1,453.28
    12/1/2008                                                   $3,000.00
    12/1/2008                                                   $2,000.00
    12/2/2008                                                   $1,000.00
   12/29/2008                                                     $500.00
     1/8/2009                                                   $2,000.00
    1/14/2009                                                   $1,222.77
    1/14/2009                                                   $6,210.80
    1/16/2009                                                     $989.96
    1/16/2009                                                     $258.94
    1/20/2009                                                     $286.15
    1/20/2009                                                   $1,300.00

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     Date                      Payee                       Amount
    1/30/2009                                                     $532.00
     2/4/2009                                                   $4,000.00
     2/9/2009                                                     $864.75
     2/9/2009                                                     $132.00
     3/3/2009                                                     $228.91
     3/3/2009                                                     $212.61
    3/12/2009                                                   $1,000.00
    3/12/2009                                                     $275.15
    3/13/2009                                                  $12,000.00
    3/13/2009                                                   $1,073.22
    3/17/2009                                                     $317.90
    3/17/2009                                                   $4,791.43
    3/17/2009                                                   $2,804.90
    3/26/2009                                                     $620.28
    3/26/2009                                                     $400.02
     4/3/2009                                                     $867.48
     4/3/2009                                                     $899.37
     4/3/2009                                                     $291.34
    4/14/2009                                                   $5,000.00
    4/14/2009                                                  $10,000.00
    4/16/2009                                                     $695.95
    4/16/2009                                                     $500.00
    4/17/2009                                                  $14,000.00
     5/7/2009                                                     $794.30
     5/7/2009                                                     $279.62
    5/13/2009                                                   $4,000.00
    5/19/2009                                                   $2,500.00
    5/29/2009                                                   $2,500.00
     6/4/2009                                                   $6,000.00
     6/8/2009                                                   $4,427.58
     6/8/2009                                                   $2,500.00
     6/9/2009                                                   $1,253.95
     6/9/2009                                                     $378.15
    6/15/2009                                                   $1,500.00
    6/16/2009                                                   $1,679.08
    6/19/2009                                                   $5,250.00
    6/19/2009                                                   $4,000.00

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     Date                      Payee                       Amount
     7/7/2009                                                   $1,500.00
     7/7/2009                                                  $25,000.00
     7/8/2009                                                  $50,000.00
    7/16/2009                                                   $4,744.94
    7/16/2009                                                     $645.43
    7/16/2009                                                     $671.09
    7/21/2009                                                   $4,200.00
    7/30/2009                                                   $1,025.00
    8/17/2009                                                   $4,000.00
    8/24/2009                                                   $5,000.00
    8/31/2009                                                   $3,000.00
     9/8/2009                                                   $2,500.00
     9/8/2009                                                     $292.00
    9/16/2009                                                   $4,000.00
    9/17/2009                                                   $8,000.00
    9/21/2009                                                   $5,000.00
    9/23/2009                                                     $396.44
    10/1/2009                                                  $13,000.00
   11/12/2009                                                     $900.00
   11/18/2009                                                   $4,000.00
    12/4/2009                                                   $4,000.00
    12/7/2009                                                  $10,000.00
    12/8/2009                                                   $5,000.00
    12/8/2009                                                   $5,000.00
     1/4/2010                                                   $4,000.00
     1/4/2010                                                   $4,000.00
    1/15/2010                                                  $10,000.00
     2/4/2010                                                   $4,000.00
     2/8/2010                                                  $10,000.00
    2/12/2010                                                     $750.00
    2/17/2010                                                  $25,000.00
     3/4/2010                                                   $4,000.00
     3/8/2010                                                   $2,982.72
    3/16/2010                                                  $10,229.11
     4/5/2010                                                   $4,000.00
     4/7/2010                                                   $2,604.62
     4/9/2010                                                   $1,015.35

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     Date                      Payee                       Amount
    4/13/2010                                                  $10,000.00
    4/19/2010                                                  $50,000.00
     5/4/2010                                                   $4,000.00
    5/24/2010                                                   $5,000.00
    5/24/2010                                                  $20,000.00
    5/27/2010                                                   $5,000.00
     6/4/2010                                                   $4,000.00
     6/8/2010                                                   $1,579.70
    6/30/2010                                                   $7,500.00
    6/30/2010                                                  $25,000.00
     7/6/2010                                                     $512.66
    7/12/2010                                                   $5,000.00
    7/29/2010                                                  $20,000.00
    8/23/2010                                                   $4,656.00
    8/30/2010                                                  $20,000.00
    8/31/2010                                                   $2,104.17
    9/20/2010                                                     $737.38
    9/27/2010                                                   $5,000.00
    10/6/2010                                                  $25,000.00
    11/4/2010                                                   $2,840.00
   11/15/2010                                                   $1,035.82
   11/22/2010                                                     $600.00
   11/29/2010                                                   $9,000.00
   11/30/2010                                                     $500.00
    12/1/2010                                                  $10,000.00
   12/28/2010                                                   $4,000.00
    1/18/2011                                                  $10,000.00
    1/28/2011                                                   $4,000.00
     2/2/2011                                                  $10,000.00
    2/28/2011                                                  $25,000.00
    3/10/2011                                                   $6,000.00
    3/24/2011                                                  $25,000.00
    3/24/2011                                                 $300,000.00
    3/29/2011                                                   $3,000.00
     4/1/2011                                                  $30,000.00
    4/14/2011                                                  $25,000.00
    4/20/2011                                                   $5,086.41

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     Date                      Payee                       Amount
    4/29/2011                                                       $4,000.00
     6/3/2011                                                       $3,000.00
    6/27/2011                                                         $894.50
    7/22/2011                                                       $1,000.00
    8/16/2011                                                  $12,252.60
    8/31/2011                                                   $5,000.00
     9/7/2011                                                   $3,664.00
    9/12/2011                                                  $10,000.00
    9/22/2011                                                   $2,000.00
    9/27/2011                                                   $2,000.00
   10/13/2011                                                   $6,000.00
   10/18/2011                                                   $1,362.40
   10/18/2011                                                   $8,813.69
   10/31/2011                                                  $15,000.00
   11/16/2011                                                   $6,105.75
   11/22/2011                                                   $4,736.18
   12/13/2011                                                   $6,000.00
   12/13/2011                                                   $5,000.00
     1/9/2012                                                   $1,540.00
    1/23/2012                                                  $30,000.00
    2/14/2012                                                  $10,000.00
    3/12/2012                                                   $7,000.00
    3/16/2012                                                   $3,294.43
    3/29/2012                                                  $10,840.08
     4/3/2012                                                   $7,000.00
    4/10/2012                                                  $10,000.00
    5/25/2012                                                   $1,550.00
    6/20/2012                                                  $20,000.00
     7/3/2012                                                  $50,000.00
     7/9/2012                                                  $12,528.67
    7/30/2012                                                     $392.94
    8/21/2012                                                   $2,000.00
    8/21/2012                                                   $3,000.00
    9/12/2012                                                     $496.51
    9/13/2012                                                  $10,000.00
    9/21/2012                                                     $520.00

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     Date                      Payee                       Amount
    9/28/2012                                                     $218.98
    10/2/2012                                                     $286.10
    10/4/2012                                                   $9,800.00
    10/5/2012                                                   $1,000.00
    10/9/2012                                                   $1,894.43
   10/10/2012                                                  $10,000.00
   10/11/2012                                                  $10,000.00
   10/15/2012                                                   $4,034.94
   10/16/2012                                                   $2,124.68
   10/19/2012                                                   $2,537.00
   10/25/2012                                                   $1,750.67
   11/16/2012                                                     $400.00
   11/16/2012                                                     $400.00
   11/27/2012                                                     $682.81
    12/6/2012                                                     $228.87
    12/7/2012                                                     $139.16
   12/20/2012                                                     $305.40
    1/14/2013                                                  $10,000.00
    1/16/2013                                                     $529.96
    1/17/2013                                                  $10,000.00
    1/24/2013                                                   $2,766.11
     2/8/2013                                                   $1,000.00
    2/19/2013                                                     $500.00
    2/22/2013                                                     $500.00
    3/13/2013                                                  $14,000.00
    3/14/2013                                                   $1,278.91
    3/15/2013                                                   $2,308.48
    3/28/2013                                                   $1,350.00
    3/28/2013                                                  $10,000.00
     4/3/2013                                                   $4,989.32
     4/4/2013                                                   $4,864.66
     4/8/2013                                                  $10,000.00
     4/8/2013                                                 $100,000.00
    4/29/2013                                                   $2,773.91
     5/2/2013                                                 $100,000.00
    5/15/2013                                                  $14,073.00
    5/24/2013                                                     $415.66

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     Date                      Payee                       Amount
    5/24/2013                                                   $6,659.47
    5/28/2013                                                   $4,000.00
    5/28/2013                                                  $10,000.00
     6/7/2013                                                   $1,000.00
    6/28/2013                                                   $2,000.00
     7/3/2013                                                  $10,115.27
     7/8/2013                                                     $634.20
    7/24/2013                                                  $12,000.00
    7/24/2013                                                  $12,000.00
    7/24/2013                                                  $12,000.00
    7/24/2013                                                  $12,000.00
    7/24/2013                                                  $12,000.00
    7/29/2013                                                   $2,550.00
    7/30/2013                                                   $5,000.00
    8/21/2013                                                  $15,000.00
    8/23/2013                                                   $1,670.00
    8/26/2013                                                   $2,000.00
    8/30/2013                                                     $520.00
     9/3/2013                                                  $15,000.00
    9/24/2013                                                     $586.25
    9/27/2013                                                   $2,000.00
    10/3/2013                                                   $7,143.81
    10/8/2013                                                     $440.00
   10/10/2013                                                   $1,495.00
   10/15/2013                                                  $20,000.00
   10/15/2013                                                     $900.00
   10/17/2013                                                  $13,500.00
  Grand
                                                             $2,482,467.76
  Total




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227.   From 2009-2013, JPMorgan handled $1,837,806.25 in payments to girls or women,

including many girls or women with Eastern European names, from Epstein’s JPMorgan accounts

(relevant transactions identified and summarized below).13


            Date                            Payee                          Amount
          1/8/2009                                                          $2,000.00
         1/14/2009                                                          $1,222.77
         1/14/2009                                                          $6,210.80
         1/16/2009                                                            $989.96
         1/16/2009                                                            $258.94
         1/20/2009                                                            $286.15
         1/20/2009                                                          $1,300.00
         1/30/2009                                                            $532.00
          2/4/2009                                                          $4,000.00
          2/9/2009                                                            $864.75
          2/9/2009                                                            $132.00
          3/3/2009                                                            $228.91
          3/3/2009                                                            $212.61
         3/12/2009                                                          $1,000.00
         3/12/2009                                                            $275.15
         3/13/2009                                                         $12,000.00
         3/13/2009                                                          $1,073.22
         3/17/2009                                                            $317.90
         3/17/2009                                                          $4,791.43
         3/17/2009                                                          $2,804.90
         3/26/2009                                                            $620.28
         3/26/2009                                                            $400.02
          4/3/2009                                                            $867.48
          4/3/2009                                                            $899.37
          4/3/2009                                                            $291.34
         4/14/2009                                                          $5,000.00
         4/14/2009                                                         $10,000.00


13
  This chart contains summaries of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex. 152);
Financial Trust’s JPMorgan account ending in 5001 (Ex. 60); The C.O.U.Q. Foundation’s
JPMorgan account ending in 1565 (Ex. 153); Butterfly Trust’s account ending in 2810 (Ex. 64).
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       Date                     Payee                      Amount
    4/16/2009                                                 $695.95
    4/16/2009                                                 $500.00
    4/17/2009                                              $14,000.00
     5/7/2009                                                 $794.30
     5/7/2009                                                 $279.62
    5/13/2009                                               $4,000.00
    5/19/2009                                               $2,500.00
    5/29/2009                                               $2,500.00
     6/4/2009                                               $6,000.00
     6/8/2009                                               $2,500.00
     6/8/2009                                               $4,427.58
     6/9/2009                                               $1,253.95
     6/9/2009                                                 $378.15
    6/15/2009                                               $1,500.00
    6/16/2009                                               $1,679.08
    6/19/2009                                               $4,000.00
    6/19/2009                                               $5,250.00
     7/7/2009                                               $1,500.00
     7/7/2009                                              $25,000.00
     7/8/2009                                              $50,000.00
    7/16/2009                                               $4,744.94
    7/16/2009                                                 $645.43
    7/16/2009                                                 $671.09
    7/21/2009                                               $4,200.00
    7/30/2009                                               $1,025.00
    8/17/2009                                               $4,000.00
    8/24/2009                                               $5,000.00
    8/31/2009                                               $3,000.00
     9/8/2009                                               $2,500.00
     9/8/2009                                                 $292.00
    9/16/2009                                               $4,000.00
    9/17/2009                                               $8,000.00
    9/21/2009                                               $5,000.00
    9/23/2009                                                 $396.44
    10/1/2009                                              $13,000.00


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        Date                    Payee                      Amount
    11/12/2009                                                $900.00
    11/18/2009                                              $4,000.00
     12/4/2009                                              $4,000.00
     12/7/2009                                             $10,000.00
     12/8/2009                                              $5,000.00
     12/8/2009                                              $5,000.00
      1/4/2010                                              $4,000.00
      1/4/2010                                              $4,000.00
     1/15/2010                                             $10,000.00
      2/4/2010                                              $4,000.00
      2/8/2010                                             $10,000.00
     2/12/2010                                                $750.00
     2/17/2010                                             $25,000.00
      3/4/2010                                              $4,000.00
      3/8/2010                                              $2,982.72
     3/16/2010                                             $10,229.11
      4/5/2010                                              $4,000.00
      4/7/2010                                              $2,604.62
      4/9/2010                                              $1,015.35
     4/13/2010                                             $10,000.00
     4/19/2010                                             $50,000.00
      5/4/2010                                              $4,000.00
     5/24/2010                                              $5,000.00
     5/24/2010                                             $20,000.00
     5/27/2010                                              $5,000.00
      6/4/2010                                              $4,000.00
      6/8/2010                                              $1,579.70
     6/30/2010                                              $7,500.00
     6/30/2010                                             $25,000.00
      7/6/2010                                                $512.66
     7/12/2010                                              $5,000.00
     7/29/2010                                             $20,000.00
     8/23/2010                                              $4,656.00
     8/30/2010                                             $20,000.00
     8/31/2010                                              $2,104.17
     9/20/2010                                                $737.38
     9/27/2010                                              $5,000.00

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        Date                    Payee                       Amount
     10/6/2010                                              $25,000.00
     11/4/2010                                               $2,840.00
    11/15/2010                                               $1,035.82
    11/22/2010                                                 $600.00
    11/29/2010                                               $9,000.00
    11/30/2010                                                 $500.00
     12/1/2010                                              $10,000.00
    12/28/2010                                               $4,000.00
     1/18/2011                                              $10,000.00
     1/28/2011                                               $4,000.00
      2/2/2011                                              $10,000.00
     2/28/2011                                              $25,000.00
     3/10/2011                                               $6,000.00
     3/24/2011                                              $25,000.00
     3/24/2011                                             $300,000.00
     3/29/2011                                               $3,000.00
      4/1/2011                                              $30,000.00
     4/14/2011                                              $25,000.00
     4/20/2011                                               $5,086.41
     4/29/2011                                               $4,000.00
      6/3/2011                                               $3,000.00
     6/27/2011                                                 $894.50
    7/22/2011                                                $1,000.00
     8/16/2011                                              $12,252.60
     8/31/2011                                               $5,000.00
      9/7/2011                                               $3,664.00
     9/12/2011                                              $10,000.00
     9/22/2011                                               $2,000.00
     9/27/2011                                               $2,000.00
    10/13/2011                                               $6,000.00
    10/18/2011                                               $1,362.40
    10/18/2011                                               $8,813.69
    10/31/2011                                              $15,000.00
    11/16/2011                                               $6,105.75
    11/22/2011                                               $4,736.18
    12/13/2011                                               $6,000.00

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        Date                    Payee                      Amount
    12/13/2011                                              $5,000.00
      1/9/2012                                              $1,540.00
     1/23/2012                                             $30,000.00
     2/14/2012                                             $10,000.00
     3/12/2012                                              $7,000.00
     3/16/2012                                              $3,294.43
     3/29/2012                                             $10,840.08
      4/3/2012                                              $7,000.00
     4/10/2012                                             $10,000.00
     5/25/2012                                              $1,550.00
     6/20/2012                                             $20,000.00
      7/3/2012                                             $50,000.00
      7/9/2012                                             $12,528.67
     7/30/2012                                                $392.94
     8/21/2012                                              $2,000.00
     8/21/2012                                              $3,000.00
     9/12/2012                                                $496.51
     9/13/2012                                             $10,000.00
     9/21/2012                                                $520.00
     9/28/2012                                                $218.98
     10/2/2012                                                $286.10
     10/4/2012                                              $9,800.00
     10/5/2012                                              $1,000.00
     10/9/2012                                              $1,894.43
    10/10/2012                                             $10,000.00
    10/11/2012                                             $10,000.00
    10/15/2012                                              $4,034.94
    10/16/2012                                              $2,124.68
    10/19/2012                                              $2,537.00
    10/25/2012                                              $1,750.67
    11/16/2012                                                $400.00
    11/16/2012                                                $400.00
    11/27/2012                                                $682.81
     12/6/2012                                                $228.87
     12/7/2012                                                $139.16
    12/20/2012                                                $305.40
     1/14/2013                                             $10,000.00

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       Date                     Payee                       Amount
    1/16/2013                                                  $529.96
    1/17/2013                                               $10,000.00
    1/24/2013                                                $2,766.11
     2/8/2013                                                $1,000.00
    2/19/2013                                                  $500.00
    2/22/2013                                                  $500.00
    3/13/2013                                               $14,000.00
    3/14/2013                                                $1,278.91
    3/15/2013                                                $2,308.48
    3/28/2013                                                $1,350.00
    3/28/2013                                               $10,000.00
     4/3/2013                                                $4,989.32
     4/4/2013                                                $4,864.66
     4/8/2013                                               $10,000.00
     4/8/2013                                              $100,000.00
    4/29/2013                                                $2,773.91
     5/2/2013                                              $100,000.00
    5/15/2013                                               $14,073.00
    5/24/2013                                                  $415.66
    5/24/2013                                                $6,659.47
    5/28/2013                                                $4,000.00
    5/28/2013                                               $10,000.00
     6/7/2013                                                $1,000.00
    6/28/2013                                                $2,000.00
     7/3/2013                                               $10,115.27
     7/8/2013                                                  $634.20
    7/24/2013                                               $12,000.00
    7/24/2013                                               $12,000.00
    7/24/2013                                               $12,000.00
    7/24/2013                                               $12,000.00
    7/24/2013                                               $12,000.00
    7/29/2013                                                $2,550.00
    7/30/2013                                                $5,000.00
    8/21/2013                                               $15,000.00
    8/23/2013                                                $1,670.00
    8/26/2013                                                $2,000.00
    8/30/2013                                                  $520.00

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             Date                          Payee                           Amount
           9/3/2013                                                        $15,000.00
          9/24/2013                                                           $586.25
          9/27/2013                                                         $2,000.00
          10/3/2013                                                         $7,143.81
          10/8/2013                                                           $440.00
         10/10/2013                                                         $1,495.00
         10/15/2013                                                        $20,000.00
         10/15/2013                                                           $900.00
         10/17/2013                                                        $13,500.00
            Grand
                                                                        $1,837,806.25
             Total


228.   From August 2013 through December 2013, JPMorgan handled thirteen payments totaling

$80,255.06 from Epstein’s JPMorgan accounts to girls or women—many with Eastern European

names (relevant transactions identified and summarized below).14

                  Date                       Payee                     Amount
               8/26/2013                                               $2,000.00
               9/27/2013                                               $2,000.00
              10/15/2013                                              $20,000.00
              10/17/2013                                              $13,500.00
               9/24/2013                                                 $586.25
              10/15/2013                                                 $900.00
               10/3/2013                                               $7,143.81
               8/21/2013                                              $15,000.00
              10/10/2013                                               $1,495.00
                9/3/2013                                              $15,000.00
               8/30/2013                                                 $520.00
               10/8/2013                                                 $440.00
               8/23/2013                                               $1,670.00
             Grand Total                                              $80,255.06


14
  This chart contains summaries of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex. 152);
Financial Trust’s JPMorgan account ending in 5001 (Ex. 60); The C.O.U.Q. Foundation’s
JPMorgan account ending in 1565 (Ex. 153); Butterfly Trust’s account ending in 2810 (Ex. 64).
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229.     From 2013 through 2019, JPMorgan handled $1,116,375.82 in payments from Epstein’s

non-JPMorgan accounts to girls or women who JPMorgan banked (relevant transactions identified

and summarized below).15

                Payee           2013        2014          2015          2016         2017          2018        2019        Grand Total
                                                                                                  $2,118.94                   $2,118.94
                                                                                                  $2,500.00   $10,000.00     $12,500.00
                                                                                                               $8,500.00      $8,500.00
                                                                                    $16,000.00   $10,000.00    $5,500.00     $31,500.00
                                                                                    $66,100.00   $75,924.42   $50,219.43    $192,243.85
                                                          $5,000.00                                                           $5,000.00
                                                                                    $28,000.00                               $28,000.00
                                                                        $1,557.71                                             $1,557.71
                                           $17,000.00    $10,300.00    $12,925.00                                            $40,225.00
                                           $25,000.00    $50,000.00   $350,000.00   $28,000.00   $28,000.00                 $481,000.00
                                           $64,000.00   $137,625.44                                                         $201,625.44


                                           $10,000.00                                                                        $10,000.00
                                $900.00    $24,450.00    $15,000.00                                                          $40,350.00


                                            $1,000.00                                                                          $1,000.00
                               $1,080.00   $29,305.13    $25,610.00     $1,400.00    $3,359.75                                $60,754.88
     GRAND TOTAL                                                                                                           $1,116,375.82


230.     JPMorgan sent several of the payments by foreign wire to girls or women—including

                                                                                                                              —located

in Belarus, Lithuania, and Russia. Ex. 56 at 37-38 and Figure 10 (copied below).16

                   Figure 10: Foreign Wire Transactions from the Epstein Accounts

      Date          Beneficiary Bank                    Location                         Beneficiary                        Amount
 12/1/2008         Alfa Bank                   Moscow, Russia                                                               $3,000.00
 12/1/2008         VTB Bank                    Moscow, Russia                                                               $2,000.00
                   SEB Vilniaus
     1/8/2009                                  Lithuania                                                                    $2,000.00
                   Bankas
     9/8/2009      VTB Bank                    Moscow, Russia                                                                  $292.00
                   ZAO
 11/4/2010                                     Moscow, Russia                                                               $2,840.00
                   Raiffeisenbank
                   ZAO
 8/21/2012                                     Moscow, Russia                                                               $2,000.00
                   Raiffeisenbank
 1/14/2013         Joint Stok Company          Minsky, Belarus                                                             $10,000.00

15
   These charts identify and summarize relevant transactions from JPM-SDNYLIT-00921097 (Ex.
149).
16
   Figure 10 is a summary of wire instructions from Epstein’s JPMorgan accounts (Ex. 154).
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10/15/2013 Joint Stok Company Minsky, Belarus                                        $20,000.00

231.   From 2004-2013, JPMorgan handled $211,411.25 in payments to                            from

Epstein’s JPMorgan accounts. Ex. 56, Amador Exhibit F (chart showing breakdown of each direct

payment Epstein made to girls or women from his JPMorgan accounts).

232.   JPMorgan also handled $158,958.34 in indirect payments from Epstein’s JPMorgan

accounts for the benefit of girls or women. Ex. 56 at 38-40 and Figure 11 (copied below).17

       Figure 11: Indirect Payments for the benefit Women from the Epstein Accounts

                               Beneficiary/Payee                Amount


                      Steven D. Kaplan, DMD                      $1,260.00
                                     Total                       $1,260.00




                        Spanish American Institute                 $840.00
                                         Total                     $840.00




                     International Center of Photography         $1,290.00
                                                  Total          $1,290.00




                        Castle Worldwide Inc.                      $250.00
                      Pacific College of Oriental
                     Medicine                                   $21,245.86

17
  Figure 11 is a summary of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex. 152);
and Enhanced Education’s (owned by Epstein) JPMorgan account ending in 4810 (Ex. 155).
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                         Beneficiary/Payee             Amount
                Steven D. Kaplan, DMD                   $5,700.00
                                Total                  $27,195.86




                Laguardia College                       $2,425.85
                The World’s Community College           $4,135.85
                                        Total           $6,561.70




                New York Film Academy                   $6,040.00
                Steven R. Erle, MD, PC                   $450.00
                                        Total           $6,490.00




                Bloomingdales                            $532.77
                Express                                  $380.87
                I C Systems                              $329.00
                Target                                   $352.10
                Victoria’s Secret                        $211.04
                                    Total               $1,805.78




              Alan Barnett DLP, LLC                    $10,400.00
                The International Culinary Center L    $42,000.00
                                    Total              $52,400.00




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                       Beneficiary/Payee                Amount


                Samuel C. Klagsbrun M.D.                 $2,000.00
                                              Total      $2,000.00




              ATP USA, Inc.                             $26,000.00
                                   Total                $26,000.00




              New York Film Academy                      $3,500.00
                                      Total              $3,500.00




                Alliance Nursing                         $2,275.00
                Dr. David Price                           $412.00
                Dr. Gerald Imber                        $20,000.00
                Dr. Jane Recant                          $2,000.00
              Office Based Surgery Care                  $1,500.00
                              Total                     $26,187.00




                Fashion Institute of Technology          $2,020.00
                              Total                      $2,020.00




                ALCC American Language                   $1,408.00


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                               Beneficiary/Payee               Amount
                                                               $1,408.00


                                                              $158,958.3
                       Grand Total                                     4


233.     JPMorgan also handled $5,600 in legal fees from Epstein’s JPMorgan accounts for the

benefit of three women—                                                       . Ex. 56 at 40-41

and Figure 12 (copied below).18

              Figure 12: Legal Fees Payments for Women from the Epstein Accounts

       Date      Check #               Payee                Amount           Memo line:
     1/30/2009      2691 Vincent A. Fuller, Jr., Esq.        $4,500.00
     1/11/2012      3359 M. Arda Beskardes, Esq.               $600.00


     8/21/2012      3412 M. Arda Beskardes, Esq.               $500.00
      Total                                                  $5,600.00


         Smaller Dollar and “Gift” Payments to Girls or Women and $100,000 Payments

234.

                                                                     Ex. 156 (2012 Jeffrey E.

Epstein Gift Tax Return).19
                                                               20




18
   Figure 12 is a summary of information from account statements for Epstein’s JPMorgan account
ending in 0663 (Ex. 152).
19
   Epstein’s 2012 Gift Tax Return is the only gift tax return the USVI was able to locate.
20
   Figures 14 and 14.1 are summaries of information from Epstein’s 2012 Gift Tax Return (Ex.
156).
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            Figure 14:                    Identified in Epstein’s Gift Tax Return

                         Description Description
Date       Name          1           2           Acct#         Type         Amount



       6




                                         81
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                     Description Description
Date      Name       1           2           Acct#      Type         Amount




                                     82
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                     Description Description
Date      Name       1           2           Acct#      Type         Amount




                                     83
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        Figure 14.1:                       Identified in Epstein’s Gift Tax Return By Recipient

                               Recipient                 Amount
                        J




235.   From October 2003 through August 2013, JPMorgan handled 77 payments of $100,000

from Epstein’s JPMorgan accounts (relevant transactions identified and summarized in the chart

below).21

          Date              Amount                      Payee
         10/16/2003         $100,000.00 PAUL HASTINGS JANOFSKY &
                                        BLACK SREBNICK KORNAPAN & STUMPF
         10/11/2005         $100,000.00 PA
                                        BLACK SREBNICK KORNAPAN & STUMPF
            11/4/2005       $100,000.00 PA
                                        BLACK SREBNICK KORNAPAN & STUMPF
         11/30/2005         $100,000.00 PA
          4/28/2006         $100,000.00 GERALD B LEFCOURT PC-IOLA ACCT
           8/1/2006         $100,000.00 GERALD B LEFCOURT PC-IOLA ACCT

21
   These charts contain summaries of information from the following documents: account
statements from Epstein’s JPMorgan account ending in 0438 (Ex. 57); account statements from
Epstein’s JPMorgan account ending in 0663 (Ex. 152); JPMorgan’s internal documents (Ex. 63).


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     Date        Amount                            Payee
                               BLACK SREBNICK KORNAPAN & STUMPF
     8/11/2006   $100,000.00   PA
     8/17/2006   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     10/5/2006   $100,000.00   LEWIS TEIN PL
                               BLACK SREBNICK KORNAPAN & STUMPF
    10/19/2006   $100,000.00   PA
     11/1/2006   $100,000.00   LEWIS TEIN PL
                               BLACK SREBNICK KORNAPAN & STUMPF
     1/31/2007   $100,000.00   PA
      2/1/2007   $100,000.00   Check (unknown recipient)
      2/6/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     5/25/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     6/13/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     6/27/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
                               BLACK SREBNICK KORNAPAN & STUMPF
      7/3/2007   $100,000.00   PA
     7/16/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     7/30/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
      8/3/2007   $100,000.00   FOWLER WHITE BURNETT PA
     8/13/2007   $100,000.00   MARTIN G WEINBERG P C (IOLTA)
     8/22/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     8/28/2007   $100,000.00   FOWLER WHITE BURNETT PA
     8/29/2007   $100,000.00   Check (unknown recipient)
     9/10/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     9/17/2007   $100,000.00   MARTIN G WEINBERG P C (IOLTA)
     9/25/2007   $100,000.00
    10/11/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
    10/12/2007   $100,000.00   ALAN M. DERSHOWITZ
    10/17/2007   $100,000.00   MARTIN G WEINBERG P C (IOLTA)
    10/25/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
                               BLACK SREBNICK KORNAPAN & STUMPF
    11/20/2007   $100,000.00   PA
    11/20/2007   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
    11/30/2007   $100,000.00   MARTIN G WEINBERG P C (IOLTA)
    12/31/2007   $100,000.00   FOWLER WHITE BURNETT PA
     1/11/2008   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     2/20/2008   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     3/14/2008   $100,000.00   MARTIN G WEINBERG P C (IOLTA)

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     Date        Amount                       Payee
                               BLACK SREBNICK KORNAPAN & STUMPF
     3/18/2008   $100,000.00   PA
     3/18/2008   $100,000.00   LEWIS TEIN PL
      4/4/2008   $100,000.00   LEWIS TEIN PL
      4/9/2008   $100,000.00   GERALD B LEFCOURT PC-IOLA ACCT
     4/16/2008   $100,000.00   LEWIS TEIN PL
      5/7/2008   $100,000.00   FOWLER WHITE BURNETT PA
     5/30/2008   $100,000.00   LEWIS TEIN PL
     6/27/2008   $100,000.00   KIRKLAND AND ELLIS LLP
     7/16/2008   $100,000.00   LEWIS TEIN PL
     7/31/2008   $100,000.00   LEWIS TEIN PL
      9/3/2008   $100,000.00
                               BLACK SREBNICK KORNAPAN & STUMPF
     9/12/2008   $100,000.00   PA
    11/26/2008   $100,000.00   KIRKLAND AND ELLIS LLP
                               BURMAN CRITTON LUTTIER&COLEMAN
     1/20/2009   $100,000.00   LLP
      2/3/2009   $100,000.00   PODHURST ORSECK P.A.
     2/24/2009   $100,000.00   DARREN K INDYKE PLLC
                               BURMAN CRITTON LUTTIER&COLEMAN
     3/10/2009   $100,000.00   LLP
     4/13/2009   $100,000.00   ATTERBURY GOLDBERGER
                               BURMAN CRITTON LUTTIER&COLEMAN
     5/14/2009   $100,000.00   LLP
                               BURMAN CRITTON LUTTIER&COLEMAN
     8/24/2009   $100,000.00   LLP
     10/6/2009   $100,000.00   ALAN M. DERSHOWITZ
                               BURMAN CRITTON LUTTIER&COLEMAN
      6/3/2010   $100,000.00   LLP
     10/6/2010   $100,000.00   FOWLER WHITE BURNETT PA
    12/31/2010   $100,000.00   FOWLER WHITE BURNETT PA
     1/28/2011   $100,000.00   KIRKLAND AND ELLIS LLP
                               BLACK SREBNICK KORNAPAN & STUMPF
     4/28/2011   $100,000.00   PA
                               BLACK SREBNICK KORNAPAN & STUMPF
     6/16/2011   $100,000.00   PA
                               BLACK SREBNICK KORNAPAN & STUMPF
     8/22/2011   $100,000.00   PA
     9/15/2011   $100,000.00   FOWLER WHITE BURNETT PA

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          Date              Amount                       Payee
                                          BLACK SREBNICK KORNAPAN & STUMPF
         10/13/2011        $100,000.00    PA
          11/4/2011        $100,000.00    STEPTOE AND JOHNSON LLP
                                          BLACK SREBNICK KORNAPAN & STUMPF
          2/10/2012         $100,000.00   PA
          7/16/2012         $100,000.00   STEPTOE AND JOHNSON LLP
         12/12/2012         $100,000.00   KIRKLAND AND ELLIS LLP
          3/22/2013         $100,000.00   FRED HADDAD P.A.
           4/8/2013         $100,000.00
           5/2/2013         $100,000.00
          8/16/2013         $100,000.00
       Grand Total        $7,700,000.00

236.    From 2003 to 2013, JPMorgan handled fifty-nine round dollar payments ranging from

$200 to $1,000 and twenty-one payments of $1,000 from Epstein’s JPMorgan accounts to girls or

women, including: (1) from February 2003 through July 2006, forty round dollar payments ranging

from $200 to $1,000 and twelve $1,000 payments; and (2) from October 2006 through October

2013, nineteen round dollar payments ranging from $200 to $1,000 and nine $1,000 payments

(relevant transactions identified and summarized in the chart below).22

                   Date                        Payee                       Amount
                  2/3/2003                                                  $500.00
                 2/10/2003                                                $1,000.00
                 2/13/2003                                                  $200.00
                 2/25/2003                                                  $300.00
                 2/28/2003                                                $1,000.00
                  3/3/2003                                                $1,000.00
                  3/4/2003                                                  $500.00
                 3/18/2003                                                  $500.00
                  5/2/2003                                                  $300.00
                 6/10/2003                                                  $500.00
                 7/16/2003                                                $1,000.00
                 8/20/2003                                                  $500.00

22
  These charts contain summaries of information contained in account statements from Epstein’s
JPMorgan account ending in 0438 (Ex. 57).
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            Date                 Payee                 Amount
          9/25/2003                                   $1,000.00
         10/14/2003                                     $500.00
          11/3/2003                                     $500.00
          11/4/2003                                   $1,000.00
         11/12/2003                                     $500.00
          1/13/2004                                     $500.00
           2/4/2004                                   $1,000.00
          3/17/2004                                     $500.00
           4/6/2004                                     $550.00
          4/12/2004                                     $500.00
          4/22/2004                                     $500.00
          6/30/2004                                     $500.00
          7/19/2004                                     $600.00
           9/7/2004                                   $1,000.00
          11/5/2004                                     $750.00
         11/16/2004                                   $1,000.00
          1/24/2005                                   $1,000.00
          5/19/2005                                   $1,000.00
          8/10/2005                                     $200.00
          8/30/2005                                     $400.00
          9/29/2005                                     $400.00
          10/3/2005                                     $400.00
         10/24/2005                                     $400.00
         11/18/2005                                     $400.00
          1/24/2006                                     $400.00
          2/28/2006                                     $400.00
           3/1/2006                                   $1,000.00
           3/8/2006                                     $500.00
         10/12/2006                                   $1,000.00
         12/13/2006                                   $1,000.00
          4/12/2007                                   $1,000.00
          4/30/2007                                   $1,000.00
          3/12/2009                                   $1,000.00
          4/16/2009                                     $500.00
         11/12/2009                                     $900.00
          2/12/2010                                     $750.00
         11/22/2010                                     $600.00
         11/30/2010                                     $500.00


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                    Date                          Payee                 Amount

                 7/22/2011                                             $1,000.00
                 10/5/2012                                             $1,000.00
                11/16/2012                                               $400.00
                11/16/2012                                               $400.00
                  2/8/2013                                             $1,000.00
                 2/19/2013                                               $500.00
                 2/22/2013                                               $500.00
                  6/7/2013                                             $1,000.00
                10/15/2013                                               $900.00

237.   From October 2007 through June 2008, JPMorgan handled eight payments of $25,000 from

Epstein’s accounts to Rubenstein Associates Inc. (relevant transactions identified and summarized

in the chart below).23

            Transaction Date         Amount                  Payee
                                                   RUBENSTEIN ASSOCIATES
                    10/15/2007       $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                    10/23/2007       $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                    11/30/2007       $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                    12/21/2007       $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                     1/23/2008       $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                     3/27/2008       $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                         6/5/2008    $25,000.00
                                                   INC.
                                                   RUBENSTEIN ASSOCIATES
                     6/27/2008       $25,000.00
                                                   INC.
               Grand Total          $200,000.00




23
  These charts contain summaries of information from the account statements of Epstein’s
JPMorgan account ending in 0438 (Ex. 57).
                                                  89
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238.    From September 2006 through December 2006, JPMorgan handled $883,750.00 in

payments from Epstein’s accounts to Alan Dershowitz, Roy Black, Gerald Lefcourt, and Jack

Goldberger (relevant transactions identified and summarized in the chart below).24

          Date                      Payee                                      Amount
       10/27/2006    ALAN M. DERSHOWITZ                                         $258,750.00
        11/9/2006    ATTERBURY GOLDBERGER                                        $50,000.00
                     BLACK SREBNICK KORNAPAN & STUMPF
       9/11/2006     PA                                                              $50,000.00
                     BLACK SREBNICK KORNAPAN & STUMPF
      10/19/2006     PA                                                          $100,000.00
       9/28/2006     GERALD B LEFCOURT PC-IOLA ACCT                              $200,000.00
      11/30/2006     GERALD B LEFCOURT PC-IOLA ACCT                              $225,000.00
     Grand Total                                                                 $883,750.00

239.    From January 2007 through September 2007, JPMorgan handled $3,386,884.26 in

payments from Epstein’s accounts to Alan Dershowitz, Roy Black, Gerald Lefcourt, Jack

Goldberger, and Kirkland & Ellis (Jay Lefkowitz) (relevant transactions identified and

summarized in the chart below).25

            Date                     Payee                                    Amount
          1/2/2007    ALAN M. DERSHOWITZ                                     $178,000.00
          2/7/2007    ALAN M. DERSHOWITZ                                      $78,292.50
          4/3/2007    ALAN M. DERSHOWITZ                                     $137,458.00
          5/9/2007    ALAN M. DERSHOWITZ                                      $75,000.00
          6/6/2007    ALAN M. DERSHOWITZ                                      $99,512.50
          7/9/2007    ALAN M. DERSHOWITZ                                     $169,887.50
          8/8/2007    ALAN M. DERSHOWITZ                                     $136,850.00
          9/4/2007    ALAN M. DERSHOWITZ                                     $139,720.00
          2/7/2007    ATTERBURY GOLDBERGER                                    $15,000.00

24
   This chart contains summaries of information from Epstein’s JPMorgan account ending in 0438
(Ex. 57).
25
   This chart contains summaries of information from Epstein’s JPMorgan account ending in 0438
(Ex. 57). The Government’s calculation of legal fees to these lawyers matches the same calculation
in JPMorgan’s own summaries (Ex. 63).



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      Date                    Payee                         Amount
    3/5/2007   ATTERBURY GOLDBERGER                         $25,000.00
    5/3/2007   ATTERBURY GOLDBERGER                         $20,000.00
   7/16/2007   ATTERBURY GOLDBERGER                         $25,000.00
   9/10/2007   ATTERBURY GOLDBERGER                         $25,000.00
   9/17/2007   ATTERBURY GOLDBERGER                         $25,000.00
   9/26/2007   ATTERBURY GOLDBERGER                         $42,500.00
               BLACK SREBNICK KORNAPAN & STUMPF
   1/31/2007   PA                                          $100,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
    3/8/2007   PA                                           $50,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
    4/5/2007   PA                                           $50,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
   4/13/2007   PA                                           $50,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
    5/3/2007   PA                                           $25,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
    5/9/2007   PA                                           $75,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
    7/3/2007   PA                                          $100,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
   8/15/2007   PA                                          $200,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
   9/10/2007   PA                                           $50,000.00
               BLACK SREBNICK KORNAPAN & STUMPF
   9/17/2007   PA                                          $150,000.00
   1/17/2007   GERALD B LEFCOURT PC-IOLA ACCT              $150,000.00
    2/6/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
    3/5/2007   GERALD B LEFCOURT PC-IOLA ACCT               $50,000.00
    4/5/2007   GERALD B LEFCOURT PC-IOLA ACCT               $50,000.00
   4/18/2007   GERALD B LEFCOURT PC-IOLA ACCT               $50,000.00
    5/3/2007   GERALD B LEFCOURT PC-IOLA ACCT               $50,000.00
    5/9/2007   GERALD B LEFCOURT PC-IOLA ACCT               $75,000.00
   5/25/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
   6/13/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
   6/27/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
   7/16/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
   7/30/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
   8/22/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00
   9/10/2007   GERALD B LEFCOURT PC-IOLA ACCT              $100,000.00

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           Date                     Payee                                   Amount
         6/6/2007    KIRKLAND AND ELLIS LLP                                 $50,000.00
        8/27/2007    KIRKLAND AND ELLIS LLP                                 $11,928.50
        9/10/2007    KIRKLAND AND ELLIS LLP                                 $57,735.26
          Grand
           Total                                                         $3,386,884.26

240.   From 2006 through 2013, JPMorgan handled $50,909,656.04 in payments from Epstein’s

JPMorgan accounts to various law firms, including $9,505,547.91 in payments from January 2006

through September 24, 2007; $5,597,358.02 in payments from September 25, 2007 through June

30, 2008; and $35,806,750.11 from July 1, 2008 through December 2013 (relevant transactions

identified and summarized in the chart below).26

          Date                            Payee                                  Amount
                            BLACK SREBNICK KORNAPAN &
        1/5/2006            STUMPF PA                                               $250,000.00
       1/11/2006            LAW OFFICE OF MICHAEL SALNICK                            $15,000.00
       1/18/2006            LAW OFFICE OF GUY FRONSTIN                               $10,000.00
                            BLACK SREBNICK KORNAPAN &
        2/6/2006            STUMPF PA                                               $200,000.00
        4/4/2006            DARREN K INDYKE                                          $46,500.00
                            BLACK SREBNICK KORNAPAN &
       4/10/2006            STUMPF PA                                               $250,000.00
       4/24/2006            GERALD B LEFCOURT PC-IOLA ACCT                          $150,000.00
       4/28/2006            GERALD B LEFCOURT PC-IOLA ACCT                          $100,000.00
        5/9/2006            DARREN K INDYKE                                         $450,000.00
       5/23/2006            GERALD B LEFCOURT PC-IOLA ACCT                           $75,000.00
                            BLACK SREBNICK KORNAPAN &
       7/17/2006            STUMPF PA                                                $50,000.00
        8/1/2006            GERALD B LEFCOURT PC-IOLA ACCT                          $100,000.00
                            BLACK SREBNICK KORNAPAN &
       8/11/2006            STUMPF PA                                               $100,000.00
       8/15/2006            ALAN M. DERSHOWITZ                                      $150,000.00
       8/15/2006            GERALD B LEFCOURT PC-IOLA ACCT                          $150,000.00
       8/17/2006            ALAN M. DERSHOWITZ                                      $200,000.00

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  This chart contains summaries of information from the following account statements: Epstein’s
JPMorgan account ending in 0438 (Ex. 57); Epstein’s JPMorgan account ending in 0663 (Ex. 152).


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     Date                        Payee                          Amount
  8/17/2006        GERALD B LEFCOURT PC-IOLA ACCT                 $100,000.00
  8/17/2006        I RICHARDS JACOBS P.A. TRUST                    $70,000.00
                   BLACK SREBNICK KORNAPAN &
  9/11/2006        STUMPF PA                                        $50,000.00
  9/28/2006        GERALD B LEFCOURT PC-IOLA ACCT                  $200,000.00
  10/4/2006        MARSHALL BELL CLIENT ESCROW                      $25,000.00
  10/5/2006        LEWIS TEIN PL                                   $100,000.00
                   BLACK SREBNICK KORNAPAN &
  10/19/2006       STUMPF PA                                       $100,000.00
  10/27/2006       ALAN M. DERSHOWITZ                              $258,750.00
   11/1/2006       LEWIS TEIN PL                                   $100,000.00
   11/9/2006       ATTERBURY GOLDBERGER                             $50,000.00
  11/30/2006       GERALD B LEFCOURT PC-IOLA ACCT                  $225,000.00
    1/2/2007       ALAN M. DERSHOWITZ                              $178,000.00
    1/2/2007       LEWIS TEIN PL                                    $50,000.00
   1/17/2007       GERALD B LEFCOURT PC-IOLA ACCT                  $150,000.00
   1/17/2007       MARSHALL BELL CLIENT ESCROW                      $50,000.00
   1/26/2007       LEWIS TEIN PL                                    $50,000.00
                   BLACK SREBNICK KORNAPAN &
  1/31/2007        STUMPF PA                                       $100,000.00
   2/6/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
   2/7/2007        ALAN M. DERSHOWITZ                               $78,292.50
   2/7/2007        ATTERBURY GOLDBERGER                             $15,000.00
  2/16/2007        LEWIS TEIN PL                                    $50,000.00
  2/16/2007        MARTIN G WEINBERG P C (IOLTA)                    $75,000.00
  2/22/2007        FOWLER WHITE BURNETT PA                          $60,000.00
   3/5/2007        ATTERBURY GOLDBERGER                             $25,000.00
   3/5/2007        GERALD B LEFCOURT PC-IOLA ACCT                   $50,000.00
   3/5/2007        LEWIS TEIN PL                                    $50,000.00
                   BLACK SREBNICK KORNAPAN &
   3/8/2007        STUMPF PA                                        $50,000.00
  3/13/2007        LEWIS TEIN PL                                    $53,000.00
   4/3/2007        ALAN M. DERSHOWITZ                              $137,458.00
   4/3/2007        LEWIS TEIN PL                                    $50,000.00
                   BLACK SREBNICK KORNAPAN &
   4/5/2007        STUMPF PA                                        $50,000.00
   4/5/2007        GERALD B LEFCOURT PC-IOLA ACCT                   $50,000.00
                   BLACK SREBNICK KORNAPAN &
  4/13/2007        STUMPF PA                                        $50,000.00
  4/18/2007        GERALD B LEFCOURT PC-IOLA ACCT                   $50,000.00

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     Date                           Payee                       Amount
  4/20/2007        MARTIN G WEINBERG P C (IOLTA)                  $75,000.00
   5/3/2007        ATTERBURY GOLDBERGER                           $20,000.00
                   BLACK SREBNICK KORNAPAN &
   5/3/2007        STUMPF PA                                        $25,000.00
   5/3/2007        GERALD B LEFCOURT PC-IOLA ACCT                   $50,000.00
   5/3/2007        LEWIS TEIN PL                                    $50,000.00
   5/4/2007        FOWLER WHITE BURNETT PA                          $28,085.95
   5/9/2007        ALAN M. DERSHOWITZ                               $75,000.00
                   BLACK SREBNICK KORNAPAN &
   5/9/2007        STUMPF PA                                        $75,000.00
   5/9/2007        GERALD B LEFCOURT PC-IOLA ACCT                   $75,000.00
   5/9/2007        MARTIN G WEINBERG P C (IOLTA)                    $75,000.00
   5/9/2007        MARTIN G WEINBERG P C (IOLTA)                   $175,000.00
  5/22/2007        Law Offices of Hodge & Francois                 $552,841.14
  5/25/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
   6/6/2007        ALAN M. DERSHOWITZ                               $99,512.50
   6/6/2007        FOWLER WHITE BURNETT PA                          $20,000.00
   6/6/2007        KIRKLAND AND ELLIS LLP                           $50,000.00
   6/6/2007        LAW OFFICE OF GUY FRONSTIN                       $10,000.00
   6/6/2007        LEWIS TEIN PL                                    $50,000.00
  6/13/2007        DARREN K INDYKE                                 $150,000.00
  6/13/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
  6/27/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
                   BLACK SREBNICK KORNAPAN &
   7/3/2007        STUMPF PA                                       $100,000.00
   7/9/2007        ALAN M. DERSHOWITZ                              $169,887.50
  7/16/2007        ATTERBURY GOLDBERGER                             $25,000.00
  7/16/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
  7/16/2007        LEWIS TEIN PL                                   $150,000.00
  7/20/2007        LAW OFFICE OF GUY FRONSTIN                       $25,000.00
  7/26/2007        DARREN K INDYKE                                 $104,000.00
  7/30/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
   8/3/2007        FOWLER WHITE BURNETT PA                         $100,000.00
   8/8/2007        ALAN M. DERSHOWITZ                              $136,850.00
  8/13/2007        MARTIN G WEINBERG P C (IOLTA)                   $100,000.00
                   BLACK SREBNICK KORNAPAN &
  8/15/2007        STUMPF PA                                       $200,000.00
  8/15/2007        JOEL SICKLER                                     $25,000.00
  8/22/2007        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00


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          Date                               Payee                     Amount
       8/23/2007           Weil, Gotshal, & Manges LLP                       $743.35
       8/27/2007           KIRKLAND AND ELLIS LLP                         $11,928.50
       8/27/2007           Law Offices of Hodge & Francois                   $722.00
       8/28/2007           FOWLER WHITE BURNETT PA                       $100,000.00
        9/4/2007           ALAN M. DERSHOWITZ                            $139,720.00
       9/10/2007           ATTERBURY GOLDBERGER                           $25,000.00
                           BLACK SREBNICK KORNAPAN &
       9/10/2007           STUMPF PA                                       $50,000.00
       9/10/2007           GERALD B LEFCOURT PC-IOLA ACCT                 $100,000.00
       9/10/2007           KIRKLAND AND ELLIS LLP                          $57,735.26
       9/17/2007           ATTERBURY GOLDBERGER                            $25,000.00
                           BLACK SREBNICK KORNAPAN &
        9/17/2007          STUMPF PA                                      $150,000.00
        9/17/2007          FOWLER WHITE BURNETT PA                         $50,000.00
        9/17/2007          LEWIS TEIN PL                                  $156,521.21
        9/17/2007          MARTIN G WEINBERG P C (IOLTA)                  $100,000.00
January 2006 –
September 24, 2007 Total                                                $9,505,547.91
        9/25/2007          Jonathan Wasserman, PA                           $6,600.00
        9/26/2007          ATTERBURY GOLDBERGER                            $42,500.00
       10/11/2007          GERALD B LEFCOURT PC-IOLA ACCT                 $100,000.00
       10/12/2007          ALAN M. DERSHOWITZ                             $100,000.00
       10/17/2007          ALAN M. DERSHOWITZ                             $125,937.50
       10/17/2007          MARTIN G WEINBERG P C (IOLTA)                  $100,000.00
       10/23/2007          KIRKLAND AND ELLIS LLP                         $287,988.25
       10/25/2007          GERALD B LEFCOURT PC-IOLA ACCT                 $100,000.00
       10/26/2007          NARDELLO AND CO LLC                            $150,000.00
       10/31/2007          Stanley B. Katz, ESQ Escrow Account              $9,000.00
        11/9/2007          KIRKLAND AND ELLIS LLP                         $362,928.49
       11/14/2007          ALAN M. DERSHOWITZ                              $89,125.00
       11/14/2007          LEWIS TEIN PL                                   $76,739.48
                           BLACK SREBNICK KORNAPAN &
       11/20/2007          STUMPF PA                                      $100,000.00
       11/20/2007          GERALD B LEFCOURT PC-IOLA ACCT                 $100,000.00
       11/26/2007          M. Arda Beskardes, Esq.                          $1,270.00
       11/27/2007          LEWIS TEIN PL                                   $99,362.91
       11/30/2007          MARTIN G WEINBERG P C (IOLTA)                  $100,000.00
       12/13/2007          ALAN M. DERSHOWITZ                             $138,828.00
       12/21/2007          FOWLER WHITE BURNETT PA                         $50,000.00


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      Date                           Payee                      Amount
  12/27/2007       Weil, Gotshal, & Manges LLP                      $8,343.94
  12/28/2007       LAW OFFICE OF GUY FRONSTIN                      $28,773.00
  12/31/2007       FOWLER WHITE BURNETT PA                        $100,000.00
    1/8/2008       ALAN M. DERSHOWITZ                             $115,449.90
   1/11/2008       GERALD B LEFCOURT PC-IOLA ACCT                 $100,000.00
   1/15/2008       KIRKLAND AND ELLIS LLP                         $309,013.88
   1/31/2008       KIRKLAND AND ELLIS LLP                         $276,772.61
    2/1/2008       ATTERBURY GOLDBERGER                            $50,000.00
    2/6/2008       LEWIS TEIN PL                                  $176,717.47
                   ALLEN GUTHRIE MCHUGH &
  2/12/2008        THOMAS PLLC                                      $11,843.58
  2/12/2008        ATTERBURY GOLDBERGER                             $25,000.00
  2/14/2008        ALAN M. DERSHOWITZ                               $34,702.50
  2/20/2008        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
  2/20/2008        MARTIN G WEINBERG P C (IOLTA)                    $50,000.00
   3/5/2008        ATTERBURY GOLDBERGER                              $6,670.00
  3/14/2008        MARTIN G WEINBERG P C (IOLTA)                   $100,000.00
  3/18/2008        ALAN M. DERSHOWITZ                               $59,512.50
                   BLACK SREBNICK KORNAPAN &
  3/18/2008        STUMPF PA                                       $100,000.00
  3/18/2008        LEWIS TEIN PL                                   $100,000.00
                   ALLEN GUTHRIE MCHUGH &
   4/4/2008        THOMAS PLLC                                      $37,027.50
   4/4/2008        ATTERBURY GOLDBERGER                             $40,000.00
   4/4/2008        LEWIS TEIN PL                                   $100,000.00
   4/9/2008        GERALD B LEFCOURT PC-IOLA ACCT                  $100,000.00
  4/16/2008        LEWIS TEIN PL                                   $100,000.00
                   BLACK SREBNICK KORNAPAN &
  4/17/2008        STUMPF PA                                        $50,000.00
  4/22/2008        KIRKLAND AND ELLIS LLP                          $147,969.04
  4/24/2008        MARTIN G WEINBERG P C (IOLTA)                    $50,000.00
   5/5/2008        ALAN M. DERSHOWITZ                               $48,587.50
   5/7/2008        FOWLER WHITE BURNETT PA                         $100,000.00
  5/20/2008        ATTERBURY GOLDBERGER                             $20,660.07
                   BLACK SREBNICK KORNAPAN &
  5/22/2008        STUMPF PA                                        $25,000.00
  5/30/2008        GERALD B LEFCOURT PC-IOLA ACCT                   $75,000.00
  5/30/2008        KIRKLAND AND ELLIS LLP                          $265,000.00
  5/30/2008        LEWIS TEIN PL                                   $100,000.00
  5/30/2008        MARTIN G WEINBERG P C (IOLTA)                    $50,000.00

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           Date                      Payee                          Amount
         6/2/2008      ATTERBURY GOLDBERGER                            $20,000.00
         6/5/2008      ALSTON & BIRD LLP                               $55,034.90
        6/27/2008      ALAN M. DERSHOWITZ                              $50,000.00
        6/27/2008      ATTERBURY GOLDBERGER                            $20,000.00
        6/27/2008      GERALD B LEFCOURT PC-IOLA ACCT                  $50,000.00
        6/27/2008      KIRKLAND AND ELLIS LLP                         $100,000.00
        6/27/2008      LEWIS TEIN PL                                   $50,000.00
        6/27/2008      MARTIN G WEINBERG P C (IOLTA)                   $50,000.00
September 25, 2007 –
June 30, 2008 Total                                                  $5,597,358.02
         7/1/2008      DERSHOWITZ EIGER & ADELSON P.C.                  $25,581.17
         7/8/2008      ALSTON & BIRD LLP                                $51,158.64
        7/16/2008      FOWLER WHITE BURNETT PA                          $50,000.00
        7/16/2008      GERALD B LEFCOURT PC-IOLA ACCT                   $50,000.00
        7/16/2008      LEWIS TEIN PL                                   $100,000.00
        7/21/2008      ATTERBURY GOLDBERGER                             $75,000.00
        7/23/2008      MARTIN G WEINBERG P C (IOLTA)                    $46,377.71
                       BLACK SREBNICK KORNAPAN &
       7/24/2008       STUMPF PA                                        $50,000.00
       7/24/2008       KIRKLAND AND ELLIS LLP                           $50,000.00
       7/31/2008       LEWIS TEIN PL                                   $100,000.00
        8/1/2008       ATTERBURY GOLDBERGER                             $20,000.00
                       BLACK SREBNICK KORNAPAN &
       8/12/2008       STUMPF PA                                        $25,000.00
                       ALLEN GUTHRIE MCHUGH &
       8/13/2008       THOMAS PLLC                                      $19,490.13
       8/15/2008       DERSHOWITZ EIGER & ADELSON P.C.                  $25,000.00
                       CHARLES D BARNETT ESQ IOTA
       8/27/2008       TRUST                                            $25,000.00
        9/2/2008       ATTERBURY GOLDBERGER                             $75,000.00
       9/10/2008       ATTERBURY GOLDBERGER                             $20,000.00
       9/11/2008       MARTIN G WEINBERG P C (IOLTA)                    $86,724.60
                       BLACK SREBNICK KORNAPAN &
       9/12/2008       STUMPF PA                                       $100,000.00
       10/2/2008       ATTERBURY GOLDBERGER                             $20,000.00
                       BLACK SREBNICK KORNAPAN &
        10/2/2008      STUMPF PA                                        $50,000.00
        10/8/2008      MARTIN G WEINBERG P C (IOLTA)                    $14,750.00
       10/15/2008      ATTERBURY GOLDBERGER                             $50,000.00
       10/15/2008      DARREN K INDYKE PLLC                            $250,000.00

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    Date                            Payee                       Amount
  11/5/2008        ATTERBURY GOLDBERGER                           $20,000.00
  11/6/2008        Law Offices of Hodge & Francois                 $1,062.50
                   BURMAN CRITTON
  11/25/2008       LUTTIER&COLEMAN LLP                              $72,167.10
  11/25/2008       PODHURST ORSECK P.A.                             $63,992.15
  11/26/2008       KIRKLAND AND ELLIS LLP                          $100,000.00
   12/1/2008       ATTERBURY GOLDBERGER                             $20,000.00
   12/2/2008       DERSHOWITZ EIGER & ADELSON P.C.                  $25,000.00
   12/8/2008       ATTERBURY GOLDBERGER                             $30,000.00
   12/8/2008       WHR INVESTIGATIONS INC.                          $50,000.00
  12/10/2008       W. CHESTER BREWER JR. P.A.                       $15,000.00
  12/17/2008       WHR INVESTIGATIONS INC.                          $46,400.16
  12/18/2008       FOWLER WHITE BURNETT PA                          $30,200.00
    1/2/2009       KIRKLAND AND ELLIS LLP                          $300,000.00
    1/6/2009       ATTERBURY GOLDBERGER                             $20,000.00
   1/12/2009       ATTERBURY GOLDBERGER                             $25,000.00
   1/16/2009       DARREN K INDYKE PLLC                            $300,000.00
   1/16/2009       MARTIN G WEINBERG P C (IOLTA)                    $21,833.00
                   BURMAN CRITTON
  1/20/2009        LUTTIER&COLEMAN LLP                             $100,000.00
  1/21/2009        Law Offices of Hodge & Francois                     $354.50
   2/3/2009        PODHURST ORSECK P.A.                            $100,000.00
  2/10/2009        ATTERBURY GOLDBERGER                             $30,000.00
  2/13/2009        DERSHOWITZ EIGER & ADELSON P.C.                  $11,845.34
  2/20/2009        WHR INVESTIGATIONS INC.                           $1,063.87
  2/24/2009        DARREN K INDYKE PLLC                            $100,000.00
                   BURMAN CRITTON
  3/10/2009        LUTTIER&COLEMAN LLP                             $100,000.00
  3/12/2009        W. CHESTER BREWER JR. P.A.                        $2,533.40
  3/16/2009        ATTERBURY GOLDBERGER                             $20,000.00
  3/16/2009        KIRKLAND AND ELLIS LLP                            $7,802.09
  3/23/2009        Law Offices of Hodge & Francois                     $912.50
  3/31/2009        ATTERBURY GOLDBERGER                             $10,000.00
  3/31/2009        DARREN K INDYKE PLLC                            $350,000.00
                   BLACK SREBNICK KORNAPAN &
   4/3/2009        STUMPF PA                                        $25,000.00
   4/3/2009        MARTIN G WEINBERG P C (IOLTA)                    $12,916.30
  4/13/2009        ATTERBURY GOLDBERGER                            $100,000.00
                   BURMAN CRITTON
  4/20/2009        LUTTIER&COLEMAN LLP                             $153,195.64

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      Date                           Payee                      Amount
   4/23/2009        ATTERBURY GOLDBERGER                          $50,000.00
                    BURMAN CRITTON
   5/14/2009        LUTTIER&COLEMAN LLP                            $100,000.00
   5/14/2009        MARTIN G WEINBERG P C (IOLTA)                   $11,666.40
   5/18/2009        DARREN K INDYKE PLLC                           $250,000.00
   5/26/2009        ATTERBURY GOLDBERGER                            $20,000.00
                    REEDER & REEDER P.A.TRUST
   5/29/2009        ACCOUNT                                         $10,000.00
                    RICHARD B COMITER & ASSOCIATES
   5/29/2009        PA                                              $15,000.00
                    BURMAN CRITTON
   6/1/2009         LUTTIER&COLEMAN LLP                            $121,714.26
                    BURMAN CRITTON
   6/1/2009         LUTTIER&COLEMAN LLP                            $150,000.00
   6/1/2009         DARREN K INDYKE PLLC                           $250,000.00
   6/2/2009         MARTIN G WEINBERG P C (IOLTA)                   $28,916.30
                    CHARLES D BARNETT ESQ IOTA
   6/17/2009        TRUST                                           $35,000.00
   6/18/2009        ATTERBURY GOLDBERGER                            $50,000.00
                    BURMAN CRITTON
   6/19/2009        LUTTIER&COLEMAN LLP                            $203,546.49
   6/23/2009        ATTERBURY GOLDBERGER                            $25,000.00
   6/23/2009        BRUCE E REINHART PA                             $18,117.00
   6/29/2009        ATTERBURY GOLDBERGER                            $25,000.00
                    KREUSLER-WALSH COMPIANI &
   6/29/2009        VARGAS PA                                       $10,000.00
   6/30/2009        Law Offices of Hodge & Francois                  $3,170.73
    7/2/2009        MARTIN G WEINBERG P C (IOLTA)                   $69,716.30
                    BLACK SREBNICK KORNAPAN &
    7/7/2009        STUMPF PA                                       $25,000.00
   7/16/2009        ATTERBURY GOLDBERGER                            $20,000.00
                    BURMAN CRITTON
   7/29/2009        LUTTIER&COLEMAN LLP                            $150,000.00
   7/31/2009        ATTERBURY GOLDBERGER                             $3,776.48
    8/5/2009        ATTERBURY GOLDBERGER                            $50,000.00
                    BURMAN CRITTON
    8/6/2009        LUTTIER&COLEMAN LLP                            $400,000.00
   8/12/2009        W. CHESTER BREWER JR. P.A.                       $6,561.74
   8/20/2009        DARREN K INDYKE PLLC                           $250,000.00
                    BURMAN CRITTON
   8/24/2009        LUTTIER&COLEMAN LLP                            $100,000.00
   8/24/2009        MARTIN G WEINBERG P C (IOLTA)                   $25,583.10

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     Date                            Payee                      Amount
                    BURMAN CRITTON
   9/1/2009         LUTTIER&COLEMAN LLP                            $107,902.54
                    KREUSLER-WALSH COMPIANI &
   9/1/2009         VARGAS PA                                       $29,592.31
                    REEDER & REEDER P.A.TRUST
    9/1/2009        ACCOUNT                                         $20,365.00
   9/10/2009        DARREN K INDYKE PLLC                           $250,000.00
   9/15/2009        ATTERBURY GOLDBERGER                            $50,000.00
   9/16/2009        ATTERBURY GOLDBERGER                            $75,000.00
                    BURMAN CRITTON
   9/29/2009        LUTTIER&COLEMAN LLP                          $1,300,000.00
   9/29/2009        W. CHESTER BREWER JR. P.A.                      $32,500.00
                    BURMAN CRITTON
   10/1/2009        LUTTIER&COLEMAN LLP                             $50,000.00
                    BURMAN CRITTON
   10/1/2009        LUTTIER&COLEMAN LLP                            $173,756.65
   10/6/2009        ALAN M. DERSHOWITZ                             $100,000.00
   10/7/2009        W. CHESTER BREWER JR. P.A.                      $15,314.17
   10/9/2009        Law Offices of Hodge & Francois                    $452.08
  10/13/2009        ATTERBURY GOLDBERGER                            $25,000.00
                    REEDER & REEDER P.A.TRUST
  10/14/2009        ACCOUNT                                          $5,024.50
                    BLACK SREBNICK KORNAPAN &
  10/16/2009        STUMPF PA                                       $50,000.00
  10/16/2009        DARREN K INDYKE PLLC                           $150,000.00
  10/23/2009        KIRKLAND AND ELLIS LLP                          $28,000.00
  10/29/2009        MARTIN G WEINBERG P C (IOLTA)                   $85,428.20
                    BURMAN CRITTON
   11/2/2009        LUTTIER&COLEMAN LLP                            $182,951.71
   11/4/2009        ATTERBURY GOLDBERGER                            $25,000.00
   11/5/2009        W. CHESTER BREWER JR. P.A.                         $342.26
  11/13/2009        DERSHOWITZ EIGER & ADELSON P.C.                  $1,584.50
  11/25/2009        Law Offices of Hodge & Francois                  $1,087.76
  11/25/2009        Law Offices of Hodge & Francois                  $1,050.26
   12/3/2009        ATTERBURY GOLDBERGER                            $50,000.00
                    BURMAN CRITTON
   12/7/2009        LUTTIER&COLEMAN LLP                             $41,902.87
   12/7/2009        DARREN K INDYKE PLLC                            $50,000.00
                    BURMAN CRITTON
   12/8/2009        LUTTIER&COLEMAN LLP                            $179,383.49
                    BURMAN CRITTON
  12/17/2009        LUTTIER&COLEMAN LLP                            $224,000.00

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     Date                         Payee                         Amount
  12/22/2009        DARREN K INDYKE PLLC                            $1,000.00
   1/4/2010         DARREN K INDYKE PLLC                          $199,000.00
                    BLACK SREBNICK KORNAPAN &
   1/6/2010         STUMPF PA                                       $49,144.42
                    BURMAN CRITTON
   1/6/2010         LUTTIER&COLEMAN LLP                            $169,586.92
                    KREUSLER-WALSH COMPIANI &
    1/6/2010        VARGAS PA                                        $1,976.40
    1/6/2010        MARTIN G WEINBERG P C (IOLTA)                   $75,557.90
   1/12/2010        ATTERBURY GOLDBERGER                            $40,000.00
   1/12/2010        ATTERBURY GOLDBERGER                            $40,000.00
                    BURMAN CRITTON
   1/12/2010        LUTTIER&COLEMAN LLP                            $202,000.00
   1/12/2010        DARREN K INDYKE PLLC                           $250,000.00
   1/12/2010        WILLIAM L RICHEY PA                              $2,108.60
   1/19/2010        BRUCE E REINHART PA                             $20,000.00
                    REEDER & REEDER P.A.TRUST
   1/19/2010        ACCOUNT                                         $37,414.94
   2/10/2010        ATTERBURY GOLDBERGER                            $50,000.00
                    BURMAN CRITTON
   2/10/2010        LUTTIER&COLEMAN LLP                            $127,694.60
                    CHARLES D BARNETT ESQ IOTA
   2/10/2010        TRUST                                           $50,000.00
   2/10/2010        LAW OFFICE OF W TRENT STEELE                       $400.00
                    BURMAN CRITTON
   2/16/2010        LUTTIER&COLEMAN LLP                              $7,981.20
   2/19/2010        ALAN M. DERSHOWITZ                              $33,637.50
   2/23/2010        DARREN K INDYKE PLLC                           $250,000.00
                    BLACK SREBNICK KORNAPAN &
   2/26/2010        STUMPF PA                                       $12,420.00
   2/26/2010        WILLIAM L RICHEY PA                                $239.20
                    BURMAN CRITTON
   3/10/2010        LUTTIER&COLEMAN LLP                            $142,555.04
   3/10/2010        MARTIN G WEINBERG P C (IOLTA)                  $116,703.45
    4/1/2010        ATTERBURY GOLDBERGER                            $25,000.00
                    BLACK SREBNICK KORNAPAN &
   4/7/2010         STUMPF PA                                       $27,392.59
                    BURMAN CRITTON
   4/7/2010         LUTTIER&COLEMAN LLP                             $75,000.00
                    BURMAN CRITTON
   4/7/2010         LUTTIER&COLEMAN LLP                            $203,527.34
   4/8/2010         DARREN K INDYKE PLLC                           $250,000.00

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      Date                           Payee                      Amount
    4/8/2010        Law Offices of Hodge & Francois                $2,155.64
   4/23/2010        ATTERBURY GOLDBERGER                          $25,000.00
                    BURMAN CRITTON
   4/28/2010        LUTTIER&COLEMAN LLP                            $750,000.00
                    BURMAN CRITTON
   5/10/2010        LUTTIER&COLEMAN LLP                            $222,054.90
                    BURMAN CRITTON
   5/11/2010        LUTTIER&COLEMAN LLP                             $26,852.11
   5/14/2010        BRUCE E REINHART PA                             $11,117.39
   5/19/2010        MARTIN G WEINBERG P C (IOLTA)                  $133,519.96
                    RUBIN KATZ LAW FIRM TRUST
   5/26/2010        ACCOUNT                                          $5,000.00
                    BURMAN CRITTON
   5/27/2010        LUTTIER&COLEMAN LLP                             $26,852.11
   5/27/2010        Law Offices of Hodge & Francois                  $3,253.91
   5/28/2010        ATTERBURY GOLDBERGER                            $25,000.00
    6/1/2010        ATTERBURY GOLDBERGER                            $25,000.00
                    BURMAN CRITTON
   6/3/2010         LUTTIER&COLEMAN LLP                            $100,000.00
                    BURMAN CRITTON
   6/3/2010         LUTTIER&COLEMAN LLP                               2000000
   6/4/2010         DARREN K INDYKE PLLC                           $250,000.00
   6/7/2010         Withers Bergman LLP                             $14,000.00
                    BURMAN CRITTON
   6/8/2010         LUTTIER&COLEMAN LLP                            $128,177.42
                    BURMAN CRITTON
   6/10/2010        LUTTIER&COLEMAN LLP                               3500000
   6/14/2010        MARTIN G WEINBERG P C (IOLTA)                   $33,333.20
   6/24/2010        ATTERBURY GOLDBERGER                            $25,000.00
                    BURMAN CRITTON
   7/12/2010        LUTTIER&COLEMAN LLP                               5500000
                    CHARLES D BARNETT ESQ IOTA
   7/12/2010        TRUST                                           $50,000.00
                    BURMAN CRITTON
   7/20/2010        LUTTIER&COLEMAN LLP                            $215,000.00
   7/27/2010        DARREN K INDYKE PLLC                           $250,000.00
    8/5/2010        ATTERBURY GOLDBERGER                             $2,000.00
                    BLACK SREBNICK KORNAPAN &
    8/5/2010        STUMPF PA                                       $25,000.00
    8/5/2010        MARTIN G WEINBERG P C (IOLTA)                   $50,000.00
    8/5/2010        TROUTMAN SANDERS LLP                            $25,000.00
   8/11/2010        Withers Bergman LLP                              $8,157.81

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      Date                           Payee                      Amount
   8/17/2010        ATTERBURY GOLDBERGER                             $159.08
                    BLACK SREBNICK KORNAPAN &
   8/19/2010        STUMPF PA                                        $4,926.24
                    BURMAN CRITTON
   8/19/2010        LUTTIER&COLEMAN LLP                            $257,336.62
   8/30/2010        ATTERBURY GOLDBERGER                             $1,048.60
   9/14/2010        DARREN K INDYKE PLLC                           $250,000.00
   9/16/2010        ALAN M. DERSHOWITZ                              $20,987.50
   9/16/2010        FOWLER WHITE BURNETT PA                         $50,000.00
   9/16/2010        MARTIN G WEINBERG P C (IOLTA)                   $30,000.00
   9/16/2010        TROUTMAN SANDERS LLP                            $20,716.05
   10/5/2010        Law Offices of Hodge & Francois                  $3,354.75
   10/6/2010        FOWLER WHITE BURNETT PA                        $100,000.00
  10/14/2010        FOWLER WHITE BURNETT PA                         $75,000.00
  10/20/2010        Law Offices of Hodge & Francois                     $75.92
   11/2/2010        ATTERBURY GOLDBERGER                            $26,619.25
   11/2/2010        DARREN K INDYKE PLLC                           $250,000.00
   11/2/2010        TROUTMAN SANDERS LLP                            $20,000.00
   12/1/2010        MARTIN G WEINBERG P C (IOLTA)                   $42,150.00
   12/9/2010        FOWLER WHITE BURNETT PA                        $300,000.00
                    ALLEN GUTHRIE MCHUGH &
  12/10/2010        THOMAS PLLC                                     $17,271.77
  12/31/2010        FOWLER WHITE BURNETT PA                        $100,000.00
   1/12/2011        DARREN K INDYKE PLLC                           $250,000.00
   1/26/2011        TROUTMAN SANDERS LLP                             $8,117.51
   1/28/2011        KIRKLAND AND ELLIS LLP                         $100,000.00
    2/2/2011        MARTIN G WEINBERG P C (IOLTA)                   $25,000.00
    2/9/2011        DARREN K INDYKE PLLC                           $250,000.00
   2/17/2011        PAUL THIBADEAU TRUST ACCOUNT                     $2,696.17
    3/8/2011        ATTERBURY GOLDBERGER                             $2,690.99
    3/8/2011        ATTERBURY GOLDBERGER                            $40,000.00
    3/8/2011        BRUCE E REINHART PA                             $10,000.00
    3/9/2011        Law Offices of Hodge & Francois                    $659.28
   3/15/2011        ATTERBURY GOLDBERGER                             $2,736.00
   3/15/2011        MARTIN G WEINBERG P C (IOLTA)                   $25,000.00
   3/22/2011        FOWLER WHITE BURNETT PA                        $150,000.00
                    DUDLEY TOPPER AND FEUERZEIG
   3/30/2011        LLP                                              $5,000.00
   4/13/2011        MARTIN G WEINBERG P C (IOLTA)                   $50,000.00


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      Date                           Payee                      Amount
   4/14/2011        DARREN K INDYKE PLLC                          $250,000.00
                    BLACK SREBNICK KORNAPAN &
   4/28/2011        STUMPF PA                                      $100,000.00
   4/28/2011        TROUTMAN SANDERS LLP                             $2,295.50
   5/19/2011        DARREN K INDYKE PLLC                           $250,000.00
   5/19/2011        FOWLER WHITE BURNETT PA                         $51,674.30
                    ALLEN GUTHRIE MCHUGH &
   5/23/2011        THOMAS PLLC                                        $791.00
                    DUDLEY TOPPER AND FEUERZEIG
   5/31/2011        LLP                                              $1,550.00
    6/1/2011        FOWLER WHITE BURNETT PA                         $50,000.00
   6/15/2011        ATTERBURY GOLDBERGER                             $5,269.00
                    BLACK SREBNICK KORNAPAN &
   6/16/2011        STUMPF PA                                      $100,000.00
   6/16/2011        MARTIN G WEINBERG P C (IOLTA)                   $50,000.00
   6/23/2011        BARRY R FERTEL PC                                $7,500.00
                    BLACK SREBNICK KORNAPAN &
    7/5/2011        STUMPF PA                                      $250,000.00
    7/5/2011        FOWLER WHITE BURNETT PA                        $450,000.00
   7/12/2011        DARREN K INDYKE PLLC                           $250,000.00
   7/14/2011        ATTERBURY GOLDBERGER                             $2,010.25
                    DUDLEY TOPPER AND FEUERZEIG
   7/19/2011        LLP                                              $5,199.49
    8/3/2011        KIRKLAND AND ELLIS LLP                         $150,000.00
    8/4/2011        Law Offices of Hodge & Francois                  $1,462.65
   8/10/2011        MARTIN G WEINBERG P C (IOLTA)                   $89,437.49
   8/11/2011        FOWLER WHITE BURNETT PA                        $225,000.00
                    BLACK SREBNICK KORNAPAN &
   8/22/2011        STUMPF PA                                      $100,000.00
   8/24/2011        ATTERBURY GOLDBERGER                             $1,479.50
   9/12/2011        DARREN K INDYKE PLLC                           $250,000.00
   9/15/2011        FOWLER WHITE BURNETT PA                        $100,000.00
   9/19/2011        FOWLER WHITE BURNETT PA                        $140,000.00
   9/20/2011        MARTIN G WEINBERG P C (IOLTA)                   $46,085.00
   9/28/2011        Law Offices of Hodge & Francois                     $95.75
   10/4/2011        Lawrence Newman, Esq                            $25,000.00
   10/5/2011        DARREN K INDYKE PLLC                           $250,000.00
  10/12/2011        MARTIN G WEINBERG P C (IOLTA)                   $18,091.00
                    BLACK SREBNICK KORNAPAN &
  10/13/2011        STUMPF PA                                      $100,000.00
  10/31/2011        TROUTMAN SANDERS LLP                               $773.35
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     Date                            Payee                      Amount
   11/1/2011        KIRKLAND AND ELLIS LLP                        $150,000.00
   11/4/2011        STEPTOE AND JOHNSON LLP                       $100,000.00
  11/23/2011        MARTIN G WEINBERG P C (IOLTA)                  $24,403.00
  12/14/2011        MARTIN G WEINBERG P C (IOLTA)                  $28,704.00
                    KELLERHALS FERGUSON FLETCHER
  12/29/2011        LLP                                              $6,470.00
    1/4/2012        DARREN K INDYKE PLLC                           $250,000.00
    1/4/2012        FOWLER WHITE BURNETT PA                        $113,961.01
   1/10/2012        DARREN K INDYKE PLLC                           $250,000.00
                    KELLERHALS FERGUSON FLETCHER
   1/20/2012        LLP                                             $28,223.17
   1/26/2012        Law Offices of Hodge & Francois                  $9,387.67
   1/27/2012        Law Offices of Hodge & Francois                  $5,374.72
    2/2/2012        TROUTMAN SANDERS LLP                            $11,979.25
                    BLACK SREBNICK KORNAPAN &
   2/10/2012        STUMPF PA                                      $100,000.00
   2/15/2012        Law Offices of Hodge & Francois                 $12,042.05
                    KELLERHALS FERGUSON FLETCHER
   2/17/2012        LLP                                             $20,000.00
   2/17/2012        MARTIN G WEINBERG P C (IOLTA)                   $20,000.00
                    KELLERHALS FERGUSON FLETCHER
   2/27/2012        LLP                                              $5,000.00
   3/14/2012        TONJA HADDAD PA TRUST ACCOUNT                   $10,000.00
   3/20/2012        Lawrence Newman, Esq                            $25,000.00
    4/5/2012        FOWLER WHITE BURNETT PA                         $40,000.00
   4/17/2012        DARREN K INDYKE PLLC                           $250,000.00
                    KELLERHALS FERGUSON FLETCHER
   4/17/2012        LLP                                             $25,000.00
    5/4/2012        FRED HADDAD P.A.                                $37,500.00
    5/7/2012        Law Offices of Hodge & Francois                 $13,574.12
    5/8/2012        MARTIN G WEINBERG P C (IOLTA)                   $18,099.00
    5/8/2012        THE LS LAW FIRM P.A.                            $25,000.00
   5/14/2012        DARREN K INDYKE PLLC                           $200,000.00
   5/22/2012        TONJA HADDAD PA TRUST ACCOUNT                   $15,000.00
   5/23/2012        Law Offices of Hodge & Francois                  $6,940.33
    6/8/2012        TONJA HADDAD PA TRUST ACCOUNT                    $2,500.00
   6/19/2012        THE LS LAW FIRM P.A.                             $5,225.00
   6/20/2012        DARREN K INDYKE PLLC                           $250,000.00
                    KELLERHALS FERGUSON FLETCHER
   7/5/2012         LLP                                             $20,000.00

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      Date                           Payee                      Amount
    7/5/2012        TONJA HADDAD PA TRUST ACCOUNT                  $23,162.05
   7/16/2012        STEPTOE AND JOHNSON LLP                       $100,000.00
   7/24/2012        Friedman Lombardi & Olsen                         $769.20
   7/30/2012        Law Offices of Hodge & Francois                $21,407.52
    8/2/2012        MARTIN G WEINBERG P C (IOLTA)                   $5,833.00
   8/20/2012        DARREN K INDYKE PLLC                          $200,000.00
   8/29/2012        TONJA HADDAD PA TRUST ACCOUNT                  $25,000.00
   9/11/2012        TROUTMAN SANDERS LLP                           $20,000.00
   9/13/2012        TONJA HADDAD PA TRUST ACCOUNT                  $29,381.75
   9/14/2012        DARREN K INDYKE PLLC                          $200,000.00
                    KELLERHALS FERGUSON FLETCHER
   9/21/2012        LLP                                              $5,000.00
   10/1/2012        Law Offices of Hodge & Francois                 $16,012.03
                    KELLERHALS FERGUSON FLETCHER
   10/5/2012        LLP                                             $25,000.00
                    KELLERHALS FERGUSON FLETCHER
  10/16/2012        LLP                                              $1,800.00
  10/16/2012        Law Offices of Hodge & Francois                  $3,428.04
   11/6/2012        TONJA HADDAD PA TRUST ACCOUNT                   $19,383.75
   11/9/2012        TROUTMAN SANDERS LLP                               $252.00
  11/13/2012        DARREN K INDYKE PLLC                            $60,000.00
  11/29/2012        FOWLER WHITE BURNETT PA                        $125,000.00
  11/29/2012        THE LS LAW FIRM P.A.                             $3,025.00
   12/4/2012        Law Offices of Hodge & Francois                  $2,623.86
                    KELLERHALS FERGUSON FLETCHER
   12/6/2012        LLP                                              $1,321.00
                    KELLERHALS FERGUSON FLETCHER
  12/12/2012        LLP                                             $25,000.00
  12/12/2012        KIRKLAND AND ELLIS LLP                         $100,000.00
  12/12/2012        TONJA HADDAD PA TRUST ACCOUNT                    $4,182.25
  12/18/2012        DARREN K INDYKE PLLC                            $30,000.00
  12/19/2012        DARREN K INDYKE PLLC                            $30,000.00
  12/26/2012        TROUTMAN SANDERS LLP                             $2,145.60
  12/28/2012        KIRKLAND AND ELLIS LLP                          $50,000.00
    1/2/2013        DARREN K INDYKE PLLC                           $200,000.00
    1/2/2013        LEWIS LONGMAN AND WALKER IOTA                    $5,000.00
   1/16/2013        TONJA HADDAD PA TRUST ACCOUNT                   $22,183.75
   1/17/2013        Law Offices of Hodge & Francois                 $13,744.44
                    KELLERHALS FERGUSON FLETCHER
   1/22/2013        LLP                                             $10,000.00

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      Date                           Payee                      Amount
   1/25/2013        TROUTMAN SANDERS LLP                             $279.45
    2/1/2013        M. Arda Beskardes, Esq.                        $1,380.00
                    KELLERHALS FERGUSON FLETCHER
   2/15/2013        LLP                                             $25,000.00
   2/15/2013        Law Offices of Hodge & Francois                  $2,979.61
                    KELLERHALS FERGUSON FLETCHER
   2/21/2013        LLP                                              $2,000.00
                    KELLERHALS FERGUSON FLETCHER
   2/21/2013        LLP                                             $12,000.00
   2/26/2013        TONJA HADDAD PA TRUST ACCOUNT                   $39,882.69
    3/5/2013        MARTIN G WEINBERG P C (IOLTA)                    $4,850.00
    3/5/2013        TROUTMAN SANDERS LLP                             $1,440.00
   3/21/2013        DARREN K INDYKE PLLC                           $250,000.00
   3/22/2013        FRED HADDAD P.A.                               $100,000.00
                    KELLERHALS FERGUSON FLETCHER
   3/22/2013        LLP                                             $34,275.58
   3/22/2013        MARTIN G WEINBERG P C (IOLTA)                   $13,364.80
   3/22/2013        THE LS LAW FIRM P.A.                               $882.50
   3/22/2013        TONJA HADDAD PA TRUST ACCOUNT                   $35,557.95
   4/11/2013        MARTIN G WEINBERG P C (IOLTA)                    $9,783.00
                    KELLERHALS FERGUSON FLETCHER
   4/24/2013        LLP                                             $15,294.73
   4/24/2013        TONJA HADDAD PA TRUST ACCOUNT                   $24,266.20
   4/24/2013        TROUTMAN SANDERS LLP                               $848.75
   5/16/2013        Law Offices of Hodge & Francois                    $172.62
   5/21/2013        TONJA HADDAD PA TRUST ACCOUNT                   $21,707.53
   6/10/2013        ATTERBURY GOLDBERGER                            $50,000.00
   6/10/2013        MARTIN G WEINBERG P C (IOLTA)                   $18,300.00
   6/10/2013        TONJA HADDAD PA TRUST ACCOUNT                   $21,781.75
   6/21/2013        Law Offices of Hodge & Francois                    $412.50
   6/26/2013        TROUTMAN SANDERS LLP                               $391.86
                    BLACK SREBNICK KORNAPAN &
   7/19/2013        STUMPF PA                                       $50,000.00
                    KELLERHALS FERGUSON FLETCHER
   7/19/2013        LLP                                             $10,272.45
   7/19/2013        TONJA HADDAD PA TRUST ACCOUNT                   $24,847.87
   7/22/2013        MARTIN G WEINBERG P C (IOLTA)                   $40,700.00
   7/30/2013        THE LS LAW FIRM P.A.                             $5,958.85
   8/23/2013        MARTIN G WEINBERG P C (IOLTA)                   $50,000.00
   8/27/2013        TONJA HADDAD PA TRUST ACCOUNT                    $8,635.90

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             Date                          Payee                                      Amount
          9/19/2013           DARREN K INDYKE PLLC                                      $250,000.00
          9/23/2013           TONJA HADDAD PA TRUST ACCOUNT                              $33,807.50
          9/24/2013           MARTIN G WEINBERG P C (IOLTA)                              $20,000.00
          10/4/2013           MARTIN G WEINBERG P C (IOLTA)                              $25,000.00
         10/30/2013           W. CHESTER BREWER JR. P.A.                                  $4,795.00
July 1, 2008 – December
2013 Total                                                                            $35,806,750.11
       Grand Total                                                                    $50,909,656.04

 241.    JPMorgan Private Bank’s Client Cash Transaction Guidelines states: “The receipt of large

 cash deposits and disbursements of cash withdrawals for other than client casual spending needs

 to be discouraged. It is the primary responsibility of the Banker to obtain explanations on the

 source of the cash and acceptability of the intended use of the case, and to assess the plausibility

 of these explanations for large cash transactions.” Ex. 157 at -224.

 242.    From September 2003 through November 2013, JPMorgan recorded cash withdrawals

 from Epstein’s JPMorgan accounts totaling $5,018,472. Ex. 56 at 24-26 and Figure 8 (copied

 below).27

                       Figure 8: CTRs Relating to Epstein Accounts By Year

             Epstein       Epstein     Hyperion        NYSG        116 East 65th
  Year                                                                                   Total
              #0438         #0663       #4332          #3130       St LLC#4235
  2003        $175,310                                                                    $175,310
  2004        $840,000                                                                    $840,000
  2005        $901,337                                    $3,000                          $904,337
  2006        $935,265                                    $3,000                          $938,265
  2007        $520,000                                    $6,000                          $526,000
  2008        $460,000                                    $9,000                          $469,000



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   Figure 8 is a summary of information from currency transaction reports filed by JPMorgan (Ex.
 79).
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              Epstein      Epstein      Hyperion       NYSG         116 East 65th
 Year                                                                                    Total
               #0438        #0663        #4332         #3130        St LLC#4235
 2009          $100,011     $60,000                                       $5,000         $165,011
 2010          $223,397     $30,000                                                      $253,397
 2011          $200,000                  $60,000                                         $260,000
 2012                                   $290,000                                         $290,000
 2013                                   $197,152                                         $197,152
 Total       $4,355,320     $90,000     $547,152          $21,000         $5,000        $5,018,472


243.      From 2006 through 2013, JPMorgan recorded $3,098,825 in cash withdrawals from

Epstein’s JPMorgan accounts. Ex. 56 at 24-26 and Figure 8.

244.      From 2003 to 2007, JPMorgan recorded $3,383,912 in cash withdrawals from Epstein’s

JPMorgan accounts. Ex. 56 at 24-26 and Figure 8.

245.      From 2005 to 2006, JPMorgan recorded $1,842,602 in cash withdrawals from Epstein’s

JPMorgan accounts. Ex. 56 at 24-26 and Figure 8.

246.      From August 2006 through June 2008, JPMorgan recorded $1,134,000 in cash withdrawals

from Epstein’s JPMorgan accounts (relevant transactions identified and summarized in the chart

below).28

                          Transaction
                             Date               Acct#               Amount
                                                Epstein
                            8/10/2006            #0438              $40,000.00
                                                Epstein
                            8/24/2006            #0438              $40,000.00
                                                Epstein
                            9/7/2006             #0438              $60,000.00
                                                Epstein
                            9/21/2006            #0438              $40,000.00


28
     This chart identifies and summarizes currency transaction reports filed by JPMorgan (Ex. 79).
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                Transaction
                   Date          Acct#           Amount
                                 Epstein
                 10/19/2006       #0438          $40,000.00
                                 Epstein
                 11/10/2006       #0438          $40,000.00
                                 Epstein
                 11/20/2006       #0438          $25,000.00
                                 Epstein
                 12/15/2006       #0438          $40,000.00
                                 Epstein
                 1/18/2007        #0438          $40,000.00
                                 Epstein
                 2/20/2007        #0438          $40,000.00
                                 Epstein
                  3/1/2007        #0438          $40,000.00
                                 Epstein
                  4/5/2007        #0438          $40,000.00
                                 NYSG
                  4/5/2007       #3130             $3,000.00
                                 Epstein
                  5/2/2007        #0438          $40,000.00
                                 Epstein
                 6/11/2007        #0438          $40,000.00
                                 Epstein
                 7/10/2007        #0438          $40,000.00
                                 NYSG
                 7/10/2007       #3130             $3,000.00
                                 Epstein
                  8/2/2007        #0438          $40,000.00
                                 Epstein
                  9/4/2007        #0438          $40,000.00
                                 Epstein
                 9/19/2007        #0438          $40,000.00
                                 Epstein
                 10/24/2007       #0438          $40,000.00
                                 Epstein
                 11/27/2007       #0438          $40,000.00



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                           Transaction
                              Date              Acct#              Amount
                                                Epstein
                            12/14/2007           #0438             $40,000.00
                                                Epstein
                             1/7/2008            #0438             $40,000.00
                                                Epstein
                             2/13/2008           #0438             $40,000.00
                                                NYSG
                             2/13/2008          #3130               $3,000.00
                                                Epstein
                             3/5/2008            #0438             $40,000.00
                                                Epstein
                             4/1/2008            #0438             $40,000.00
                                                Epstein
                             4/24/2008           #0438             $40,000.00
                                                Epstein
                             5/21/2008           #0438             $40,000.00
                                                Epstein
                            6/16/2008            #0438              $40,000.00
                           Grand Total                           $1,134,000.00

247.      From August 2006 through November 2013, JPMorgan recorded $2,485,560.00 in cash

withdrawals from Epstein’s JPMorgan accounts (relevant transactions identified and summarized

in the chart below).29


                   Transaction Date                    Acct#                 Amount
                                                       Epstein
                       8/10/2006                       #0438                  $40,000.00
                                                       Epstein
                       8/24/2006                       #0438                  $40,000.00
                                                       Epstein
                         9/7/2006                      #0438                  $60,000.00
                                                       Epstein
                       9/21/2006                       #0438                  $40,000.00
                                                       Epstein
                      10/19/2006                       #0438                  $40,000.00

29
     This chart identifies and summarizes currency transaction reports filed by JPMorgan (Ex. 79).
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          Transaction Date               Acct#                 Amount
                                         Epstein
             11/10/2006                  #0438                  $40,000.00
                                         Epstein
             11/20/2006                  #0438                  $25,000.00
                                         Epstein
             12/15/2006                  #0438                  $40,000.00
                                         Epstein
             1/18/2007                   #0438                  $40,000.00
                                         Epstein
             2/20/2007                   #0438                  $40,000.00
                                         Epstein
              3/1/2007                   #0438                  $40,000.00
                                         Epstein
              4/5/2007                   #0438                  $40,000.00
                                         NYSG
              4/5/2007                   #3130                   $3,000.00
                                         Epstein
              5/2/2007                   #0438                  $40,000.00
                                         Epstein
             6/11/2007                   #0438                  $40,000.00
                                         Epstein
             7/10/2007                   #0438                  $40,000.00
                                         NYSG
             7/10/2007                   #3130                   $3,000.00
                                         Epstein
              8/2/2007                   #0438                  $40,000.00
                                         Epstein
              9/4/2007                   #0438                  $40,000.00
                                         Epstein
             9/19/2007                   #0438                  $40,000.00
                                         Epstein
             10/24/2007                  #0438                  $40,000.00
                                         Epstein
             11/27/2007                  #0438                  $40,000.00
                                         Epstein
             12/14/2007                  #0438                  $40,000.00
                                         Epstein
              1/7/2008                   #0438                  $40,000.00
                                         Epstein
             2/13/2008                   #0438                  $40,000.00

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          Transaction Date               Acct#                 Amount
                                         NYSG
             2/13/2008                   #3130                   $3,000.00
                                         Epstein
              3/5/2008                   #0438                  $40,000.00
                                         Epstein
              4/1/2008                   #0438                  $40,000.00
                                         Epstein
             4/24/2008                   #0438                  $40,000.00
                                         Epstein
             5/21/2008                   #0438                  $40,000.00
                                         Epstein
             6/16/2008                   #0438                  $40,000.00
                                         Epstein
             7/10/2008                   #0438                  $20,000.00
                                         NYSG
             7/10/2008                   #3130                   $3,000.00
                                         Epstein
             8/22/2008                   #0438                  $20,000.00
                                         Epstein
             9/10/2008                   #0438                  $20,000.00
                                         Epstein
             10/2/2008                   #0438                  $40,000.00
                                         Epstein
             10/7/2008                   #0438                  $40,000.00
                                         Epstein
             11/13/2008                  #0438                  $20,000.00
                                         Epstein
             12/11/2008                  #0438                  $20,000.00
                                         NYSG
             12/11/2008                  #3130                   $3,000.00
                                         Epstein
             1/13/2009                   #0438                  $20,011.00
                                         Epstein
              3/5/2009                   #0663                  $30,000.00
                                         Epstein
             3/30/2009                   #0438                  $30,000.00
                                         Epstein
             6/17/2009                   #0663                  $30,000.00
                                         Epstein
             8/20/2009                   #0438                  $30,000.00

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          Transaction Date               Acct#                 Amount
                                         Epstein
             11/19/2009                  #0438                  $20,000.00

                                116 East 65th St LLC
             11/19/2009                #4235                     $5,000.00
                                      Epstein
              3/2/2010                 #0438                    $20,000.00
                                      Epstein
              4/1/2010                 #0438                    $20,000.00
                                      Epstein
             4/21/2010                 #0438                    $30,000.00
                                      Epstein
             7/19/2010                 #0438                    $30,000.00
                                      Epstein
             7/23/2010                 #0438                    $13,397.00
                                      Epstein
             8/19/2010                 #0438                    $30,000.00
                                      Epstein
             9/27/2010                 #0438                    $40,000.00
                                      Epstein
             10/29/2010                #0663                    $30,000.00
                                      Epstein
             12/30/2010                #0438                    $40,000.00
                                      Epstein
             2/14/2011                 #0438                    $40,000.00
                                      Epstein
             4/12/2011                 #0438                    $40,000.00
                                      Epstein
             5/27/2011                 #0438                    $40,000.00
                                      Epstein
              7/8/2011                 #0438                    $40,000.00
                                      Epstein
              8/5/2011                 #0438                    $40,000.00
                                     Hyperion
             10/6/2011                 #4332                    $30,000.00
                                     Hyperion
             12/13/2011                #4332                    $30,000.00
                                     Hyperion
             2/21/2012                 #4332                    $30,000.00


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                   Transaction Date                 Acct#                   Amount
                                                   Hyperion
                       3/19/2012                    #4332                    $30,000.00
                                                   Hyperion
                       5/29/2012                    #4332                    $30,000.00
                                                   Hyperion
                         7/9/2012                   #4332                    $30,000.00
                                                   Hyperion
                       7/31/2012                    #4332                    $30,000.00
                                                   Hyperion
                       9/10/2012                    #4332                    $30,000.00
                                                   Hyperion
                       9/28/2012                    #4332                    $30,000.00
                                                   Hyperion
                      10/23/2012                    #4332                    $40,000.00
                                                   Hyperion
                       12/7/2012                    #4332                    $40,000.00
                                                   Hyperion
                       2/28/2013                    #4332                    $40,000.00
                                                   Hyperion
                         6/4/2013                   #4332                    $40,000.00
                                                   Hyperion
                         8/1/2013                   #4332                    $20,000.00
                                                   Hyperion
                      11/1/2013                     #4332                    $97,152.00
                     Grand Total                                          $2,485,560.00

248.      From September 2008 through November 2013, JPMorgan recorded $1,308,560 in cash

withdrawals from Epstein’s JPMorgan accounts (relevant transactions identified and summarized

in the chart below).30

                    Transaction Date             Acct#               Total Cash
                                                 Epstein
                         9/10/2008               #0438                  $20,000.00
                                                 Epstein
                         10/2/2008               #0438                  $40,000.00



30
     This chart identifies and summarizes currency transaction reports filed by JPMorgan (Ex. 79).
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           Transaction Date           Acct#            Total Cash
                                     Epstein
              10/7/2008              #0438                $40,000.00
                                     Epstein
              11/13/2008             #0438                $20,000.00
                                     Epstein
              12/11/2008             #0438                $20,000.00
                                     NYSG
              12/11/2008             #3130                 $3,000.00
                                     Epstein
              1/13/2009              #0438                $20,011.00
                                     Epstein
               3/5/2009              #0663                $30,000.00
                                     Epstein
              3/30/2009              #0438                $30,000.00
                                     Epstein
              6/17/2009              #0663                $30,000.00
                                     Epstein
              8/20/2009              #0438                $30,000.00
                                     Epstein
              11/19/2009             #0438                $20,000.00
                                 116 East 65th St
                                      LLC
              11/19/2009             #4235                 $5,000.00
                                     Epstein
               3/2/2010              #0438                $20,000.00
                                     Epstein
               4/1/2010              #0438                $20,000.00
                                     Epstein
              4/21/2010              #0438                $30,000.00
                                     Epstein
              7/19/2010              #0438                $30,000.00
                                     Epstein
              7/23/2010              #0438                $13,397.00
                                     Epstein
              8/19/2010              #0438                $30,000.00
                                     Epstein
              9/27/2010              #0438                $40,000.00



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           Transaction Date          Acct#              Total Cash
                                     Epstein
              10/29/2010             #0663                 $30,000.00
                                     Epstein
              12/30/2010             #0438                 $40,000.00
                                     Epstein
              2/14/2011              #0438                 $40,000.00
                                     Epstein
              4/12/2011              #0438                 $40,000.00
                                     Epstein
              5/27/2011              #0438                 $40,000.00
                                     Epstein
               7/8/2011              #0438                 $40,000.00
                                     Epstein
               8/5/2011              #0438                 $40,000.00
                                    Hyperion
              10/6/2011              #4332                 $30,000.00
                                    Hyperion
              12/13/2011             #4332                 $30,000.00
                                    Hyperion
              2/21/2012              #4332                 $30,000.00
                                    Hyperion
              3/19/2012              #4332                 $30,000.00
                                    Hyperion
              5/29/2012              #4332                 $30,000.00
                                    Hyperion
               7/9/2012              #4332                 $30,000.00
                                    Hyperion
              7/31/2012              #4332                 $30,000.00
                                    Hyperion
              9/10/2012              #4332                 $30,000.00
                                    Hyperion
              9/28/2012              #4332                 $30,000.00
                                    Hyperion
              10/23/2012             #4332                 $40,000.00
                                    Hyperion
              12/7/2012              #4332                 $40,000.00
                                    Hyperion
              2/28/2013              #4332                 $40,000.00


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                    Transaction Date             Acct#               Total Cash
                                                Hyperion
                         6/4/2013                #4332                  $40,000.00
                                                Hyperion
                         8/1/2013                #4332                  $20,000.00
                                                Hyperion
                       11/1/2013                 #4332                  $97,152.00
                      Grand Total                                    $1,308,560.00

249.      From August 2013 through November 2013, JPMorgan recorded $117,152 in cash

withdrawals from Epstein’s JPMorgan accounts (relevant transactions identified and summarized

in the chart below).31

                    Transaction Date             Acct#               Total Cash
                                                Hyperion
                         8/1/2013                #4332                  $20,000.00
                                                Hyperion
                       11/1/2013                 #4332                  $97,152.00
                      Grand Total                                      $117,152.00

250.



                                                                              Ex. 158 at -133-134,

-206-210.                                                                            Id. at -134.




                                                                                  Ex. 159 at –001-

002, -175-182.

                     Id. at -001.




31
     This table identifies and summarizes currency transaction reports filed by JPMorgan (Ex. 79).
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JPMorgan Benefited from Participation in Epstein’s Sex-Trafficking Venture

251.   JPMorgan first opened an account for Epstein in 1985. Ex. 39 at Resp. 1.

252.   JPMorgan admits that it earned fees and revenue from providing banking services to

Epstein. Ex. 39 at Resp. 7.

253.   One of the factors impacting bonuses for JPMorgan Private Bankers was the revenues that

clients brought into the bank. Ex. 160 at 46:11-18; 48:4-49:18.

254.   In 2003, Epstein brought in over $8.1 million in revenue to the Private Bank. Ex. 161 at -

088.

255.   Epstein’s $8.1 million in revenue in 2003 was the most investor revenue for JPMorgan

Wealth Management. Ex. 161 at -088.

256.   Epstein’s $8.1 million in revenue in 2003 was nearly double the amount of JPMorgan

Wealth Management’s second-highest client. Ex. 161 at -088.

257.   In 2003, “Jeffrey Epstein, through the trading of his accounts and that [sic] of

           , generates one of the largest annual revenue flows of private clients in the private bank.”

Ex. 162 at -098. In 2004, Epstein’s JPMorgan Banker considered the Epstein/Wexner relationship

a “crucial relationship to the private bank.” Ex. 163 at -030.

258.   Leading up to Epstein’s indictment in 2006, he was one of JPMorgan’s “very big clients.”

Ex. 164 at -615.; Ex. 46 at 85:9-86:18.

259.   In October 2006, Epstein’s JPMorgan accounts totaled approximately $32 million. Ex. 76

at -953.

260.   At the October 2006 Rapid Response Team meeting, “[a]fter internal discussion with Jes

Staley, Mary Erdoes, Catherine Keating, John Duffy and Mary Casey, it was decided that we will




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keep Mr. Epstein solely as a banking client and on a ‘reactive’, client service basis.” Ex. 39 at

Resp. 44 (citing JPM-SDNYLIT-00127953 (Ex. 76)).

261.   Kevin McCleerey testified that these conditions were imposed to “mitigate[] the risk”

presented by Epstein by capping “the number of accounts and relationships with him.” Ex. 35 at

119:2-120:5.

262.   In October 2007, JPMorgan continued doing “business as usual with Epstein’s office.” Ex.

102 at -963.

263.   At the time, Mary Erdoes wanted to “move forward based on our earlier decision to

continue doing business” with Epstein. Ex. 102 at -962; Ex. 32 at 264:16-265:2; 273:24-274:22.

264.   By July 2008, Epstein’s JPMorgan accounts had increased to total approximately $121.5

million. Ex. 165 at 944; Ex. 32 at 309:8-311:3.

265.   On August 28, 2008, Mary Casey emails Marcus Sheridan, subject: “Re: ‘09 plan” and

said: “Also, I would count Epstein’s assets as a probable outflow for ‘08 ($120mm or so?) as I

can’t imagine it will stay (pending Dimon review).” Ex. 301 at -706_R.

266.   On September 3, 2008, Epstein’s JPMorgan accounts had a PCN Market Value of

$156,218,451.45. Ex. 166 at -758; Ex. 39 at Resp. 3.

267.   JPMorgan admits that in October 2010 Epstein was one of JPMorgan’s top 20 clients in

the Closely Held Business Group. Ex. 39 at Resp. 4.

268.   In December 2010, Epstein’s JPMorgan Banker (Morris) listed Epstein as his top client.

Ex. 167 at -654.

269.   At the time, the Banker noted that Epstein was an “active trader w/ GIO” (or “Global

Investment Opportunities, Private Bank’s investment division). Ex. 167 at -654.

270.   The Banker also noted Epstein had net worth of $500 million. Ex. 167 at -654.



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271.   By 2011, Epstein was JPMorgan Private Bank’s “GIO’s biggest revenue producer.” Ex.

168 at -977.

272.   By July 2013, Epstein was still actively trading through the GIO. Ex. 169 at -230.

273.   At the time, Epstein’s Banker (Justin Nelson) described Epstein as “one of the most active

and sophisticated investors on the GIO desk.” Ex. 169 at -230.

274.   In September 2013, JPMorgan noted the impact of exiting Epstein roughly equated to “-

$0.5MM YoY revenue decrease in 2013. In 2014 it will be roughly a -$2MM revenue impact.”

Ex. 170 at -016. JPMorgan further noted, “He currently has $176MM with us and actually has

TCP flows of +$72MM this year.” Id.

275.   In or about the year 2000, Douglas “Sandy” Warner, then CEO of JPMorgan, said to Staley

(then Head of Private Bank), “…[Y]ou should meet meet [sic] Epstein. He’s one of the most

connected people I know of in New York.” Ex. 46 at 45:18-47:4.

276.   JPMorgan admits Epstein introduced and referred potential clients to JPMorgan Private

Bank. Ex. 39 at Resps. 5, 6.

277.   Epstein referred a number of ultra-high net worth clients to JPMorgan over the years. Ex.

48 at Resp. 17; Ex. 46 at 86:19-23.

278.   One of the factors impacting bonuses for JPMorgan Private Bankers was new client

acquisition. Ex. 171 at 83:18-84:4.

279.   One of the objectives that was instilled in JPMorgan Private Bankers was to acquire new

clients. Epstein referred Bill Gates as a client to JPMorgan. Ex. 46 at 88:3-4.

280.   Epstein referred Sergey Brin as a client to JPMorgan. Ex. 46 at 87:2-4.

281.   Epstein referred Google LLC as a client to JPMorgan. Ex. 46 at 87:5-6.




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282.     Epstein referred the Sultan of Dubai, Sultan Ahmed bin Sulayem as a client to JPMorgan.

Ex. 46 at 87:7-8.

283.     Epstein referred Mort Zuckerman as a client to JPMorgan. Ex. 46 at 87:15-16.

284.     Epstein referred                  as a client to JPMorgan. Ex. 46 at 87:17-18.

285.     Epstein referred David Gergen as a client to JPMorgan. Ex. 46 at 88:8-9.

286.     Epstein referred Boris Nikolic as a client to JPMorgan. Ex. 46 at 88:10-11; Ex. 160 at

17:13-18:4.

287.     Boris Nikolic was a medical advisor, who ran a venture fund. Ex. 160 at 17:13-18:4.

288.     Boris Nikolic was “somehow related to Bill Gates.” Ex. 160 at 17:13-18:4.

289.     Epstein referred Larry Summers as a client to JPMorgan. Ex. 46 at 88:12-13.

290.     Epstein referred Thomas Pritzker, chairman and CEO of the Pritzker Organization, as a

client or for additional activities or funds to JPMorgan. Ex. 172 at Resp. 49; Ex. 46 at 310:19-

311:4.

291.     Epstein facilitated meetings between Staley and Ehud Barak. Ex. 46 at 89:11-16.

292.     In January 2008, Epstein facilitated an introduction between JPMorgan executives and

Ehud Barak, and Staley directed his assistant to arrange the meeting through Jamie Dimon’s office.

Ex. 173 at -152.

293.     Epstein facilitated meetings between Staley and Peter Mandelson. Ex. 46 at 90:20-24.

294.     Lord Peter Mandelson was a senior member of the British Government. Ex. 144 at -009.

295.     On June 5, 2009, Epstein wrote to Staley, “well , [sic] for all intends [sic] and purposes

peter mandelson is now deputy prime minister.” Ex. 174 at -959; Ex. 144 at -009; Ex. 175 at 6.




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296.   On June 17, 2009, Epstein wrote to Staley, “peter will be staying at 71 st over weekend, do

you want to organize either you, or you and Jamie,, [sic] quietly,, [sic] up to you.” Ex. 176 at -005;

Ex. 144 at -009; Ex. 175 at 6.

297.   In January 2009, Epstein wrote to Staley, “david gergen is coming to see me today.. [sic]

we should talk before twelve.” Ex. 177 at -763; Ex. 144 at -006; Ex. 175 at 4.

298.   David Gergen is a former adviser to Presidents Nixon, Ford, Reagan, and Clinton. Ex. 144

at -006.

299.   Epstein facilitated meetings between JPMorgan employees and Prince Andrew. Ex. 46 at

96:13-16.

300.   On April 15, 2010, Epstein wrote to Prince Andrew the Duke of York,                           ,

“jes staley will be in London on thurs the 22.. [sic] i think you should meet if you are in town..

[sic].” Ex. 178 at -534; Ex. 144 at -011; Ex. 175 at 6.

301.   On May 18, 2010, Epstein wrote to Staley, “anadrew [sic] will try to see you on your trip

to london.” Ex. 179 at -970; Ex. 144 at -011; Ex. 175 at 6.

302.   On September 2, 2010, Lesley Groff wrote to Epstein, “Jes Staley’s office called saying

last night Jes met up with Prince Andrew and Tim Collins.” Ex. 180 at -703; Ex. 144 at -011; Ex.

175 at 7.

303.




                                                                            Ex. 181 at -071.

                                          Id.                                             Id.



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304.     On December 22, 2010, Prince Andrew wrote to Staley, “Wishing you a very happy

Christmas and New Year. Sorry to have missed you this week. . . . Hope to catch up sometime

after the New Year. I will be at Davos as usual.” Ex. 182 at -808; Ex. 144 at -011; Ex. 175 at 7.

305.     In November 2013, Prince Andrew hosted Jamie Dimon for dinner and performances at

Buckingham Palace. Ex. 183 at -462-63.

306.     Epstein facilitated meetings between Staley and Bill Gates. Ex. 46 at 92:20-23.

307.     Epstein introduced his JPMorgan banker (Paul Morris) to Andrew Farkas. Ex. 160 at 15:23-

17:12.

308.     Andrew Farkas is a major real estate investor who founded Island Capital Group. Ex. 144

at -006.

309.     Epstein introduced JPMorgan to David Mitchell, a real estate developer. Ex. 160 at 14:20-

15:5.

310.     Epstein referred Robert Lee Burch II, former CEO of Jonathan Engineered Solutions and

member of A.W. Jones’ advisory board, as a client to JPMorgan. Ex. 184 at -986; Ex. 39 at Resp.

29.

311.     In 2003, Epstein’s JPMorgan Private Banker (Casey) noted that Epstein “helped us source

several managers, including Glenn Dubin and Steve Saltzman.” Ex. 185 at -893.

312.     In July 2006, Susan Mickel wrote to Mary Casey, “Approved New Business. . . . Mr. Joseph

Pagano is the CEO, Chairman and President of Sentigen Bio Services. . . . Mr. Pagano’s interest

in Sentigen is                           . . . . He was referred by Jeffrey Epstein, a PB client.” Ex.

186 at -184_R.

313.     In January 2008, JPMorgan approved Dale Reed to accept a gift from his client, Michael

Ovitz. The approval noted in Michael Ovitz’s bio, “Through Jeffrey Epstein, Jes Staley has



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established a direct dialogue with Ovitz which has enabled us to pursue various opportunities in

connection with his Disney stock options, his TV production company and other entertainment-

related projects.” Ex. 187 at -559.

314.

                                 Ex. 188 at -001-003; Ex. 189 at -008.

315.    Sergey Brin became a client of JPMorgan’s San Francisco Private Bank in 2004. Ex. 190

at -710.

316.    Staley referred Brin to Robert Keller, JPMorgan Banker/Managing Director in San

Francisco. Ex. 189 at -001; Ex. 190 at -709.

317.    On October 24, 2006, Mary Erdoes emailed Zach Hulsey and Catherine Keating, cc’ing

Jes Staley. The subject of the email was “google.” Erdoes wrote, “this is NOTHING to do with the

abilities of the SF team. This is solely because of our need to have a NY team cover a NY person,

Jeffrey Epstein (as the advisor to the partners).” Ex. 191 at -185.

318.    That same day, Ann Borowiec emailed Patricia Lunka and Barry Berger with the subject

“big new business oppy.” Ann wrote, “Catherine called and Jes and she picked the NY based team

to work with Jeffrey Epstein (advisor) on business oppy associated with GRATS that are

terminating for Google founders. It need [sic] to be NY. I need to tell you the story here . . . .” Ex.

192 at -515.

319.    That same day, Ann Borowiec wrote to Zach Hulsey, “Catherine just spoke to me about

the Google founder GRATS and Jeffrey Epstein’s role as advisor. She wants me to set up conf.

call . . . .” Ex. 193 at -516.

320.    Also, that day, Ann Borowiec emailed several JPMorgan employees, “We are setting up a

conference call . . . . We are doing this at Catherine’s request. It is to get the necessary background



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on the potential investment mgt opportunity associated with Jeffrey Epstein (advisor) to the trusts

set up on behalf of the Google founder’s kids.” Ex. 194 at -517.

321.    On October 26, 2006, Ann Borowiec emailed Barry Berger and Patricia Lunka with the

subject “Jeffrey epstein.” She wrote, “would love to know more about him. Can you have analyst

get info. I am sure we will pull up the controversial stuff, which I do want to see. But I am interested

in him more broadly.” Ex. 195 at -519.

322.    On October 26, 2006, Ann Borowiec emailed Jes Staley, “Catherine spoke to me about the

need to have a NY team for Jeffrey Epstein, as the advisor to the Google founders.” Ex. 196 at -

356.

323.    Later that day, Ann Borowiec emailed Joseph Markovich and Barry Berger, “which analyst

has capacity to do research on this friday. Should only take 1/2 hour max.” Joseph Markovich

responded, “Pooja will do the research. Is this Epstein, Jeffrey Epstein? existing client who has

made headlines recently? If so, I happened to have cut the last article about him out of the Times

since I knew he was a client. I had it on my desk and gave it to Pooja.” Ex. 197 at -520.

324.    On October 27, 2006, Pooja Sinha emailed Ann Borowiec a New York Times article titled

“Questions of Preferential Treatment Are Raised in Florida Sex Case.” Ex. 198 at -522.

325.    On November 15, 2006, Ann Borowiec emailed John Duffy, “I hope you are familiar with

the Jeffrey Epstein story where Bob Blanch and Barry Berger went to meet with him. At that

meeting, Jeffrey said he had other clients (besides google founders) that we could help. Howard

Rubenstein has called Barry saying Jeffrey said he was brilliant. . . . This is President of Rubenstein

Associates.” Ex. 199 at -590.




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326.    On December 19, 2006, Ann Borowiec emailed Jes Staley, “. . . if you want to touch base

with Jeffrey Epstein, Barry and Bob are ready for the next step on the Google founders as

appropriate.” Ex. 200 at -423.

327.    On January 3, 2007, Ann Borowiec emailed Jes Staley, “Jeffrey called barry on tuesday

with sergi [sic] in the room to ask some technical questions on the trust. I am assuming that we

have passed the interview and we will officially move over the relationship to our team on the

systems.” Ex. 201 at -152.

328.    On January 9, 2007, Irene Mancuso emailed Ann Borowiec with the subject “Barry’s

Update” and an attachment, “Ann Update 1-9-2006.” Ex. 202 at -668. The attachment said, “As to

Jeff Epstein related initiatives, again you can give verbal update in view of recent telephone

conversations you have had with Jes and Mary and I with Jeff. Also, as you know, earlier today,

Jeff called me to say he has asked two potential new clients in 200M range (Nick Ribis and Ben

Jacobson) to call me directly.” Ex. 203 at -670.

329.    On January 11, 2007, Barry Berger emailed Ann Borowiec with the subject, “Jeffrey E.

referrals!” Barry wrote, “just got call from one of Jeff’s referrals, Nick Ribis . . . (he is principal

in Colony Capital, $6billion [sic] private equity fund, specializing in ownership of casinos (Resorts

Int’l,etc. [sic])). . . . He also thought unnecessary to invite Jeffrey, but I will call Jeff and let him

know Nick called me. . . .” Ex. 204 at -671.

330.    On January 31, 2007, Ann Borowiec emailed Andrew Cohen with the subject, “Ovitz.”

Ann wrote, “Just wanted to update you that Jes and one of Jes’s friends (Jeffrey Epstein) have told

Michael to call Barry berger . . . . Michael has called Barry and they did speak.” Ex. 205 at -720.

331.    In July 2014, JPMorgan noted “[t]he overall Brin relationship is one of the largest in the

Private Bank, of +$4BN.” Ex. 190 at -710.



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332.    Brin and the CEO, CFO, and CIO of his family office, Bayshore Global, met with Mary

Erdoes, Kelly Coffey, John Duffy and other JPMorgan regional executives. Ex. 190 at -709.

333.    In February 2006, Epstein facilitated an introduction between Jes Staley and the Sultan of

Dubai, Sultan Ahmed Bin Sulayem. Ex. 61 at -033.

334.    On February 8, 2006,                 , Epstein’s assistant and alleged co-conspirator, wrote

to Staley, “Jeffrey had me email the Sultan of Dubai and ask if he could meet with you while you

are in Dubai. He said March 16th would work for him. . . .” Ex. 61 at -033.

335.    On February 14, 2006, Staley forwarded the email to Mahmoud Difrawy, JPMorgan

Private Bank Middle East Region Executive, asking “What should I say to the Sultan?” Ex. 206 at

-037; Ex. 207 at 1. Difrawy responded, “We would certainly like to meet with Sultan privately and

it would be nice if he could organise meetings with 2 of his colleagues. . . . They are the three that

executed his vision about the development of Dubai to rival Singapore and Hong Kong as an

offshore business and tourist destination. . . . We will fix other meetings around them.” Ex. 206 at

-037.

336.    Sultan Ahmed bin Sulayem, was a senior United Arab Emirates official involved in

ownership of the Dubai Ports. Ex. 144 at -009.

337.    On December 7, 2009, Epstein wrote to Staley, “if you can have a one on one off the record

with sultan , [sic] he will meet you.” Ex. 208 at -724; Ex. 144 at -012; Ex. 175 at 7.

338.    On December 8, 2009, Epstein wrote to Staley, “no to china /ports yet.. [sic] sultan will

meet you privately to give you guidance. . . .” Ex. 209 at -897; Ex. 144 at -012; Ex. 175 at 7.

339.    On December 8, 2009, Epstein wrote to Sultan bin Sulayem, copying Staley, “sultan , [sic]

jes is free thurs,, [sic] from 5-10 p.m. where and when,, [sic] only the two of you please.” Ex. 210

at -727; Ex. 144 at -012; Ex. 175 at 7.



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340.   On December 9, 2009, Epstein wrote to Staley, “sultan is laying the groundwork for you

to establish a serious presence.. [sic] jpm reputation in the region is poor.” Ex. 211 at -729; Ex.

144 at -012; Ex. 175 at 7.

341.   Epstein’s client, Leon Black, was a customer of JPMorgan Private Bank. Ex. 39 at Resp.

192.; Ex. 212 at -010; Ex. 160 at 38:4-41:13.

342.   One of Epstein’s JPMorgan Bankers testified, “Leon Black had a very significant net worth

and he was a CEO of a large investment firm, and I looked at him as a priority prospect.” Ex. 160

at 53:15-54:2.

343.   Epstein occasionally brought opportunities to JPMorgan for them to “deepen” their

relationship with Leon Black. Ex. 171 at 46:9-15.

344.   In July 2012, Epstein sought a loan through JPMorgan on behalf of Leon Black for an art

purchase. Ex. 213 at -569; Ex. 160 at 173:8-21.

345.   On October 19, 2012, John Duffy emailed Faraj Saghri, “Did we ever engage with Leon

on a loan for his art purchase?” Faraj responded, “Not on our end. . . . I have a suspicion that the

Epstein episode was not helpful to our relationship and connectivity with Leon.” Ex. 214 at -112.

346.   In May 2013, Thomas McGraw emailed Janine Racanelli with the subject, “Jeffrey Epstein

– Leon Black.” He wrote, “Jeffrey just called to discuss meeting. There is a $1B credit facility

with JPM in the mix. . . .” Ex. 215 at -892.

347.   In August 2013, Eileen Alexanderson, Apollo Advisors, emailed Justin Nelson, “Justin, I

come referred to you by Jeffrey Epstein. I run Leon Black’s family office. I am hoping Jeffrey

gave you a heads up on my calling. At your convenience, I would be interested in discussing

potential terms for a collateralized personal borrowing by Mr Black.” Ex. 216 at -912.




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348.



                                                                   Ex. 217 at -423.

349.

                        Ex. 218 at -646.

350.   On March 23, 2011, Roy Navon wrote Jacob Frenkel and Staley, “Against all odds, we

have been granted a meeting with Prime Minister Netanyahu.” Staley forwarded the email from

Navon to Epstein and said, “Thanks.” Epstein responded to Staley, “surprisee [sic] surprise.” Ex.

219 at -841; Ex. 144 at -008; Ex. 175 at 6.

351.   On April 10, 2011, Epstein wrote to Staley, “I will be back tomorow. [sic] Karim Wade

son of the senegalese president and one of the most important players in africa, will be at the house

this week, i think you will enjoy him.” Ex. 220 at -260; Ex. 144 at -008; Ex. 175 at 6.

352.   On September 16, 2011, Epstein wrote to Staley, “co founder of facebook , [sic] and

founder of spotify, sean parker , [sic] will be at the house for dinner on sunday —come.” Ex. 221

at -368; Ex. 144 at -009; Ex. 175 at 6.

353.   JPMorgan admits that Justin Nelson communicated with James Staley about Jeffrey

Epstein between 2014 and the present. Ex. 222 at Resp. 5.

354.   In August 2013, after JPMorgan informed Epstein of the decision to exit him from the

bank, Duffy and Erdoes decided it was okay to continue working with Epstein as long as it was

through his client accounts. Ex. 212 at -010; Ex. 171 at 174:19-175:23.

355.   JPMorgan continued to work with Epstein on accounts for Leon Black, CEO of Apollo, a

private equity group. Ex. 223 at -344; Ex. 224 at -434-35; Ex. 225 at -511; Ex. 226 at -218-19; Ex.

171 at 45:8-13.



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356.   Duffy gave Epstein’s JPMorgan Banker (Nelson) permission to continue a relationship

with Epstein as a potential source of referrals. Ex. 171 at 172:2-175:9.

357.   Nelson maintained a relationship with Epstein after he was terminated as a client. Ex. 171

at 43:6-24.

358.   Nelson met with Epstein 8 to10 times after Epstein was terminated. Ex. 171 at 177:12-18.

359.   JPMorgan admits that Mary Casey met with Epstein at his Manhattan townhouse two or

three times between 2000 and before Epstein’s arrest in 2006. JPMorgan admits that Mary Casey

also met with Epstein at his Manhattan townhouse once in 2011 and once in the summer of 2013.

Ex. 227 at Resp. 21.

360.   In October 2013, Thomas McGraw emailed Justin Nelson, “I spent about an hour with

Jeffrey Epstein about a week ago at his request to discuss some planning strategies he

contemplating [sic] for Leon Black. Are we still doing any business with him or his clients &/or

is there any way for us to insert ourselves or get Jeffrey to insert us into transactions with people

he apparently influences like Leon?” Ex. 228 at -644.

361.   In January 2014, Epstein emailed Justin Nelson, “pleaes [sic] meet with eileen

alexanderson, leon and i will talk with duffy.” Ex. 229 at -300.

362.   In February 2014, John Duffy emailed Faraj Saghri, “Eileen wants to open accounts for

Leon/Leon entities via Justin.” Saghri responded, “Spoke to Andrew and Pierre. Andrew will call

Justin and initiate relationship transfer. We all remain very concerned about the Epstein link.”

Duffy responded, “Totally get it – I’m sure this was hard for the team.” Ex. 230 at -592.

363.   In May 2015, Epstein emailed Thomas McGraw, “tom take a look at these and would like

to speak toorw [sic] re hedge fund money required to return to us as well as tech co overseas funds




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being brought back to US . . . also wanted to talk about no limit insurance that justin mentioned.”

Ex. 231 at -975.

364.     In October 2015, Paul Barrett, Managing Director Global Investment Opportunities Group

at     JPMorgan,   sent   a   proposed   $20mm     investment    portfolio   to   Brad   Wechsler,

BWechsler@elysllc.com, cc’ing Jeffrey Epstein. Ex. 232 at -177.

365.     In April 2017, Justin Nelson emailed Jeffrey Epstein with the subject “LB” and wrote, “Is

Barry up and running at Elysium yet? Would love to meet him.” Ex 233 at -618.

366.     JPMorgan admits Epstein was involved in the establishment of a customer relationship

with Kathryn Ruemmler. Ex. 234 at Resp. 3.

367.     In February 2019, Lesley Groff, Epstein’s assistant and one of Epstein’s co-conspirators,

offered to introduce Mary Erdoes to Kathy Ruemmler, former White House counsel to President

Barack Obama, because she wanted to open an account with JPMorgan and Epstein thought the

two of them “would bond.” Ex. 235 at -394.

368.     Erdoes escalated the referral to Stacey Friedman, JPMorgan’s General Counsel, who

responded “she is a rock star litigator at Latham. . . . I would think she would be a great client.”

Ex. 236 at -392.

369.     In July 2019, JPMorgan employees noted that “Apollo (Leon’s IA) has                      in

assets in WM.” Ex. 237 at 467.

370.



                Ex. 238 at -063.

371.     Epstein was close friends with Glenn Dubin, the billionaire co-founder of Highbridge, and

godfather to one of Dubin’s children. Ex. 239 ¶ 3; Ex. 240 at -164; Ex. 123 at 173:19-74:1.



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372.     Epstein advised JPMorgan regarding the acquisition. Ex. 241 at 590; Ex. 242 at -149-50.

373.     Epstein also advised Highbridge regarding the acquisition. Ex. 241 at -590; Ex. 242 at -

149-50

374.     On June 16, 2004, James Von Moltke emailed Jes Staley and David Brigstocke with the

subject line, “Thoughts on the 6/15/04 meeting with Highbridge,” stating, “The good news is that

we did not leave any money on the table and that, based on the 9-11x multiple range we discussed

with Dimon et al . . . They should be encouraged to go ahead with the Dimon and Coulter lunch. .

. . This would be a good part of a follow-up discussion, ideally with you and prior to the

Dimon/Coulter meeting. . . . We continue to be concerned about the role Jeffrey Epstein is or is

not playing. One concern that we have is that Jeffrey has been educating Glenn & Henry about our

structure and valuation thoughts. . . .” Ex. 242 at -149-50.

375.     On January 14, 2004, the New York Times reported that JPMorgan had agreed to acquire

Bank One and stated: “The combined company will be headed by William B. Harrison, 60, who

is currently the chairman and chief executive of J.P. Morgan Chase. James Dimon, 47, the

chairman and chief executive of Bank One, will become president and chief operating officer of

the combined company. He is to succeed Mr. Harrison as chief executive in 2006, although Mr.

Harrison will remain as chairman.” Ex. 243 at 1.

376.     On July 12, 2004, the Highbridge “Project Alpha” working group included, among others,

Jes Staley, JPMorgan Asset and Wealth Management, AWM, CEO; David Brigstocke, JPMorgan

Asset and Wealth Management, AWM, CFO; Bill Harrison, JPMorgan Chase Executive

Management, Chairman and CEO; Jamie Dimon, JPMorgan Chase Executive Management,

Chairman, CEO and President; Glenn Dubin, Highbridge Capital Management; Henry Swieca,




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Highbridge Capital Management; and Jeffrey E. Epstein, Financial Trust Company and Advisors.

Ex. 244 at -985, -987, -996, -998.

377.    After the Highbridge acquisition, Staley blind-copied Epstein on a draft email in June 2005

to the Asset & Wealth Management Committee, the Investment Committee, Jamie Dimon, and

Glenn Dubin about the Highbridge deal: “You’ve done an amazing job of bringing our businesses

together and delivering numbers . . . that will earn the envy of our industry. Thanks for the

partnership. We are well on our way to resume our position as one of the most respected asset and

wealth managers.” Ex. 245 at -780.

378.    JPMorgan admits that Dubin & Swieca Holdings, Inc. paid Financial Trust Company, Inc.

a fee related to JPMorgan’s acquisition of a majority interest in Highbridge Capital Management

in 2004. Ex. 39 at Resp. 9.

379.    In December 2004, Highbridge Capital Management, LLC paid Epstein’s company,

Financial Trust Company, Inc., $15 million for “Fees for merger and acquisition advice.” Ex. 246

at -246-47.

380.    Highbridge managed $7 billion in assets at the time JPMorgan acquired the majority

interest. Ex. 247 at 1.

381.    On June 11, 2009, JPMorgan completed its purchase of Highbridge and touted it as “one

of the largest and most significant strategic alliances in the hedge fund industry.” Ex. 248 at 1.

382.    At the October 2006 Rapid Response meeting, the Private Bank imposed a condition on

Epstein’s accounts—he could remain a “banking” but not an investment client. Ex. 76 at -953.

383.    At the time, Epstein’s brokerage business was at Bear Stearns, not JPMorgan. Ex. 124 at -

175; Ex. 249 at -787.




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384.     JPMorgan considered him “problematic” from an investment standpoint. Ex. 250 at -254;

Ex. 32 at 97:3-100:1.

385.     The restrictions were largely ignored. Ex. 167 at -654. By 2011, Epstein was the Private

Bank’s investment arm’s “biggest revenue producer.” Ex. 168 at -977.

386.     On March 13, 2013, John Duffy approved opening four new accounts for Epstein including

an account for “an investment company that manages Jeffrey’s personal assets: (Deposit and Asset

Brokerage).” Ex. 251 at -223.

387.     On March 16, 2008, JPMorgan purchased Bear Stearns. Ex. 122 at 1.

388.     The purchase kept Bear Stearns, which was heavily in mortgage-backed securities

investments, from bankruptcy following the housing market crash that led to the 2008 Great

Recession. Ex. 122 at 1.

389.

                                                   Ex. 252 at 1-2.

390.     In August 2009, Epstein sued Bear Stearns for “fraudulently overstat[ing] the value of Bear

Stearns’ mortgages, mortgage-backed and asset-backed securities and other derivative financial

instruments, the adequacy of its liquidity and capital reserves, and the quality of Bear Stearns’ risk

management.” Ex. 253 ¶ 15.

391.     On July 19, 2011, JPMorgan offered Epstein a proposal to settle his High Grade Fund and

Bear Stearns claims together for $21 million. Ex. 254 at -561. The following day, Cutler responded,

“This is not an honorable person in any way. He should not be a client.” Id.

392.     On July 21, 2011, Cutler wrote to Erdoes regarding a settlement offer to Epstein, “I would

like to put it and HIM behind us. Not a person we should do business with – period.” Ex. 255 at -

958_R.



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393.   On August 4, 2011, JPMorgan met for a fourth Rapid Response Meeting regarding Epstein

and concluded that “Duffy to reach out to Jes Staley and advise that we exit while things are a bit

settled.” Ex. 256 at 31.

394.   On April 8, 2011, Nina Shenker emailed Kevin McCleerey with the subject, “Rapid

Response.” Shenker wrote, “[I]f you could break down between ddas, brokerage and fund holdings

and others [sic] categories. So that we can understand the process for offboarding the account.”

Ex. 257 at -025. Kevin McCleerey responded with the attachment, “Rapid Response Team –

Jeffrey Espstein [sic] 3r Mtg – Jan 2011 – March 2011 update-doc.zip.” Employees were working

to collect information to “understand the process for offboarding the account.” Id. at -025.

395.   In July 2011, when Epstein approved the settlement, Nina Shenker, then GC to the Private

Bank, wrote to Erdoes, “Steve [Cutler] at conclusion of JE approval [of Bear Stearns settlement],

asked when we are offboarding JE. I reminded him that we have the other matter outstanding.”

Ex. 258 at -982; Ex. 99 at 268:12-272:24.

396.   On July 26, 2011, Epstein wrote to Erdoes, “lets [sic] move on , [sic] and make some real

money.” Erdoes responded, “Onwards and upwards, on so many fronts.” Ex. 259 at -106.

397.

                                           Ex. 252 at 1-2; Ex. 260 at -610.

398.   On July 22, 2019, Peter Neilson wrote to Jeremy Bell, “Have been working on this (Epstein

et al) today. Top of house requested we expand our analysis to related parties and put together

slides. . . . There is a highbridge angle and one dating back to Bear.” Ex. 261 at -948_R.

399.   On September 8, 2008, Abigail Penzell wrote to Gary Munowitz, Senior Managing

Director at Bear Stearns, “The client is Jeffrey Epstein. Mr. Epstein has begun serving an 18-month

jail term after pleading guilty to soliciting sex from girls as young as 14.” Ex. 262 at -561.



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400.     On October 23, 2008, Munowitz responded, “The broker would like to continue to handle

the accounts. . . . If there is a firm policy regarding a specific course of action let me know.” Ex

262 at -560.

401.     “The Talented Mr. Epstein” states: “in his early 20s [Epstein] got a job teaching physics

and math at Dalton, the elite Manhattan private school. While there he began tutoring the son of

Bear Stearns chairman Ace Greenberg and was friendly with a daughter of Greenberg’s. Soon he

went to Bear Stearns, where, under the mentorship of both Greenberg and current Bear Stearns

C.E.O. James Cayne, he did well enough to become a limited partner—a rung beneath full partner.”

Ex. 49 at 5.

402.     In August 2010, Alan “Ace” Greenberg, who was now at JPMorgan, wanted to continue to

do business with Epstein so he went to Cutler for an exception to the felon policy. Ex. 263 at 910-

11.

403.     In his deposition, Jes Staley agreed that Greenberg was “a fairly important person” with

“heft” at JPMorgan around 2010. Ex. 46 at 173:13-24.

404.     Beginning in 2011, Staley and Erdoes had “regular communication with Jeffrey Epstein

relating to certain strategic initiatives and business proposals.” Ex. 144 at -012; Ex. 175 at 1.

405.     On July 10, 2011, Mary Erdoes emailed Epstein

                                                  Ex. 302 at -555-56; Ex. 303 at -548-49.

406.     JPMorgan admits that Epstein and JPMorgan personnel discussed a potential donor advised

fund relating to The Bill and Melinda Gates Foundation and Bill Gates. Ex. 39 at Resp. 14.

407.     On February 6, 2011, Epstein wrote to Staley regarding a potential donor advised fund for

The Bill and Melinda Gates Foundation, “you could tie it initially just to the gates program,, [sic]

miinimum [sic] gift. 100 million. it could then be opend [sic] up later. IT will be the largest



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foundation in the world . . . . done right its [sic] 100 billion dollars in 2 years. . . . Farming the

investments to a highbridge is no brainer. . . . It will be the most sort [sic] after board in the

country.” Ex. 264 at -591; Ex. 144 at -012; Ex. 175 at 7.

408.   In August 2011, Epstein wrote to Staley and Erdoes regarding                                  ,

noting it will be a “very HIGH profile” opportunity and recommending it require a minimum $100

million donation. Ex. 265 at -652; Ex. 144 at -013; Ex. 175 at 7.

409.   On August 26, 2011, Epstein wrote to Staley and Erdoes, “The opportunities like the DAf

idea , [sic] originates with me, i cook it slowly, adding various ingredients almost fully cook it.

and then want to turn it over to you.” Ex. 266 at -924.

410.



                                                                       Ex. 267 at -666.

411.



                                                                                Ex. 268 at -028.

412.   JPMorgan admits it had communication with Epstein about a fee for Epstein in connection

with a proposed donor advised fund. Ex. 39 at Resp. 15.

413.   On March 2, 2005,                                    emailed Mary Erdoes, “




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                            …thought that might help in lining up a meeting with Epstein…



             ” Erdoes responded, “This helps me to frame for him. I am calling him tomorrow…in

order to give him perspective, can you give me an order-of-magnitude on estimated net worth.”

        responded, “the last stock sales was $100mm. the rest of the shares unsold…is $500mm.”

Ex. 269 at -931-32.

414.    On April 27, 2009, Epstein emailed Staley, “           can meet have dinner lunch a weekend

[sic] with any of the following seth Lloyd mit quantum computing.. [sic] murray gell-man , santa-

fe institute quarks ,, [sic] brian greene Columbia -string theory,, [sic] leonard Susskind ,, [sic]

strings theory, lawrence Krause,, [sic] origins institute phoenix Arizona.. [sic] lee smolin perimeter

institute, loop quantum gravity , [sic] she can see the large adron [sic] collider in switzerland.

private tour.” Ex. 270 at -844; Ex. 144 at -004; Ex. 175 at 4.

415.                                   Ex. 144 at -004.

416.    On September 24, 2010, Staley forwarded an email chain between him,

       and Staley’s wife,                               , regarding a professor at Columbia to Epstein,

“can u [sic] get to this professor at Columbia?” Ex. 271 at -121; Ex. 144 at -004; Ex. 175 at 4. On

September 25, 2010, Epstein responded, “in a snap.” Id.

417.    On December 12, 2008, Erdoes wrote to Staley regarding Bernie Madoff, “. . . glenn and I

have been going back and forth all night. This is terrible. Just terrible.         has over 1b. Nicole

has another client with 1b. We have HUNDREDS of clients with some. The ny/palm beach

community will be in shock. Can you call JE to get scoop from down there?” Ex. 272 at -627.




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418.   On April 7, 2023, in a CNN interview Jamie Dimon, in response to a question about

whether “JPMorgan should have acted more quickly after Epstein pleaded guilty to one of these

charges in 2008” said “Hindsight is a fabulous gift.” Ex. 273 at 21.

419.   In the same CNN interview, Jamie Dimon was asked, “[the U.S. Virgin Islands is] alleging

that your bank helped facilitate payments to Epstein’s victims and benefited from human

trafficking while ignoring warnings. Do those allegations have merit?” Dimon responded, “[W]e

have some of the best lawyers in the world—compliance, out of the DOJ, out of SEC important

divisions who review all of these things and make decisions at the time based on what they know,

as best as they know.” Ex. 273 at 20.

JPMorgan Obstructed Enforcement of the TVPA

420.   Shaun O’Neill, former Special Agent with the Federal Bureau of Investigations (“FBI”),

states that “the FBI relies on financial institutions as a key partner to . . . obtain the information

necessary to answer the questions of who, what, when, where, and why.” Ex. 274 at 17. The

information in JPMorgan’s possession “warranted a constant stream of information from JPMC to

the FBI about Epstein’s ongoing suspicious activity . . . Human trafficking is an ongoing crime,

with harm incurred every day that the crime continues.” Id. at 18. “It shocks the conscience that it

was not until Epstein’s death in prison that JPMC suddenly recognized Epstein’s prior banking

transactions as              ” Id. at 25. O’Neill further states that “When it became public that

Jeffrey Epstein had been arrested and that he had used cash to commit his sexual crimes against

children, JPMC’s                                 impaired the government’s ability to prosecute the

crimes that it was investigating against Epstein.” Id. Further,

                                                   —“the sheer amount of cash being dispersed,”

“more than $3 million was paid by Epstein to women, many of whom had Eastern European



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surnames,” and Epstein’s loan to modeling agency MC2—“Epstein would have been federally

charged at a much earlier date.” Id. at 18-25. “Had the FBI been notified of this             banking

activity all being related to Epstein . . . [Epstein] would not have been able to continue his criminal

activity from 2008 onward.” Id. at 20-21.

421.   In a Due Diligence report, dated March 13, 2013, JPMorgan quoted Special Agent

Christina Pryor as saying information that recorded Epstein’s activities “would have been

extremely useful in investigating and prosecuting the case including names and contact

information of material witnesses and additional victims.” Ex. 275 at -683.

422.   On March 1, 2011, Phillip DeLuca emails Maryanne Ryan in response to a Forbes Blog:

“Jeffrey Epstein: Sex Offender, Yes. Billionaire, No.” and said: “Brunel ‘ranks among the sleaziest

people in the fashion industry. We’re talking about a conveyor belt, not a casting couch. Hundreds

of girls were not only harassed but molested.” Ex. 276 at -422.

423.   In 2019, Brunel was arrested and charged with rape of minors and sexual harassment and

was under investigation for human trafficking. Ex. 277.

424.



Ex. 69 at -545-550.




Ex. 69 at -545.




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Facts Concerning Epstein’s Registration as a Sex Offender in the Virgin Islands

425.   Shani Pinney, coordinator for the sex offender registry, and former Attorney General

Vincent Frazer both testified that they were not responsible for and did not enable Epstein’s crimes.

Ex. 278 at 266:17-268:8; Ex. 280 at 12:9-21, 455:24-456:20.

426.   Epstein never failed to register as a sex offender. Ex. 280 at 85:2-87:2; 442:15-17.

427.   Shani Pinney, coordinator for the sexual offender registry, testified that news reports were

not sufficient basis to initiate an investigation because they did not contain the requisite “concrete

allegations” of wrongdoing. Ex. 280 at 12:9-21; 415:1-20; 446:5-447:9; 447:16-449:1.

428.   Former Attorney General Denise George similarly testified that she couldn’t rely on “news

reports,” “rumor” or “innuendo” to initiate an investigation into Epstein. Ex. 282 at 167:3-170:3.

429.   As witnesses testified, absent an actual complaint from a victim or eyewitness evidence

brought to the Department of Justice’s attention, the Department could not initiate investigations.

Ex. 280 at 415:1-20; 446:5-447:9; 447:16-449:1; Ex. 282 at 167:3-170:3.

430.   Ms. Pinney and Attorney George both confirmed they received no concrete complaints of

misconduct by Epstein. Ex. 280 at 206:6-208:17; Ex. 282 at 164:3-167:2.

431.   Upon assuming her role as Attorney General, Attorney George inquired of various agencies

to confirm whether they had received any complaints regarding Epstein. She found no evidence

that any complaints had been received. Ex. 282 at 164:3-167:2.

432.   The Virgin Islands Department of Justice performed address verification checks (also

called “sweeps”) roughly annually in conjunction with U.S. Marshalls. Ex. 280 at 52:1-54:12,

105:20-106:3, 398:18-400:12.

433.    The address checks are not warrants; government officials do not possess the ability to

enter a sex offender’s property or conduct a search. Ex. 280 at 49:21-50:25; 440:1-441:3.



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434.     In certain years, the U.S. Marshalls and Virgin Islands officials did not proceed beyond

Epstein’s dock. If an offender refused entry, the government officials performing the check did

not possess authorization to enter. Ex. 280 at 43:7-46:24, 47:12-48:11, 49:4-50:25.

435.     Ms. Pinney testified that she conferred with the federal government concerning this

practice and was told that it was similar to a situation where a landowner has placed a gate at the

border to his property. The officials were not permitted to proceed beyond that gate without a

warrant. Ex. 280 at 108:5-110:23.

436.     It was not improper or unusual for the Government to confirm addresses at a sex offender’s

place of employment, as was done one year with Epstein. Ex. 280 at 409:7-410:4; 438:15-439:20.

437.     In 2012, the Virgin Islands Legislature amended its sex offender laws, in part to obtain

federal funding for its sex offender unit. Ex. 278 at 79:12-80:10, 119:9-121:12; Ex. 280 at 125:21-

126:6.

438.     The U.S. Government approved all changes to the Virgin Islands sex offender laws in

advance. Ex. 278 at 122:1-9; Ex. 280 at 306:22-307:12, 452:21-453:4.

439.     Although Epstein’s attorneys sought to coordinate with legislators concerning proposed

changes to the Virgin Islands laws, the Legislature ultimately rejected Epstein’s proposed changes.

Ex. 278 at 160:12-165:1; 262:10-264:4.

440.     Epstein applied for and received a waiver in 2012 of his travel notification requirements

pursuant to these statutory provisions. Ex. 278 at 11:13-13:23, 187:16-188:15, 189:18-190:24,

192:4-10, 193:14-24; Ex. 279 at 12480-12491.

441.     Then-Attorney General Vincent Frazer testified that he relied on representations of

Epstein’s counsel in forming his decision, because he “was satisfied with the representations,”

which were “satisfactory to conclude that there was not an undue risk to the community” that



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would arise from the waiver. Ex. 278 at 190:8-24, 191:3-12, 193:14-24, 250:11-255:13; Ex. 281

at 12246-12250, 12263-65.

442.   Epstein’s lawyers themselves represented to Attorney Frazer that other states, including

Florida and New Mexico, permitted Epstein to provide email notification of his travels and that

“there is no public safety necessity in requiring Mr. Epstein to notify the Department in person

each time he travels to or from the jurisdiction.” Ex. 278 at 251:16-255:13; Ex. 281 at 12246-

12250, 12270.

443.   As Ms. Pinney explained, and as the statute provides, the travel notification statute only

required notification of travel outside the United States. While the Government had a “policy in

place” to require notification of travel outside of the Territory but within the United States, nothing

in the Virgin Islands statute required such notification. Ex. 280 at 363:3-365:12.

444.   Travel notifications are not authorizations or requests; the Government had no ability to

restrict Epstein’s travel. Ex. 278 at 135:6-17, 200:14-201:4.

445.   Entry into the Virgin Islands from overseas is controlled by federal authorities, not the

Virgin Islands Government. Ex. 278 at 209:23-210:5, 265:13-268:8.

Facts Concerning Tax Benefits Granted to Epstein’s Companies

446.   The EDC granted tax incentives to two of Epstein’s companies: Financial Trust Company

and Southern Trust Company. Ex. 283 at 29:10-19, 34:2-10, 42:3-21; Exs. 284-286.

447.   The first grant of benefits to an Epstein-owned company occurred in 1999 to Financial

Trust Company. Ex. 283 at 29:10-19; Ex. 284.

448.   In 2009, Financial Trust applied for and received an extension of benefits. Ex. 283 at 34:2-

10; Ex. 285.




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449.   Epstein formed a new company—Southern Trust—which applied for and received tax

benefits in 2012. Ex. 283 at 42:3-21; Ex. 286.

450.   Each time that Financial Trust or Southern Trust sought benefits, the companies submitted

applications for the benefits. Ex. 287 at 42:3-21; Exs. 288-289.

451.   Each time that Financial Trust or Southern Trust sought benefits, EDC held public hearings

during which the benefits were discussed and the applicants were provided the opportunity to

present their case and answer questions. Ex. 287 at 42:3-21, 67:15-69:7, 169:21-170:2; Ex. 288-

290; Ex. 291 at 29:12-20; Ex. 292.

452.   Each time that Financial Trust or Southern Trust sought benefits, the EDC then held

decision meetings where the board considered the applications and rendered decisions. Ex. 287 at

22:18-23:10, 42:3-21; Exs. 288-289.

453.   Epstein’s Florida conviction was not a sufficient basis for revocation of benefits at that

time because there was no evidence available to the EDC that Epstein’s solicitation of a minor for

prostitution in Florida was “connected with the operation” of Epstein’s USVI businesses. Ex. 287

at 157:6-24, 159:10-15, 170:3-172:3.

454.   The EDC did not have access to Epstein’s companies’ daily financial transactions, and was

not aware of any connection between his conduct and the operations of his business. Ex. 287 at

61:4-24, 148:11-149:7, 157:6-24, 159:10-15, 170:3-172:3; Ex. 283 at 53:22-54:4, 55:9-21; Ex. 291

at 295:25-297:18.

455.   Indeed, the EDC reached out to Epstein’s attorney in January 2015 to inquire whether

media reporting regarding allegations of misconduct had any connection to the business of

Epstein’s Southern Trust Company. His attorney responded to confirm “[w]e do not believe that




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these media discussions will have any impact on the business activities of STC.” Ex. 287 at 172:17-

174:10; Exs. 293-294.

456.   Margarita Benjamin, a witness with more than 30 years’ experience at the EDC, testified

that the cost-benefit ratios provided to board members cannot be analyzed in isolation because the

ratio “doesn’t give the full picture to anyone” and “can be misleading.” Ex. 287 at 78:25-79:21,

80:23-81:13. Governor Albert Bryan testified that the ratios were not intended for “smaller

financial firms” like Epstein’s companies. Ex. 291 at 47:22-49:6.

457.   Ms. Benjamin further explained that the cost-benefit ratios can be misleading because,

unless the business was already operating in the Territory, the Government would not have

received the tax revenue in the first place and has not “lost” anything. Ex. 287 at 81:14-83:2.

Governor Bryan agreed testifying that “the government didn’t give up anything” because “half of

some is better than all of none.” Ex. 290 at 49:7-23.

458.   The ratio further ignores ancillary benefits that accrue to the Territory from the presence

of high net-worth individuals, who engage in economic activity unrelated to their businesses that

benefits the Territory. Ex. 290 at 48:18-49:6, 50:5-51:13, 297:23-298:17.

459.   During a March 2009 public hearing, Epstein’s attorney explained that a denial of an

extension would likely cause “a responsible business person . . . to seriously consider relocating

the business” if another territory offered similar benefits. Ex. 295 at 40:20-41:3; Ex. 296.

460.   Thus, the EDC could not assume that it would collect Epstein’s tax revenue if the benefits

were not extended. Ex. 290 at 49:7-23

461.    The EDC did not treat Epstein differently than any other beneficiary. Ex. 290 at 280:3-17.




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Facts Concerning Cecile de Jongh’s Employment with Epstein

462.   Cecile de Jongh became First Lady when her husband was elected Governor. She testified

that “there’s no office of the first lady with a budget,” and she did not have an office. First Lady

was largely a ceremonial position that entailed giving speeches and attending social events. Ex.

297 at 17:12-21:19.

463.   During the time her husband was Governor, Ms. de Jongh was widely known and

recognized to be employed by Epstein’s businesses and acting on their behalf. Ex. 287 at 130:12-

14; Ex. 298 at 6:12-9:11, 10:10-23, 11:21-13:3; Ex. 299 at 49:4-21.

464.   Her employment with Epstein had been widely reported and numerous witnesses

confirmed their familiarity with her employment. Ex. 287 at 130:12-14; Ex. 298 at 6:12-9:11,

10:10-23, 11:21-13:3; Ex. 299 at 49:4-21; Ex. 291 at 14:21-15:17; Ex. 283 at 36:12-37:2.

465.   Ms. de Jongh had no contact with personnel at the Department of Justice responsible for

sex offender registration and monitoring. Ex. 280 at 158:7-12, 179:20-24.

466.   Decisions concerning whether or not to grant tax benefits were first made by the board

members of the EDC. Ex. 287 at 22:18-23:10, 27:25-28:6.

467.   Although the Governor (her husband) signed the tax benefit certificates, that process was

little more than a formality and could not happen without the EDC’s recommendation in the first

place. Ex. 287 at 22:18-23:10, 27:25-28:6.

468.   Ms. de Jongh vigorously denied knowing about or facilitating Epstein’s crimes in the

Virgin Islands. Ex. 297 at 33:17-39:8, 133:10-134:2, 212:24-213:18, 217:11-220:6.

469.   With respect to efforts to establish an English as a Second Language class, Ms. de Jongh

testified that she was not aware any of the women were potential trafficking victims. Ex. 297 at

131:16-132:16, 136:10-137:1.



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470.   The documents also make clear that the University merely agreed to offer an already-

existing class to individuals. Ex. 297 at 129:11-14; Ex. 300.


Dated: July 24, 2023                         ARIEL SMITH, ESQ.
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